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                          EXHIBIT 2
                          Declaration of Ari S. Bargil
                 in Support of Plaintiffs’ Dispositive Motion for
             Summary Judgment and Incorporated Memorandum of Law
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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION
                          CASE NO.: 8:19-cv-01210
                      STATE CT. CASE NO.: 19-003181-CI

          - - - - - - - - -               --X -
          JAMES FICKEN, trustee,            :
          SUNCOAST FIRST TRUST; and         :
          SUNCOAST FIRST TRUST,             :
                                            :
                         Plaintiffs,        :
          vs.                               :
                                            :
          CITY OF DUNEDIN, FLORIDA;         :
          DUNEDIN CODE ENFORCEMENT BOARD;   :
          MICHAEL BOWMAN, in his official   :
          capacity as Code Enforcement      :
          Board Chairman; LOWELL SUPLICKI, :
          in his official capacity as Code :
          Enforcement Board Vice-Chair;     :
          ARLENE GRAHAM, in her official    :
          capacity as a member of the Code :
          Enforcement Board; KEN CARSON, in :
          his official capacity as a member :
          of the Code Enforcement Board;    :
          WILLIAM MOTLEY, in his official   :
          capacity as a member of the Code :
          Enforcement Board; DAVE PAULEY,   :
          in his official capacity as a     :
          member of the Code Enforcement    :
          Board; and BUNNY DUTTON, in her   :
          official capacity as a member of :
          the Code Enforcement Board,       :
                                            :
                         Defendants.        :
          - - - - - - - - - - - -X

                DEPOSITION OF:           THOMAS J. TRASK, B.C.S.
                DATE:                    January 13, 2020
                TIME:                    9:00 a.m. to 3:20 p.m.
                                         Volume I
                                         Pages 1 - 149




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   1            PLACE:                   1001 S. Fort Harrison Ave.
                                         Suite 201
   2                                     Clearwater, Florida
   3
                PURSUANT TO:             Notice by counsel for
   4                                     Plaintiff for purposes
                                         of discovery, use at trial
   5                                     or such other purposes as
                                         are permitted under the
   6                                     Florida Rules of Civil
                                         Procedure
   7
   8            BEFORE:                  KATHERINE A. LYLE
                                         Notary Public, State of
   9                                     Florida at Large
  10
  11                               * * * * *
  12
  13       APPEARANCES:
  14            ARI S. BARGIL, ESQUIRE
                ANDREW WARD, ESQUIRE
  15            Institute For Justice
                2 South Biscayne Boulevard
  16            Suite 3180
                Miami, Florida 33131
  17            (305) 721-1600
                Abargil@ij.org
  18
                Attorneys for Plaintiffs
  19
                JAY DAIGNEAULT, ESQUIRE
  20            Trask, Daigneault, LLP
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  21            Suite 201
                Clearwater, Florida 33756
  22            (727) 733-0494
                Jay@cityattorneys.legal
  23
                Attorney for Defendants
  24
  25                               * * * * *




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   3       DIRECT EXAMINATION BY MR. DAIGNEAULT                         4

   4       ERRATA SHEET                                            270

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   8

   9

  10                               * * * * *

  11

  12                                EXHIBITS

  13                                                ID'd        MARKED

  14       Number 1 (Notice of Deposition)             11          11

  15       Number 2 (Section 34-31)                    50          50

  16       Number 3 (Case History Report)              96          96

  17       Number 4 (Plaintiff's Complaint)          113          113

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   1                          THOMAS J. TRASK, B.C.S,

   2       was called as a witness, having been duly sworn, was

   3       examined and testified as follows:

   4                             DIRECT EXAMINATION

   5       BY MR. DAIGNEAULT:

   6            Q      Good morning, Mr. Trask.

   7            A      Good morning.

   8            Q      My name is Ari Bargil.     I'm the attorney

   9       for the Plaintiffs.       I'm with the Institute For

  10       Justice and I'm with my colleague Andrew Ward.

  11                   Now, I know you're an attorney, obviously,

  12       so a lot of this is going to be old hat for you, but

  13       there are still some things that we're going to go

  14       through at the beginning to get it started just to

  15       sort of set the ground rules for the deposition.

  16            A      Okay.

  17            Q      As you know, you've got to answer

  18       verbally.

  19                   Do you understand?

  20            A      Yes.

  21            Q      Okay.     That was the test.

  22                   No "uh-huh" or "uh-uh" or anything else

  23       that Madam Court Reporter can't transcribe.

  24                   Are you under the influence of any drugs

  25       or alcohol this morning?




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   1               A      Tylenol.

   2               Q      Okay.   Anything that will inhibit your

   3       ability to answer truthfully?

   4               A      No.

   5               Q      Okay.   I know you're not feeling that

   6       well.       If you want to take a break at any point,

   7       feel free to ask and we can take a break.         I'll just

   8       ask that you allow me to complete my line of

   9       questioning if you want to take a break.

  10               A      Okay.

  11               Q      Have you spoken with anyone about this

  12       deposition?

  13               A      Yes.

  14               Q      Who?

  15               A      I've spoken to my partner, Jay Daigneault,

  16       I've spoken to code enforcement staff, I've spoken

  17       to the finance department, the finance director.          I

  18       think that's it.

  19               Q      Any members of the city council?

  20               A      I don't think so.

  21               Q      Okay.

  22               A      It's commission, by the way.

  23               Q      I'm sorry.

  24               A      Yeah.   Commission.   Some of our cities are

  25       councils, some are commission.         This one is a




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   1       commission.

   2            Q       Okay.

   3            A       Yeah.

   4            Q       When you say "some of our cities," does

   5       your firm represent other cities?

   6            A       Yes.    We represent nine cities.

   7            Q       Which ones?

   8            A       Well, I can tell you the ones that I

   9       represent.     I represent the City of Dunedin, the

  10       City of Tarpon Springs, the City of Oldsmar, the

  11       City of Belleair Bluffs.       Jay represents Seminole.

  12       We represent Indian Rocks Beach, Kenneth City and I

  13       don't remember which one of the Redingtons that we

  14       represent.

  15            Q       Okay.

  16            A       So I'm looking to my partner because I

  17       know he would know the answer.       We represent nine

  18       cities as the main city attorneys and we represent

  19       numerous other cities for different matters.         We

  20       also represent, you know, other local government

  21       entities like -- well, actually, let me back up.          I

  22       don't know if it's representing them.        I'm a Special

  23       Magistrate for Pinellas County, for example.

  24            Q       Okay.    As a Special Magistrate, do you

  25       hear code enforcement cases in your capacity as




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   1       Special Magistrate?

   2            A       Yes.

   3            Q       What else do you hear?

   4            A       That's it for Pinellas County.     I'm the

   5       Special Magistrate for Redington Shores also.         I

   6       hear code enforcement matters there and board of

   7       adjustment type of matters, like variances,

   8       conditional use and stuff like that.

   9            Q       Sure.

  10                    Have you ever been deposed before?

  11            A       Yes.

  12            Q       How many times?

  13            A       I think twice.

  14            Q       Two times other than this one, so this

  15       will be your third?

  16            A       Yes.

  17            Q       And in what types of cases were those

  18       other two?

  19            A       My divorce case and a case a long, long

  20       time ago about a breach of contract action.         I think

  21       it was breach of contract.      I'm not really sure.

  22            Q       Was the breach of contract in any way

  23       related to City of Dunedin issues?

  24            A       No.

  25            Q       This was just a private matter?




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   1            A     Yeah.   Back when I used to represent

   2       private clients.    I don't represent private clients

   3       any longer.

   4            Q     Do you exclusively represent

   5       municipalities and counties?

   6            A     Yes.

   7            Q     Have you taken a deposition before?

   8            A     Many of them.

   9            Q     Okay.   Can you estimate how many you've

  10       taken?

  11            A     Not really.

  12            Q     Hundreds?

  13            A     I wouldn't say that many, but I've taken

  14       quite a few.

  15            Q     Over 100?

  16            A     I wouldn't say that many.

  17            Q     Okay.   Dozens?

  18            A     At least dozens.

  19            Q     Where are you from originally?

  20            A     Born in Port Huron, Michigan, moved to

  21       Florida when I was five or six and have been living

  22       here in Florida since then.

  23            Q     Okay.   Where did you go to college?

  24            A     University of South Florida in Tampa.

  25            Q     And where did you go to law school?




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    1            A     Mercer in Macon, Georgia.

    2            Q     Okay.    Any other education beyond high

    3       school?

    4            A     Just continuing education courses that

    5       we're all obligated to do.

    6            Q     Right.

    7            A     Yeah.

    8            Q     Let's see.    You're a board certified city,

    9       county and local government lawyer; is that right?

   10            A     Yes.

   11            Q     And how long have you had that

   12       certification?

   13            A     I think it's like 2014.

   14            Q     Okay.    Is that a certification given to

   15       you by the Florida Bar?

   16            A     Yes.

   17            Q     What does it take for you to obtain that

   18       certification?

   19            A     You're testing me on the testing now.        So

   20       my recollection was that I needed to be a local

   21       government attorney practicing in that area

   22       primarily for five years or longer, which I was,

   23       fill out an application, which is fairly lengthy and

   24       time consuming, and then ultimately taking an

   25       examination, passing the examination.       That




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    1       certification lasts for five years, and I was just

    2       recertified within the last year or so.

    3               Q   Okay.    How long have you been -- when I

    4       say "you," I should clarify.      Throughout the course

    5       of this deposition, you understand that you've been

    6       designated by the City of Dunedin as a Rule 30(b)(6)

    7       witness?

    8               A   Yeah.

    9               Q   You understand that, correct?

   10               A   Yes, I do.

   11               Q   Okay.    And you understand what that means,

   12       correct?

   13               A   Yes.

   14               Q   That you're speaking on behalf of the

   15       City?

   16               A   Yes.

   17               Q   So, when I use the term "you," I'm going

   18       to primarily be using it to refer to you as the City

   19       of Dunedin.

   20               A   Okay.    I'll try to remember that.

   21               Q   And I'll try to remember it too.       I might

   22       screw that up.      If there is at any point any

   23       confusion about whether I'm asking you about

   24       something that you know personally as Tom Trask

   25       versus, you know, something that the City might know




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    1       or not know, we'll try to make that distinction.

    2               A      Okay.

    3               Q      I think actually now is not a terrible

    4       time.       I would like to -- just one moment here.

    5                      We'll mark this.

    6                      Mr. Trask, are you familiar with this

    7       document?

    8               A      Yes, I am.

    9               Q      Okay.   And what is it?

   10               A      It's titled "Notice of Taking Deposition."

   11       Actually, "Notice of Taking 30(b)(6) Deposition."

   12               Q      Okay.   And have you seen this document

   13       before?

   14               A      Yes, I have.

   15               Q      I think you just said you had.

   16                      If you would turn to Page 2.

   17                      Do you see the matters to be addressed

   18       there?

   19               A      Yes.

   20               Q      There are 10 items.    I won't make you read

   21       them because you told me you already have, but I

   22       want to confirm.

   23                      You're capable and ready to testify with

   24       respect to all 10 of these items; is that correct?

   25                      MR. DAIGNEAULT:    Let me put an objection




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    1            on the record.        I don't want to continue to

    2            interrupt your questioning.         For purposes of

    3            our record, the City had asserted some

    4            objections to opposing counsel regarding

    5            certain of the topics to be addressed.

    6                    Mr. Bargil and Mr. Ward asserted they

    7            would not narrow those topics based on our

    8            objections.     Our agreement was we were going to

    9            go forward with the deposition.         Rather than

   10            interrupt you on each question, we have

   11            standing objections, if it's okay with you

   12            guys.

   13                    MR. BARGIL:     Sure.   Go ahead.

   14                    MR. DAIGNEAULT:     It's as to Topics 3, 5, 6

   15            and 7 within the matters to be addressed.           The

   16            first concerning the relationship between code

   17            enforcement budgeting and Items 5, 6 and 7

   18            concerning the justification and policy behind

   19            the high grass ordinance, if you will.         We've

   20            discussed those objections.         I'll just put it

   21            one time on the record and move on.

   22                    MR. BARGIL:     Perfect.

   23                    Thank you for that.

   24                    MR. WARD:     Thanks.

   25




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    1       BY MR. BARGIL:

    2            Q     Okay.   So back to the question.      I'm not

    3       sure I got an answer yet.

    4                  Not withstanding your counsel's

    5       objections, you're capable and ready to testify as

    6       to these 10 items; is that right?

    7            A     That's correct.

    8            Q     Okay.   How long have you been the City

    9       Attorney for the City of Dunedin?

   10            A     Our law firm has been the city attorney

   11       since the mid '70s, 1970's.      I have been doing City

   12       of Dunedin work since the early '90s, 1990's, and

   13       when my partner John Hubbard retired in 2011, I

   14       became the City Attorney full time.

   15            Q     So, when you say your firm had been

   16       representing the City since the '70s, somebody else

   17       had been acting in your capacity from the '70s until

   18       you assumed that role?

   19            A     John Hubbard was the City Attorney for 38

   20       years when he retired.

   21            Q     Okay.   In what year again did you say you

   22       became the City Attorney?

   23            A     2011.

   24            Q     Okay.   What year did you join the firm?

   25            A     1988.




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    1            Q      Were you an original founding partner of

    2       the firm?

    3            A      No.

    4            Q      How many years had you been practicing

    5       when you joined the firm?

    6            A      Not very long.   About a year or so.      I was

    7       working for a law firm in New Port Richey, and when

    8       a position became open at this firm I moved over.

    9            Q      Okay.

   10            A      So not very long at all.

   11            Q      What year did you graduate law school?

   12            A      1987.

   13            Q      We were talking a little bit before about

   14       your professional certifications and your

   15       certification as a government municipal board

   16       certified attorney.

   17                   Do you have any other professional

   18       certifications?

   19            A      No.

   20            Q      Okay.   Tell me a little bit about the

   21       dynamic between the firm and the City in the sense

   22       of does the City hire you, Tom Trask, in his

   23       individual capacity who also happens to be an

   24       attorney at the Trask, Daigneault firm or do they

   25       hire the firm?




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    1                    MR. DAIGNEAULT:     Object to form.

    2       BY MR. BARGIL:

    3               Q    Do you understand the question?

    4               A    I understand the question.

    5                    Ultimately the firm is hired as a whole.

    6       I'm the one that covers the majority of the meetings

    7       that occur before the City Commission.

    8               Q    Okay.    Do other attorneys with the firm

    9       sometimes cover those meetings if you can't attend?

   10               A    Yes.    Often meetings are covered.      For

   11       example, Board of Adjustment, Local Planning Agency,

   12       Historic Preservation.       We had at one point 34

   13       different committees in Dunedin.        That's been

   14       limited a little bit now.        Some of those committee

   15       meetings would require an attorney as well, so

   16       someone here at the firm when requested would attend

   17       them.

   18               Q    Okay.    Has Mr. Daigneault ever attended

   19       any of these meetings?

   20                    MR. DAIGNEAULT:     Object to form.

   21                    You can answer.

   22                    THE DEPONENT:     Jay has covered meetings

   23               for me when I'm on vacation or ill.        I prefer

   24               Jay covering my meetings.

   25




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    1       BY MR. BARGIL:

    2               Q      You prefer him over anyone else at the

    3       firm?

    4               A      Yes, because he's got the most experience.

    5               Q      About how many meetings would you say he's

    6       covered for you over the last few years, five years?

    7                      MR. DAIGNEAULT:     Object to form.

    8                      THE DEPONENT:     Ten.

    9       BY MR. BARGIL:

   10               Q      And what about Attorney Randy Mora --

   11                      MR. DAIGNEAULT:     Object to form.

   12                      MR. BARGIL:     I haven't got to the question

   13               yet.

   14       BY MR. BARGIL:

   15               Q      Has attorney Randy Mora attended any

   16       meetings for the City of Dunedin on behalf of this

   17       firm that you would normally attend?

   18                      MR. DAIGNEAULT:     Object to form.

   19                      THE DEPONENT:     He's covered some

   20               commission meetings for me.       I believe when my

   21               son was in the hospital in September he covered

   22               a couple of meetings for me.

   23                      MR. BARGIL:     I hope everything is -- I

   24               shouldn't ask, but --

   25                      THE DEPONENT:     We'll talk about that off




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    1            the record.

    2                    MR. BARGIL:     Yes.     I'm sorry.

    3                    THE DEPONENT:     Thank you.

    4       BY MR. BARGIL:

    5            Q       Any other times besides that span in

    6       September?

    7            A       I don't think so.

    8            Q       What did you do in preparation for this

    9       deposition?

   10                    MR. DAIGNEAULT:        Objection in as much as

   11            any discussions between you and I as counselor

   12            are privileged.

   13                    THE DEPONENT:     I read the case files,

   14            printouts from the City of Dunedin's computer

   15            system for the property on Highland Avenue and

   16            the files for the Lady Marion Lane property.

   17                    MR. BARGIL:     Okay.

   18                    THE DEPONENT:     I reviewed the City's code,

   19            I reviewed Florida Statute Chapter 162.           You

   20            are just talking about reviewing things now?

   21                    MR. BARGIL:     Uh-huh.     (Indicates

   22            affirmatively).

   23                    THE DEPONENT:     Okay.     I began reading

   24            Mr. Ficken's deposition.           I didn't finish it.

   25            It was too lengthy and, frankly, I didn't think




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    1            that it was that helpful.      I stopped reading it

    2            about halfway through.      Those are the things

    3            that I looked at.

    4       BY MR. BARGIL:

    5            Q     Anything else?

    6            A     No.

    7            Q     Did you read the Complaint?

    8            A     I did read the Complaint and I did read

    9       the answer and I read the First Amended Complaint.

   10       I guess there were two other things too.        I read the

   11       letters between you and Jay relative to the

   12       objections to the matters to be addressed.        I did

   13       read those as well.

   14            Q     Okay.   Now I want to go back to something.

   15       I think you might have said something accidentally

   16       or incorrectly.

   17                  When you say you read the Complaint and

   18       the answer, are you --

   19            A     Actually it's not an answer.      It was the

   20       motion to dismiss and --

   21            Q     Okay.

   22            A     -- a motion to strike, I think, too.

   23            Q     Okay.

   24            A     Yeah.

   25            Q     Did you read Plaintiff's responses to the




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    1       motion to dismiss and motion to strike?

    2            A       I read one other document.     I don't know

    3       what the title of it was.

    4            Q       Okay.    Do you know who --

    5            A       Someone -- I'm sorry.     I should let you

    6       finish your questions.

    7            Q       That was one of the ground rules I didn't

    8       get to.

    9                    Was it a litigation document?

   10            A       Yes.    It was something that your firm

   11       filed.

   12            Q       So it either would have been in response

   13       to the motion to dismiss or the motion to strike

   14       most likely?

   15            A       Yes.

   16                    MR. DAIGNEAULT:    Object to form.

   17       BY MR. BARGIL:

   18            Q       When was the last time you reviewed the

   19       Complaint?

   20            A       Wednesday of last week.

   21            Q       Okay.    Has the City ever been sued for

   22       matters related to code violations or collections

   23       related to code violations?

   24                    Let's break those up.

   25                    Has the City ever been sued for matters




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    1       related to code violations?

    2                  MR. DAIGNEAULT:     Object to form.

    3                  THE DEPONENT:     Not that I'm aware of other

    4            than appeals from code enforcement actions.

    5                  MR. BARGIL:     I see.

    6       BY MR. BARGIL:

    7            Q     And about how many of those would you say

    8       you deal with?

    9            A     How many appeals?

   10            Q     Yes.

   11            A     I don't know.     There has been a couple a

   12       year for the last couple of years.       Jay is the one

   13       that handles them.     I don't handle them.

   14            Q     Okay.    Why don't you handle them?

   15            A     I don't do appellate work.

   16            Q     Okay.

   17            A     Frankly, I don't have the time.

   18            Q     What occupies most of your time?

   19            A     Representing the City Commissions and the

   20       Boards.

   21            Q     Okay.

   22            A     Handling day-to-day matters to keep the

   23       cities operating.

   24            Q     Okay.    Going back to your preparation for

   25       this deposition, certainly not getting into any




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    1       conversations you've had with your counsel, who have

    2       you spoken with in the course of your preparation

    3       for the deposition?

    4            A       The Finance Director for the City, Liz

    5       Tyler.     I met with Greg Rice, the Planning and

    6       Zoning Director.        I met with Michele Gilbert, one of

    7       the code enforcement officers.         I met with Joseph

    8       DiPasqua who was also in the planning department.

    9            Q       Did you meet with Tom Colbert?

   10            A       Tom Colbert no longer works for the City

   11       of Dunedin.        He retired.

   12            Q       When did he retire?

   13            A       A couple of months ago.

   14            Q       Can you be more specific?

   15            A       No.     I'm sorry.   But it was a couple of

   16       months ago.

   17            Q       Do you know why he retired?

   18            A       No.     I never asked him.

   19            Q       Do you know how old Tom Colbert is?

   20            A       Well, I know that this was his second

   21       full-time position.        He was a retired police officer

   22       when he came to the City of Dunedin.         So he's got to

   23       be my age or older.        I would put him in his 60's

   24       probably, late 50's, early 60's.

   25            Q       Do you know where he was a police officer




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    1       before he was here?

    2            A     I think it was the St. Petersburg Police

    3       Department.

    4            Q     You also mentioned that you were reading

    5       or started to read the deposition of my client in

    6       this case, Jim Ficken, in your preparation for this

    7       deposition?

    8            A     Yes.

    9            Q     Correct me if I'm mischaracterizing your

   10       testimony, but I believe you said that you stopped

   11       because it wasn't helpful?

   12            A     It wasn't helpful to what I thought I was

   13       going to need to answer your questions.

   14            Q     Okay.   What did you think you were going

   15       to need to answer my questions?

   16            A     The things that are listed on your list.

   17            Q     Okay.   Any other reasons why you didn't

   18       find it helpful?

   19            A     No.

   20            Q     Has the City of Dunedin ever sued a

   21       homeowner for matters related to code violations?

   22                  MR. DAIGNEAULT:     Object to form.

   23                  THE DEPONENT:     The City has filed code

   24            enforcement foreclosure cases, yes.

   25




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    1       BY MR. BARGIL:

    2            Q     Correct me if I'm wrong, but does that

    3       occur after code enforcement fines have gone unpaid

    4       and the City has secured liens?

    5            A     That's correct.

    6            Q     Okay.

    7            A     It's after the liens have been recorded.

    8            Q     Okay.   And about how frequently does the

    9       City record liens on properties in Dunedin for

   10       failure to pay code enforcement fines?

   11                  MR. DAIGNEAULT:     Object to form.

   12                  THE DEPONENT:     All code enforcement board

   13            orders are recorded.      They don't necessarily

   14            become liens, but they are recorded and they're

   15            done almost immediately after they're entered.

   16       BY MR. BARGIL:

   17            Q     Okay.   My question, though, was -- maybe,

   18       if I'm not getting the mechanics of this, you can

   19       correct me.

   20                  So you said not all of them become liens

   21       but some do, correct?

   22            A     Correct.

   23            Q     Okay.   And about how frequently does that

   24       happen?

   25            A     Whenever the property is non-homesteaded.




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    1               Q   Okay.   Let's try to quantify that a little

    2       bit.

    3                   Do you know how many liens were recorded

    4       stemming from code enforcement fines in Dunedin last

    5       year?

    6               A   No.

    7               Q   Can you estimate?

    8               A   Well, they hear about 10 to 15 cases a

    9       month, so I would think 10 to 15 orders a month

   10       would be recorded.

   11               Q   Okay.   Now, you said not every order that

   12       gets recorded becomes a lien, right?

   13               A   It does not become a lien on homesteaded

   14       property under the Florida Constitution and also

   15       under Florida Statute Chapter 162.

   16               Q   So you don't, "you" as the City, ever

   17       secure or record liens on properties that are

   18       homesteaded?

   19               A   It's recorded.   Once it's recorded, it's

   20       in the public records, but it doesn't necessarily

   21       become a lien on the property because of the

   22       protections of the Florida Constitution and

   23       Chapter 162.

   24               Q   So the code enforcement -- I think I'm

   25       just not understanding, and maybe you can help me.




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    1                  The Code Enforcement Board's action there

    2       will be an order, right --

    3            A     Yes.

    4            Q     -- that says you've been found in

    5       violation of ordinance X?

    6            A     Right.

    7            Q     And you have to pay a certain amount of

    8       money or take some sort of remedial action, right?

    9            A     Correct.

   10            Q     Say, for example, that a person doesn't do

   11       that and it advances to the next step of

   12       enforcement.

   13                  That next step is what?

   14                  MR. DAIGNEAULT:     Object to form.

   15                  THE DEPONENT:     There is no next step to

   16            enforcement.     They've exhausted -- the City has

   17            exhausted its capabilities of enforcing the

   18            code once the order is ordered.       So the fine

   19            will continue to run until the property owner

   20            brings it into compliance.

   21                  There are in some situations properties

   22            that the City deems to believe to be life

   23            safety issues and they need to do something

   24            else, and that may be filing a complaint for

   25            injunctive relief or it may be filing a




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    1            foreclosure action in order to take control of

    2            the property to demolish or they may go through

    3            the process in the International Property

    4            Maintenance Code or the Unsafe Building

    5            Abatement Code and they will go through those

    6            processes to demolish buildings.       Those are

    7            some of the options that the City has.

    8       BY MR. BARGIL:

    9            Q     So does the City not record a lien -- this

   10       should just be "yes" or "no."

   11                  Does the City record a lien on homesteaded

   12       property ever?

   13            A     They're recorded in the public records,

   14       but, because of the way that the statute reads and

   15       because of the way that the Constitution reads, it

   16       does not become a lien against that property.

   17            Q     So when you say -- I asked a question

   18       about whether liens become recorded, and I think the

   19       beginning of your response was they become recorded,

   20       but it does not become a lien.      I think there is

   21       just some miscommunication going on.

   22                  What is recorded?

   23            A     The order entered by the Code Enforcement

   24       Board.

   25            Q     And you're saying that order doesn't




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    1       become a lien because you can't put a lien on

    2       homesteaded property in Florida?

    3            A     Correct.

    4            Q     And certainly you can't foreclose on

    5       homesteaded property in Florida; is that correct?

    6            A     That's correct.

    7            Q     Okay.   So your testimony is that there are

    8       no liens on any properties in Dunedin that are

    9       homesteaded?

   10                  MR. DAIGNEAULT:    Object to form.

   11                  MR. BARGIL:    Let me rephrase the question.

   12       BY MR. BARGIL:

   13            Q     Is your testimony that there are no liens

   14       stemming from code enforcement actions on any

   15       properties in Dunedin that are homesteaded?

   16            A     There are recorded orders on properties

   17       that have been alleged to be and probably are

   18       homesteaded properties, but we do not foreclose

   19       those liens because of the fact that there is a

   20       prohibition to do that.

   21            Q     Are you using the term "recorded orders"

   22       and "liens" interchangeably?

   23            A     They can be used interchangeably except

   24       for the homesteaded property.      So, if you want me to

   25       pull out the statute, I can show you the statute




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    1       where it specifically says that it's unenforceable

    2       against homesteaded property.

    3                  Do you want me to do that; would that be

    4       helpful to you?

    5            Q     Well, no.     Not yet.

    6            A     Okay.

    7            Q     When you say that it's "unenforceable

    8       against homesteaded property," what I'm wondering is

    9       the reason why it's unenforceable, whether you call

   10       it a "lien" or a "recorded order."

   11                  The reason why it's unenforceable on

   12       homesteaded property is because of the State's

   13       prohibitions and statute and the Constitution on

   14       foreclosing on homesteaded properties, right?

   15            A     That's correct.

   16            Q     Okay.    So, on a homesteaded property, it

   17       sounds like you're using the term "recorded orders;"

   18       is that right?

   19            A     Correct.

   20            Q     And on a non-homesteaded property that

   21       same recorded order you would refer to as a "lien"?

   22            A     Yes.

   23            Q     I see.     Okay.

   24            A     Yeah.

   25            Q     I think that spells some of the confusion




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    1       here.

    2                    Now, in these recorded orders on a

    3       homesteaded property, as you've used the term, if

    4       the owner of the property passes away and they don't

    5       have a spouse, can the City then move to foreclose

    6       on the property?

    7               A    No.

    8                    MR. DAIGNEAULT:     Object to form.

    9                    THE DEPONENT:     I'm sorry, Jay.

   10                    MR. DAIGNEAULT:     That's okay.

   11       BY MR. BARGIL:

   12               Q    Why not?

   13               A    Because it's homesteaded property.

   14               Q    What if the person who receives the

   15       property as their inheritance, say, doesn't have

   16       that as their homestead; does it lose its homestead

   17       protections?

   18                    MR. DAIGNEAULT:     Same objection.

   19                    THE DEPONENT:     So you're asking me whether

   20               or not someone inherits a property, it was the

   21               homestead of the decedent, but it is now a

   22               second or third home for the person that

   23               inherited it?

   24                    MR. BARGIL:     Uh-huh.   (Indicates

   25               affirmatively).




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    1                  THE DEPONENT:     So the answer is, yes, it

    2            would be a lien against that property and it

    3            could be foreclosed.

    4       BY MR. BARGIL:

    5            Q     Okay.   So in a hypothetical scenario

    6       where, say, a person is sort of quite old, they have

    7       outlived their spouse and they pass on and it's

    8       their homesteaded property and it's inherited by a

    9       child who lives out of state, obviously that child

   10       doesn't have homestead protection for that property,

   11       the City would be within its power to foreclose on a

   12       lien in that instance?

   13                  MR. DAIGNEAULT:     Object to form.

   14                  THE DEPONENT:     I think the answer is yes.

   15       BY MR. BARGIL:

   16            Q     Okay.   In your capacity as -- in your work

   17       here -- well, strike that.

   18                  Okay.   Let's move a little bit to the

   19       actual Code Enforcement Department.

   20                  Speaking generally, and you can answer

   21       this however you like, what is the purpose of the

   22       City's Code Enforcement Department?

   23            A     I think the purpose of it is to make sure

   24       that the codes that have been adopted by the City

   25       Commission are adhered to, to make sure that we live




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    1       in a city that is -- I don't know what the correct

    2       word would be -- harmonious where neighbors get

    3       along with neighbors, property values are relatively

    4       high, that it's a society where people can rely upon

    5       the City for some direction as to how life should be

    6       in their little community.

    7            Q       Okay.   Can you explain to me the structure

    8       of the Department itself?

    9            A       Do you mean how many employees are there?

   10            Q       Not necessarily how many employees, but I

   11       certainly know, for example, that there are code

   12       enforcement officers, there is a Code Enforcement

   13       Board.

   14                    What are the other moving parts that you

   15       would say make up the City's Code Enforcement

   16       Department?

   17                    MR. DAIGNEAULT:     Just a quick objection.

   18            That's outside the scope of the notice.

   19                    THE DEPONENT:     So there is one code

   20            enforcement officer in the City of Dunedin now,

   21            Michelle Gilbert.       There is one support person;

   22            that's Joan McHale.        She is responsible to make

   23            sure that the entire city with a population of

   24            roughly 37,000 people is in compliance with the

   25            code.     Her immediate supervisor is Greg Rice.




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    1       BY MR. BARGIL:

    2             Q     What is his title?

    3             A     Director of Planning and Development.

    4       That's the entire department at this point.        There

    5       had been others in the past.       Tom Colbert recently

    6       retired.    Mike Kepto was let go.     There are, I

    7       think, three code enforcement inspector positions at

    8       the City.      Only one is currently filled.

    9             Q     Okay.     Are you actively looking for two

   10       additional code enforcement officers to fill those

   11       empty slots?

   12                   MR. DAIGNEAULT:     Objection, outside the

   13             scope.

   14                   THE DEPONENT:     The answer is they are

   15             looking.      They did have somebody lined up, but

   16             that employee, prospective employee, fell

   17             through a couple of days ago.

   18       BY MR. BARGIL:

   19             Q     Why?

   20             A     I don't know.

   21             Q     You mentioned Mike Kepto was recently let

   22       go.   Well, you didn't say recently.      You said that

   23       he was let go.

   24             A     Yeah.

   25             Q     When was he let go?




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    1            A     I think it was like April of 2018.

    2            Q     Okay.   And why was he let go?

    3                  MR. DAIGNEAULT:     Object to the form.

    4            Outside the scope of that notice.

    5                  If you know, you can answer.

    6                  THE DEPONENT:     I'm not really sure of the

    7            details of it, but it had something to do with

    8            something he said to an individual with regard

    9            to the Sylvia Earle case.      It's a code

   10            enforcement case.

   11       BY MR. BARGIL:

   12            Q     Who is Sylvia Earle?

   13            A     She is a world renowned scientist.        She

   14       has been on National Geographic and she's involved

   15       with protection of the oceans.      If you ever watch

   16       something called, I think it's called, "Oceans

   17       Blue," she is one of the people involved in that

   18       production.

   19            Q     And how did she get involved in matters in

   20       Dunedin?

   21            A     She owned a piece of property in Dunedin

   22       that fell into disrepair, it had to be demolished

   23       and then she failed to maintain the property after

   24       the home was demolished.      She doesn't live in

   25       Florida.   I think she lives in California.       So the




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    1       City was trying to get her to maintain her property.

    2              Q       Did the City fine her?

    3              A       Yes, the City did fine Sylvia Earle.

    4              Q       Do you know how much?

    5              A       No.

    6              Q       Was she fined as a repeat violator?

    7                      MR. DAIGNEAULT:     Object to form.

    8                      THE DEPONENT:     I don't know the answer to

    9              that.

   10       BY MR. BARGIL:

   11              Q       Do you know whether it was a significant

   12       sum?

   13                      MR. DAIGNEAULT:     Object to form.

   14                      THE DEPONENT:     I think it was $10,000.

   15       BY MR. BARGIL:

   16              Q       Was that a settlement amount or was that

   17       the amount that she owed originally?

   18              A       I think that was the settlement amount.

   19              Q       Okay.

   20              A       We settled for $10,000.

   21              Q       Do you know what she owed originally?

   22              A       No.

   23              Q       Was this matter of some degree of public

   24       interest in town?

   25                      MR. DAIGNEAULT:     I'm going to object to




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    1            form.

    2                    THE DEPONENT:     She's a very famous person

    3            and she has a lot of supporters.          Yes, I think

    4            that there was some interest in that, that she

    5            should be not treated like everybody else, that

    6            she should be treated differently.

    7       BY MR. BARGIL:

    8            Q       And Mike Kepto commented publicly about

    9       the case?

   10            A       No.

   11            Q       What did he do, actually?

   12                    I'll ask you.

   13                    MR. DAIGNEAULT:     Object to form.

   14                    THE DEPONENT:     I don't know.    It was some

   15            kind of statement that was made to somebody.             I

   16            don't know.

   17       BY MR. BARGIL:

   18            Q       And he was let go?

   19            A       Yes.

   20            Q       Were you consulted before he was fired?

   21            A       I don't think so.

   22            Q       Other than the $10,000 settlement, was

   23       there anything else that was part of that settlement

   24       agreement?

   25            A       Yes.




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    1               Q      What was it?

    2               A      That she also had to appear at, I believe

    3       it was, Dunedin's International Film Festival and

    4       give a lecture.

    5               Q      She would come from California to do this?

    6               A      I don't know where she came from.      I may

    7       be getting that wrong.         She may have been here for

    8       the film festival and did it separate and apart from

    9       the film festival, but there was a lecture that she

   10       gave.       I think that it was an hour or two-hour

   11       lecture.

   12               Q      Okay.   You mentioned she's a world

   13       renowned scientist.

   14                      Does she normally charge for speaking

   15       engagements?

   16                      MR. DAIGNEAULT:     Object to form.

   17                      THE DEPONENT:     I would assume so.

   18       BY MR. BARGIL:

   19               Q      Did she charge the City in that instance?

   20                      MR. DAIGNEAULT:     Object to form.

   21                      THE DEPONENT:     No.

   22       BY MR. BARGIL:

   23               Q      Okay.   Was that part of the agreement that

   24       she would do it for free?

   25                      MR. DAIGNEAULT:     Same objection.




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    1                  THE DEPONENT:    Yes.

    2       BY MR. BARGIL:

    3            Q     How many people are on the Code

    4       Enforcement Board?

    5            A     There are seven full-time members.        There

    6       are also two alternates.      I'm not sure if both

    7       alternate positions are filled.

    8            Q     Okay.   When matters are put before the

    9       Board, let's just use the hypothetical of a standard

   10       code enforcement case, in order for somebody to be

   11       found to have been in violation, what does the vote

   12       of the Board need to be?

   13            A     A majority vote.

   14            Q     So simple 4/3?

   15            A     Yes.

   16            Q     If there are fewer than seven members

   17       present, as long as there is a quorum, do the same

   18       rules apply?

   19            A     Correct.

   20            Q     What does it take for there to be a

   21       quorum?

   22            A     Four.

   23            Q     Does the City Council -- I'm sorry -- City

   24       Commission have any interaction with members of the

   25       Code Enforcement Board?




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    1            A      Not as Code Enforcement Board members.

    2            Q      I see.

    3                   In another capacity?

    4            A      Yes.     Let me give you an example.

    5                   Mike Bowman, who is the Chairman of the

    6       Code Enforcement Board, is also, I think, the Chair

    7       of the Dunedin Golf Club, and so he will often

    8       report on the golf club activities before the

    9       Commission.

   10            Q      I see.

   11                   But there is never -- I shouldn't say

   12       there is never.

   13                   As far as you know, does the City

   14       Commission communicate with the Code Enforcement

   15       Board on matters related to code enforcement?

   16            A      Absolutely not.

   17            Q      Okay.     You seem very adamant in your

   18       response.

   19                   Is there an intentional separation between

   20       the City Commission and the Code Enforcement Board?

   21            A      Yes.

   22            Q      And why is that?

   23            A      Because it's a quasi-judicial board, just

   24       like the Board of Adjustment is, and I advise them

   25       not to have any contact with those people in their




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    1       capacity as those board members.      They have to hear

    2       testimony and evidence and they need to make their

    3       decisions based solely upon the testimony and

    4       evidence they receive at those code enforcement

    5       meetings or Board of Adjustment meetings and they

    6       should not be influenced by anyone or anything.

    7            Q     Okay.   Is this codified or written down

    8       anywhere in City policy?

    9            A     No.

   10            Q     This is just you in your advisory capacity

   11       saying these two things ought to be kept separate?

   12            A     Correct.

   13            Q     Is that common in sort of the municipal

   14       government's world?

   15            A     Yes.

   16            Q     Is that how you structure the relationship

   17       between code enforcement and City Commission or City

   18       Council in the other cities where you work?

   19                  MR. DAIGNEAULT:     Object to form.

   20                  THE DEPONENT:     It's exactly the same in

   21            any city environment where you have a Code

   22            Enforcement Board.      There needs to be a

   23            separation, a complete separation.

   24       BY MR. BARGIL:

   25            Q     But that's not in statute, right?




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    1            A      No.

    2            Q      Is it possible that other cities do it

    3       differently?

    4            A      None of mine.

    5            Q      Right.

    6                   Is it possible that other cities that

    7       aren't yours do it differently?

    8            A      I think anything is possible.

    9            Q      Do you know whether other cities do it

   10       differently?

   11            A      I've been doing this for 30 years and I

   12       think the answer is I've never heard of that being

   13       done differently.

   14            Q      Okay.    Fair enough.

   15                   Is the concern -- well, I shouldn't ask it

   16       this way.    Why don't you tell me.

   17                   What is the concern that you have about

   18       there being interaction between City Commission or

   19       City Commission members and Code Enforcement Board

   20       or Code Enforcement Board members?

   21                   MR. DAIGNEAULT:    Object to form.

   22                   Are we asking now as the City

   23            representative; when you said "your," are we

   24            talking about Tom's concern or the City's

   25            concern?




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    1                  MR. BARGIL:     Well, I would think that in

    2            this instance it would be the same, but, if

    3            it's not, you can tell me.

    4                  THE DEPONENT:     The concerns are that they

    5            have an obligation, the Code Enforcement Board

    6            members, to make their decisions based solely

    7            upon the testimony and evidence that they

    8            receive at those hearings, and I don't want

    9            them to be influenced by anything else.

   10       BY MR. BARGIL:

   11            Q     As far as you know, have there been

   12       instances that you can think of where there would

   13       have been influence or there has been influence?

   14            A     No.

   15            Q     So, in an instance where the City

   16       Commission is unhappy with how the City Code

   17       Enforcement Department is doing it's job, what do

   18       they do?

   19            A     They direct their City Manager to talk to

   20       the Code Enforcement Department and address any

   21       issues they have.    So don't get confused now between

   22       the Code Enforcement Department and the Code

   23       Enforcement Board because the City Commission can't

   24       direct the Code Enforcement Board to do anything and

   25       they can't direct the City Manager to do anything




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    1       with regard to that Code Enforcement Board.

    2                  As for code enforcement staff, the City

    3       Commission has the ability to direct and give policy

    4       direction to the City Manager and then she needs to

    5       run her city the way that she thinks it's

    6       appropriate based upon that direction.

    7                  So she can direct her staff, her director,

    8       Greg Rice, and her code enforcement staff to do what

    9       she thinks is appropriate.

   10            Q     Okay.   Speaking briefly about punishments

   11       for violations, the code enforcement officer, is

   12       that the original person who makes a recommendation

   13       for a fine to the Code Enforcement Board?

   14            A     So I don't agree with the word you used,

   15       "punishment," it's not punishment," but, yeah, city

   16       staff is often asked to give a recommendation as to

   17       how much time that they believe is appropriate to

   18       bring the property into compliance and they may also

   19       be asked as to what they think the appropriate

   20       dollar amount of fine would be and, of course, the

   21       Code Enforcement Board has complete discretion to

   22       take that information in hand and decide how they

   23       want to handle it.

   24            Q     Okay.   Based on your answer to my previous

   25       question, can the City Manager direct code




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    1       enforcement staff to seek higher or lower amounts

    2       when making those recommendations?

    3            A     I think it's possible, but the answer is

    4       it has never happened.

    5            Q     You're positive that has never happened in

    6       Dunedin?

    7            A     Yes.

    8            Q     So, the recommendations that come from

    9       City staff, are they influenced by any other source

   10       other than just the mental processes within the

   11       minds of each code enforcement officer?

   12            A     Each code enforcement officer handles it a

   13       little bit different based upon their own life

   14       experiences, their experience as a code enforcement

   15       officer, their dealings with the property owner or

   16       the tenant at the property.      The gravity of the

   17       violation is currently occurring whether it's a

   18       life-safety issue or not.     Whether or not they have

   19       had to deal with a property owner or tenant before,

   20       how many times they have had to deal with that, how

   21       receptive the property owner or the tenant has been

   22       in bringing the property into compliance, maybe what

   23       the health condition is of the person, maybe the

   24       financial circumstances of the person.       There is a

   25       lot of different factors that they look at.        It's




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    1       not an easy job and, frankly, it's very dangerous

    2       and they have to be very cautious.

    3            Q     You mentioned that each code enforcement

    4       officer sort of does things a little bit

    5       differently; is that a fair characterization of --

    6            A     Yes.

    7            Q     Okay.   Is the Code Enforcement Board at

    8       all concerned about inconsistency or unevenness in

    9       enforcement?

   10            A     I don't really talk to the Code

   11       Enforcement Board members about that issue, but I

   12       have seen that they have had discussions at their

   13       meetings where they have said well, you know, that

   14       case we heard earlier this afternoon we only fined

   15       them $100 a day, are we sure that we want to fine

   16       this one $125 a day, and then they will have a

   17       discussion as to the reasons why, that they're not

   18       factually the same.    The violations may be more

   19       severe in the second case than the first, but, yes,

   20       I think that based upon what I've seen, even though

   21       I've not talked to them about it, what I've seen, I

   22       think that they are concerned about that.

   23            Q     Okay.   You listed a number of factors that

   24       code enforcement officers might consider when making

   25       a recommendation to the Board on what an appropriate




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    1       fine is; is that right?

    2            A     I gave you a lot of factors.      It's not all

    3       encompassing.

    4            Q     Okay.

    5            A     But those are some of them that I've

    6       heard.

    7            Q     Okay.   Is that formalized anywhere?

    8            A     Is it written down?

    9            Q     Are the factors considered formalized

   10       anywhere or written down?

   11            A     No.

   12            Q     Are they passed on verbally by someone in

   13       a position of higher rank?

   14            A     I think that what you will probably see is

   15       you will see young code enforcement officers

   16       following behind the older ones and picking up tips

   17       and techniques and processes, but that would be the

   18       only way that I'm aware of their doing it.

   19            Q     Okay.   Has the City considered crafting a

   20       guidance document to assist code enforcement

   21       officers in making these recommendations?

   22                  MR. DAIGNEAULT:     Object to form.

   23                  THE DEPONENT:     The City has hired a

   24            consultant recently, Calvin Giordano &

   25            Associates, and the consultant has recently




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    1            issued a draft report, and the draft report has

    2            come to the City with some recommendations as a

    3            tier system where certain violations would be

    4            tiered recommendation-wise.      So that is one of

    5            the things that I think that the City

    6            Commission is going to look at.

    7                    So, for example, if it was an inoperable

    8            car, then the first time it may be $25 a day,

    9            the second time $50 a day and so on.        If it is

   10            garbage cans left at the street all week long,

   11            you know, it may be $10 a day first time, $20 a

   12            day second time.      So they are looking at that.

   13            There has been no meeting on that report, and

   14            the report has not been finalized, but there is

   15            a possibility of tiering recommendations.

   16                    Now, that doesn't have anything to do with

   17            the Code Enforcement Board.      That just has to

   18            do with the City staff making their

   19            recommendations.

   20                    MR. BARGIL:   I see.

   21       BY MR. BARGIL:

   22            Q       You mentioned it was a draft report and it

   23       hasn't been finalized.

   24                    When do you expect that report to be

   25       finalized?




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    1            A      I think it's in the next week or so.       It's

    2       going to be fairly soon.

    3            Q      Okay.   Going back to the separation

    4       between Code Enforcement Board and City Council,

    5       although those two don't interact directly, is it

    6       fair to say that the City Manager can account as a

    7       go-between between those two bodies for official

    8       purposes?

    9                   MR. DAIGNEAULT:     Object to form.

   10                   THE DEPONENT:     No.

   11       BY MR. BARGIL:

   12            Q      Can members of the City Council -- City

   13       Commission.    I apologize.

   14                   Can members of the City Commission voice

   15       displeasure about the way the Code Enforcement Board

   16       is operating to the City Manager?

   17            A      Yes, but I have not heard that.

   18            Q      Okay.   Can the City Manager take that

   19       information and then provide direction to City staff

   20       based on the information received from the City

   21       Council or City Commission?

   22                   MR. DAIGNEAULT:     Object to form.

   23                   THE DEPONENT:     The City Manager is in

   24            control of all of our 300 employees.         So, yes,

   25            she can direct them to do certain things.




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    1       BY MR. BARGIL:

    2            Q     Now, getting specifically into the

    3       property maintenance ordinances.      I want to make

    4       sure I'm getting the terminology correct.        You

    5       probably don't refer to them as "property

    6       maintenance ordinances," but the set of ordinances

    7       that refer to things like landscaping and pealing

    8       paint.

    9                  Do you just refer to this broadly as the

   10       code of ordinances?

   11            A     It all depends.     There are a number of

   12       different technical codes that the City uses.

   13            Q     Okay.     You do have a landscaping code,

   14       though, right?

   15            A     No.     They have a Land Development Code.

   16            Q     Land Development Code?

   17            A     Right.

   18            Q     Under the umbrella of the Land Development

   19       Code, is there a section or subsection that deals

   20       with growth and shrubbery on properties?

   21            A     Okay.     So the landscaping code and the

   22       Land Development Code is a section that deals with

   23       commercial properties and what is going to be

   24       required when they build; in other words, how many

   25       trees, what their ages are going to be and so on.         I




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    1       think what you're really asking is, on fully

    2       developed properties are there provisions in the

    3       code relative to maintaining private property.

    4            Q     Uh-huh.     (Indicates affirmatively).

    5            A     That was a "yes"?

    6            Q     Yes.

    7            A     Okay.     So there are several different

    8       codes that the City of Dunedin uses.       They have one

    9       section in their code of ordinances and then they

   10       use the International Property Maintenance Code that

   11       they have adopted for other enforcement actions.

   12            Q     Okay.     Is the International Property

   13       Maintenance Code explicitly adopted and incorporated

   14       within the City's code of ordinances?

   15            A     Yes.

   16                  MR. DAIGNEAULT:     Ari, before you get too

   17            far going, I have to take a quick restroom

   18            break.

   19                  MR. BARGIL:     Sure.   Go ahead.

   20                  (Whereupon, there was a break in the

   21            proceedings.)

   22       BY MR. BARGIL:

   23            Q     Mr. Trask, we're back on the record.

   24                  You're aware you're still under oath?

   25            A     Yes.




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    1            Q     Okay.   We can mark this one.

    2                  Okay.   Mr. Trask, I've just placed a

    3       document in front of you.

    4                  Can you tell me what it is?

    5            A     It's Section 34-31 under the Dunedin Code

    6       of Ordinances.

    7            Q     Okay.   And this is the ordinance that

    8       essentially makes it illegal for a property to have

    9       grass over 10 inches in height; is that correct?

   10            A     It's one of them.

   11            Q     Okay.   What are some of the other ones?

   12            A     The International Property Maintenance

   13       Code section.

   14            Q     Okay.   Is that elsewhere in the code?

   15            A     Well, the Land Development Code adopted

   16       the International Property Maintenance Code, the

   17       2012 edition.

   18            Q     And when did the Land Development Code

   19       adopt the International Property Maintenance Code?

   20            A     The 2012 edition was adopted in 2016.

   21            Q     Okay.   Do you know when this particular

   22       provision that I've put in front of you was adopted?

   23            A     Well, as far back as 1977.

   24            Q     Okay.   Is there a reason why this is two

   25       ordinances on the same topic?




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    1            A     Well, the 1977 version of Section 34-31

    2       was adopted in the code to deal with whatever the

    3       issues were happening at that time and it's been in

    4       existence since then.      The International Property

    5       Maintenance Code was adopted since then to address a

    6       lot more issues.      This was just one that was

    7       captured within it.

    8            Q     So it's just an unnecessary duplication?

    9            A     No.     I don't think it's unnecessary.      I

   10       think that if the City wanted to cite on either one

   11       of them, because they read a little bit differently,

   12       then they can do that.

   13            Q     Okay.     Does the City ever cite a property

   14       owner with both?

   15            A     I'm not aware of them ever doing that, no.

   16            Q     Okay.     Remind me.     What year was the

   17       International Property Maintenance Code?

   18            A     It's the 2012 edition.        It was adopted by

   19       the City Commission in 2016.

   20            Q     Okay.     Was there anything going on in 2016

   21       that made the City Commission think it was

   22       appropriate to adopt the International Property

   23       Maintenance Code at that time?

   24                  MR. DAIGNEAULT:        Object to form.

   25                  THE DEPONENT:     Not that I'm aware of, but




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    1               it's not unusual for the City to update its

    2               code to bring in the more recent sections of

    3               the technical codes.     That is one of the

    4               technical codes that they adopted.

    5       BY MR. BARGIL:

    6               Q      Okay.   What were some of the others?

    7               A      Like the Fire Safety Code, the Fire

    8       Prevention Code, the Life Safety Code, the Florida

    9       Building Code, Standard Unsafe Building of Abatement

   10       Code.       I mean, the list goes on and on, but those

   11       are some of them.

   12               Q      Looking at Section 34-31 or the

   13       International Property Maintenance Code, what is the

   14       purpose of the City having an ordinance that

   15       prohibits grass from growing over 10 inches in

   16       height?

   17               A      Well, there is probably lots of reasons.

   18       I'm not sure what the legislative findings in those

   19       ordinances said.        We could go back and look at those

   20       when that original section was adopted.          Maybe the

   21       ordinance provided some help there.        It's anything

   22       from property values to rats, mice, vermin, to

   23       appearance of abandoned property, abandoned

   24       properties appearing to allow more criminal

   25       activity.       It could be a whole lot of different




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    1       things, but those are some of the ones that I think

    2       would be appropriate.

    3            Q      Okay.     Let's go through those.

    4                   You mentioned the property values, I

    5       think, as one of the first things you mentioned.

    6                   Has the City done any research or studies

    7       or commissioned any research or studies to determine

    8       whether houses with tall grass lead to decreases in

    9       property values?

   10            A      They have done a study.     It's more like a

   11       survey, I think.       I shouldn't use the word "study."

   12       It was a survey that was done city-wide where they

   13       asked the residents how they thought code

   14       enforcement was being handled.       So that's something

   15       you can look at.       As for property values, I'm not

   16       aware of them doing a study to determine that high

   17       grass would ultimately lead to a lower property

   18       value.

   19            Q      Okay.     Are you aware any such study

   20       anywhere?

   21            A      I'm sure they exist, but I'm not a real

   22       estate appraiser.

   23            Q      Okay.     You mentioned there was a survey

   24       that was done city-wide.

   25            A      Uh-huh.     (Indicates affirmatively).




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    1            Q     Correct me if I'm mischaracterizing, but

    2       basically asking public sentiment on code

    3       enforcement; is that about right?

    4            A     It was a survey about all sorts of things

    5       going on in the City.     Code enforcement was one

    6       aspect of the survey.

    7            Q     What were some of the things that were

    8       asked in the survey with respect to code

    9       enforcement?

   10            A     You know, I never really focused on the

   11       other things, but I think it would be things like

   12       quality of life, transportation, traffic, downtown

   13       entertainment, city staff members.       I mean, the

   14       whole wide-ranging thing.      The study is on the

   15       City's web site.

   16            Q     And what year was that study?

   17            A     It was last year.

   18            Q     Okay.    I think you might have

   19       misunderstood the question.

   20                  Those topics that you just listed for me,

   21       those are other topics that were included within

   22       this survey about --

   23            A     Right.

   24            Q     Okay.    Was the general idea behind this

   25       survey, like, hey, tell us how we're doing, good




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    1       people of Dunedin?

    2               A    I don't know if I would characterize it as

    3       that.

    4               Q    How would you characterize it?

    5               A    As a survey that they sent out to the

    6       residents.     I'm not really sure of the reasons that

    7       it was done.

    8               Q    Okay.   But one of the topics within that

    9       survey was code enforcement?

   10               A    Yes.

   11               Q    Okay.   Do you know what types of questions

   12       were asked under the umbrella of code enforcement in

   13       that survey?

   14               A    I think it was something like is there

   15       enough code enforcement action happening, is there

   16       not enough, are you satisfied with the way that

   17       things are, something like that.

   18               Q    What were the responses to that question?

   19               A    It was overwhelmingly, like 80 percent,

   20       satisfied with code enforcement action within the

   21       City.

   22               Q    Okay.   Do you have any idea of the

   23       percentage of people in Dunedin homeowners -- strike

   24       that, please.

   25                    Do you know how many Dunedin residents,




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    1       either because they own single-family properties or

    2       commercial properties, are subject to the City's

    3       code enforcement ordinances?

    4                  MR. DAIGNEAULT:     Object to form.

    5                  THE DEPONENT:     Every property owner is

    6            subject to the City's code enforcement

    7            proceedings.

    8       BY MR. BARGIL:

    9            Q     Okay.    Do you have any idea what

   10       percentage of Dunedin residents have been cited for

   11       a code enforcement violation?

   12                  MR. DAIGNEAULT:     Object to form.

   13                  THE DEPONENT:     No.

   14       BY MR. BARGIL:

   15            Q     Can you estimate?

   16            A     No.

   17            Q     Do you think it's less than 20 percent?

   18                  MR. DAIGNEAULT:     Object to form.

   19                  THE DEPONENT:     I can't estimate it.

   20       BY MR. BARGIL:

   21            Q     Do you think it's possible that the

   22       80 percent that were satisfied with code enforcement

   23       are roughly the 80 percent of Dunedin residents who

   24       haven't had any experience with code enforcement?

   25                  MR. DAIGNEAULT:     Object to form.




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    1                    THE DEPONENT:     Anybody can make that

    2            argument.       I haven't talked to those people,

    3            so --

    4       BY MR. BARGIL:

    5            Q       Okay.    Is 80 percent -- and I understand

    6       if you haven't.

    7                    Have you reviewed this survey recently?

    8            A       No.

    9            Q       Okay.    I'm going to ask you anyway.

   10            A       Okay.

   11            Q       Was the 80 percent reflecting people

   12       because I think -- strike this.

   13                    The way you described it before, there

   14       were seemingly three separate responses; satisfied,

   15       too much code enforcement, not enough code

   16       enforcement; is that accurate?

   17            A       I think it was.     It looks like you've got

   18       it pulled up in front of you now.        Why don't you

   19       take a look at it.

   20            Q       I might.

   21            A       Okay.

   22            Q       The percentage of people, that 80 percent

   23       that you estimated, was that the combined total of

   24       the people who thought there was not enough and just

   25       the right amount?




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    1              A       I don't remember how the percentages laid

    2       out.       It was a very high percentage.    I think it

    3       was, like I said, 80 percent of them that were

    4       satisfied with code enforcement actions.

    5              Q       Okay.   Is it possible that you got that

    6       wrong?

    7              A       Yeah.   I haven't read that report in a

    8       year or so, so --

    9              Q       Quite all right.

   10                      You also mentioned one of the reasons for

   11       having a limitation or an ordinance prohibiting

   12       grass over 10 inches was rats and vermin.

   13                      Are you aware of any instances where there

   14       were rats and vermin growing in residential grass of

   15       over 10 inches?

   16              A       I'm only aware of it by way of code

   17       enforcement staff telling me.        Yes.   It has happened

   18       on many, many, many occasions, but, have I seen it

   19       personally, no.

   20              Q       Okay.   When you say "many, many, many

   21       occasions," do you have any knowledge as to any of

   22       those occasions?

   23              A       Only when they came before the Code

   24       Enforcement Board and they testified under oath.

   25              Q       Okay.   And when they testified under oath




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    1       you've experienced -- you've been present for Code

    2       Enforcement Board hearings in which code enforcement

    3       staff have said this is a property with rats or

    4       vermin as a result of the tall grass?

    5            A     Absolutely.

    6            Q     Okay.   Were these residential properties

    7       that had been un-mowed for a few weeks or were they

    8       ones where -- well, I'll just stop the question

    9       right there.

   10                  Were these residential properties where

   11       grass had been un-mowed and had reached between 10

   12       and 15 inches?

   13            A     I don't know the timing of any of them.

   14       You asked me if I heard, and the answer is yes, I've

   15       heard, but I don't know any specific details about

   16       any specific case and how long grass was cut or

   17       wasn't cut.

   18            Q     Okay.   Well, what I'm trying to do -- I'll

   19       tell you why I'm asking the question.

   20            A     Okay.

   21            Q     I'm trying to see if there is a

   22       distinction between maybe a property that hasn't

   23       been tended to in 30 years and has become a forest

   24       and a residential property that just isn't mowed as

   25       regularly as maybe would be required under the code




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    1       in order to keep it under 10 inches.       So that's why

    2       I'm asking about the specifics of some of these

    3       cases.

    4            A       There would be no property in the City of

    5       Dunedin that went for 30 years with high grass.         It

    6       would not happen.

    7            Q       It's a hypothetical, sir.

    8            A       Okay.    I understand that there is a

    9       difference between someone not cutting the grass for

   10       six weeks and someone not cutting their grass for

   11       eight weeks or 10 weeks.       There is a difference

   12       there.     It all depends on the weather, rain, type of

   13       grass, the conditions on the property, is it heavily

   14       shaded, is it in the direct sun.       There are a lot of

   15       factors.

   16            Q       Okay.    Do you know whether there have been

   17       complaints about properties as harboring rats and

   18       vermin?

   19            A       Yes.

   20            Q       Okay.    And, if we asked for those, those

   21       would be made available to us?

   22            A       Yes.    Whatever you would like that's a

   23       public record, we'd be happy to provide to you.

   24            Q       Okay.    You also mentioned the appearance

   25       of abandoned buildings as one reason why you




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    1       prohibit grass from growing over 10 inches in

    2       Dunedin.

    3                  Is it your position, you as the City -- is

    4       it the City's position that when grass grows over 10

    5       inches a home looks abandoned?

    6            A     In certain circumstances, yes.

    7            Q     What are those circumstances?

    8            A     It depends on the house.      It depends on

    9       the location of where it's at.      It depends on, you

   10       know, how tall the grass actually is.       Is it

   11       Sawgrass, is it high grass, is it St. Augustine

   12       grass, is it grown over the sidewalks, is it over

   13       the driveway, are all the windows closed up,

   14       whatever the factors are.

   15            Q     Could it depend on other physical

   16       characteristics of the property?

   17            A     Yes.

   18            Q     So, speaking hypothetically again, if a

   19       house has a brand new fresh coat of paint on it,

   20       nice trim, new windows, flowers, but the grass is

   21       over 10 inches, the presumption wouldn't be that

   22       that house is abandoned, right?

   23                  MR. DAIGNEAULT:     Object to form.

   24                  THE DEPONENT:     I wouldn't think so.

   25




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    1       BY MR. BARGIL:

    2               Q   Okay.    But maybe if it were a little bit

    3       older, not looking as nice, that concern would kick

    4       in?

    5               A   Possibly.

    6               Q   What is the concern with the appearance of

    7       abandoned properties?

    8                   Maybe I'll play devil's advocate here.

    9                   If a house looks abandoned, so what?

   10               A   It brings homeless people in possibly, it

   11       brings in children that break windows and enter the

   12       property.    Once there is a broken window it begins

   13       to look like it is -- you know, it could possibly

   14       harbor criminal activity, maybe kids are smoking pot

   15       in there.    We have had homes that have been broken

   16       into that we thought were abandoned and set on fire

   17       on the inside.      So those are concerns of ours at the

   18       City.

   19               Q   Okay.    How many times has that happened

   20       where homes have been broken into and fires were set

   21       inside?

   22               A   I know of one in Dunedin.

   23               Q   Okay.    It sounded like you said there were

   24       multiple.

   25                   Was there just one?




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    1            A     How many homes have been broken into,

    2       there have been multiple ones.      How many ones that

    3       have been set on fire, only one that I know of.

    4            Q     Okay.   How many homes have -- maybe you

    5       can explain a little bit more.      There is a concern

    6       about homeless people and properties that appear

    7       vacant.

    8                  I'm going to put two and two together here

    9       and ask you if the concern is that homeless people

   10       will start living in abandoned properties; is that

   11       what the concern is?

   12                  MR. DAIGNEAULT:     Object to form.

   13                  THE DEPONENT:     It's one of them.

   14       BY MR. BARGIL:

   15            Q     Okay.   Do you have any evidence or

   16       knowledge that that has happened here?

   17            A     I don't in Dunedin, but we could talk to

   18       the code enforcement staff.      They and Michelle

   19       Gilbert would be able to tell us.       I don't know.

   20            Q     Okay.

   21            A     I did not ask her that question.

   22            Q     Okay.   So you say you don't in Dunedin.

   23                  Are you aware of it happening elsewhere?

   24            A     In other cities, yes.

   25            Q     Which cities?




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    1            A     Tarpon Springs, I think, and Safety

    2       Harbor.

    3            Q     Are these cities that you're the City

    4       Attorney for again?

    5            A     I'm not the City Attorney for Safety

    6       Harbor, but I do represent their Code Enforcement

    7       Board.

    8            Q     Okay.   How many instances of homeless

    9       people coming in and living in abandoned properties?

   10            A     I don't know.

   11            Q     Count on one hand?

   12            A     I don't know.     It only takes one.

   13            Q     It only takes one to what?

   14            A     It only takes one homeless person to break

   15       into an abandoned home to give us concern.

   16            Q     Okay.   And that concern is what?

   17                  I understand you want to protect private

   18       property, of course, but is there a -- strike that.

   19                  Is another reason why the City cites

   20       people for having grass over 10 inches to generate

   21       revenue?

   22            A     No.

   23            Q     Does the City generate revenue from code

   24       enforcement funds?

   25                  MR. DAIGNEAULT:     Object to form.




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    1                   THE DEPONENT:     There are fines that the

    2            City receives just like parking fines, library

    3            fines; the City does receive those, yes.

    4       BY MR. BARGIL:

    5            Q      Okay.   Do you know whether the City's

    6       ordinances provide anywhere for the possibility that

    7       the City may itself remedy a code violation if it

    8       becomes aware of one?

    9                   MR. DAIGNEAULT:     Object to form.

   10                   THE DEPONENT:     There is no real provisions

   11            that would allow for that except for the

   12            abatement provisions in the City code.        The

   13            City has done that in the past.       It's currently

   14            doing on some properties abatements.

   15       BY MR. BARGIL:

   16            Q      When does the City initiate what you refer

   17       to as "abatements"?

   18            A      There is no policy on that issue.      I think

   19       that would be in a property that would be highly

   20       visible, maybe on a corner, maybe on downtown, maybe

   21       near schools or fire department, you know, those

   22       types of locations.     It would be more of an interest

   23       to make sure that grass is not high where kids are

   24       involved.

   25            Q      Okay.   Why does the City select those




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    1       locations?

    2                    THE DEPONENT:     The City doesn't select

    3            them.

    4                    MR. DAIGNEAULT:     Object to form.

    5                    Sorry, Tom.

    6                    THE DEPONENT:     The City does not select

    7            those locations.        I'm just saying that those

    8            could be some of the locations.

    9                    MR. BARGIL:     I see.

   10                    THE DEPONENT:     Yeah.

   11       BY MR. BARGIL:

   12            Q       Is there a higher concern that maybe a

   13       homeless person would break into and move into a

   14       house on a corner or near a school than anywhere

   15       else in the community?

   16            A       I don't know the answer to that question.

   17            Q       Is it your testimony that the City's more

   18       likely to initiate an abatement in an area that's

   19       more visible?

   20                    MR. DAIGNEAULT:     Object to form.

   21                    THE DEPONENT:     There is a lot of factors

   22            to look into.     It could be more visible, it

   23            could be receiving more complaints, it could be

   24            that we've known we see snakes, rats, mice.

   25            Each case is looked at individually.          There is




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    1               no perfect case and there is no perfect answer

    2               for every one of your questions because of the

    3               fact that each case is factually different.

    4       BY MR. BARGIL:

    5               Q    Okay.   I certainly appreciate that each

    6       case is factually different.

    7               A    Yeah.

    8               Q    We can move on after this.    I just want to

    9       clarify.

   10                    There is no criteria that the City follows

   11       when deciding whether to initiate an abatement

   12       action on a specific property; is that right?

   13               A    There is no written criteria.

   14               Q    Is there an unwritten criteria?

   15               A    Not that I'm aware of.

   16               Q    Okay.   But these decisions are made.

   17                    Who makes the decision whether or not to

   18       say hey, maybe we should fix this issue rather than

   19       just letting it go and having fines accumulate?

   20               A    It's ultimately the City Manager's

   21       responsibility.      She may designate someone to do

   22       that.

   23               Q    Okay.   When you say "she may designate

   24       someone," does that mean she might call a private

   25       contractor to go out there and do what needs to be




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    1       done; what do you mean by that?

    2            A     She may say to Greg Rice in the planning

    3       department, "Go take a look at this property.         If

    4       you feel that there is a need to abate it, go ahead

    5       and abate it."

    6            Q     Okay.    Does the City ever initiate

    7       abatements to specifically address grass over 10

    8       inches in height?

    9            A     Yes.

   10            Q     Do they ever do that on residential

   11       properties?

   12            A     Yes.

   13            Q     Do they do it on commercial properties?

   14            A     I don't know the answer to that.

   15            Q     Okay.    I think I know the answer to this

   16       question, but is there a criteria for deciding which

   17       residential properties the City will have mowed and

   18       which ones the City will elect to not go have mowed?

   19            A     There is no written or verbal criteria.

   20            Q     Okay.    This decision is ultimately made by

   21       the City Manager?

   22            A     She's ultimately responsible for all

   23       decisions that happen within the City.

   24            Q     Well, that's not really my question.        We

   25       can use a hypothetical.




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    1                   If there is a property with grass over 10

    2       inches in height and it doesn't look nice, maybe,

    3       there is a possibility under City code that that

    4       lawn could get cut by the City or someone hired by

    5       the City; is that right?

    6                   MR. DAIGNEAULT:     Object to form.

    7                   THE DEPONENT:     It could be abated.   The

    8            answer is yes.

    9       BY MR. BARGIL:

   10            Q      I'm trying to figure out how the process

   11       for that abatement would work.

   12                   Is the City Manager going to have to give

   13       an order to somebody beneath her or does somebody

   14       else have discretion to identify the problem and

   15       correct it without the City Manager getting

   16       involved?

   17            A      Certain occasions Greg Rice would do it on

   18       his own.

   19            Q      Okay.    When you say "do it on his own,"

   20       identify the property and initiate the abatement?

   21            A      Right.    If a complaint came in, he went

   22       out to see the property, he determined that at one

   23       of those properties that he would like to initiate

   24       an abatement process, then he would initiate it

   25       without going to the City Manager.




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    1               Q   Okay.   Would he ordinarily be the one who

    2       first looks at the property if a complaint comes in?

    3               A   No.

    4               Q   Who would look at it first?

    5               A   A code enforcement officer.

    6               Q   Okay.   Would a code enforcement officer

    7       ever make a recommendation to Mr. Rice "hey, I think

    8       we should abate this"?

    9               A   It's possible.

   10               Q   Can a code enforcement officer make that

   11       decision on their own?

   12               A   No.

   13               Q   I know you've got no set criteria for

   14       this, but abatements, it sounds like, generally come

   15       from Mr. Rice?

   16               A   That's correct.

   17               Q   Okay.   His title is what again?

   18               A   Director of Planning and Development.

   19               Q   Okay.   Can you estimate how many -- strike

   20       that.

   21                   Can you estimate what percentage of

   22       violations for grass over 10 inches in height are

   23       abated by the City?

   24                   MR. DAIGNEAULT:     Object to form.

   25                   THE DEPONENT:     I don't know.




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    1       BY MR. BARGIL:

    2               Q   You can't estimate; you don't know if you

    3       can estimate?

    4               A   I don't know how many there are.

    5               Q   Are you aware of instances where the City

    6       has mowed grass?

    7               A   Yes.

    8               Q   Okay.   You sort of chuckled as you say

    9       that.

   10                   Does it happen a lot?

   11               A   No.

   12               Q   Okay.   Can I ask why you sort of laughed

   13       while answering?

   14               A   Because I've been doing this 30 years, so

   15       I've seen a lot of grass that needed to be cut.

   16               Q   Okay.   Does the City frequently cut that

   17       grass --

   18               A   No.

   19               Q   -- or hire somebody to do it?

   20               A   Sometimes.

   21               Q   Okay.

   22               A   We're not in the property management

   23       business.

   24               Q   Certainly not.

   25                   Nevertheless, in some instances the City




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    1       decides to have grass cut; is that correct?

    2             A      Yes.

    3             Q      Okay.    Do you know about how much it costs

    4       when the City decides to go ahead and have grass cut

    5       on a residential property?

    6             A      It depends on how tall it is and what's in

    7       it.   Anywhere from $40 to $120 probably.

    8             Q      Okay.    What's the typical fine for a

    9       first-time offender for tall grass?

   10             A      I don't know.

   11             Q      You don't know?

   12             A      No.

   13             Q      Is it $300?

   14             A      It's a daily fine only and unless the

   15       property owner does not bring the property into

   16       compliance.

   17             Q      Okay.    Let's assume that the property

   18       owner has not brought the property into compliance.

   19       They have been cited for having tall grass.        The

   20       Code Enforcement Board has found them to be in

   21       violation.     Now comes the time to decide how much to

   22       fine them.

   23             A      Right.

   24             Q      In your experience, please estimate for me

   25       what that fine typically is.




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    1                  MR. DAIGNEAULT:     Object to form.

    2                  THE DEPONENT:     I don't know.

    3       BY MR. BARGIL:

    4            Q     You don't know?

    5            A     (Indicates negatively).

    6            Q     Does the City have any policies that guide

    7       how much they fine someone for a first-time offense

    8       for tall grass?

    9            A     The City has no control over the fines.

   10       The Code Enforcement Board fines.       So the City could

   11       ask for $1 and the Code Enforcement Board could

   12       require it's a $10-a-day fine.      The City could ask

   13       for a $10-a-day fine and they can say no, we're not

   14       going to fine them at all.

   15            Q     Okay.    But there is a limitation on the

   16       amount of money that the City can fine somebody for

   17       a first-time offense; is that right?

   18            A     The City Code Enforcement Board looks at

   19       the requirements that are set forth in the code and

   20       the statute.     There is three elements that they have

   21       to look at, and they make that determination based

   22       upon those three elements.      An initial violation

   23       they can fine up for $250 a day.      For a repeat

   24       violation it's up to $500 a day.

   25            Q     Okay.    What are the three elements?




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    1            A       The statute says that you have to look at

    2       the gravity of the violation, what has the property

    3       owner done to bring the property into compliance and

    4       have they been found in violation of a similar type

    5       of violation in the past.

    6            Q       That's in the statute?

    7            A       Yeah.    I'm paraphrasing it, but it's in

    8       Florida Statute 162.09.

    9            Q       Is there a fourth element in the --

   10       correct me if I'm wrong.       Does the City code largely

   11       mirror Florida Chapter 162?

   12            A       Yes.    There is a fourth element in the

   13       City's code that is not in the State statute.

   14            Q       And what is that element?

   15            A       It's basically how has the property owner

   16       been in their involvement with the code enforcement

   17       officer.

   18            Q       Is there a reason why the City added that

   19       provision?

   20            A       It was before my time, so I don't know the

   21       answer to that.

   22            Q       When you say it was before your time, your

   23       time began in what year again?

   24            A       2011.

   25            Q       Okay.




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    1            A     The fourth element under Code Section

    2       22-80 is "the courtesy and cooperation of violator

    3       extends to the code enforcement officer."

    4            Q     So, if you're nice to the code enforcement

    5       officer, you might get off a little bit more easily

    6       than if you had been rude?

    7                  MR. DAIGNEAULT:     Object to form.

    8                  THE DEPONENT:     If you're cooperative with

    9            the code enforcement officer, then they should

   10            take that into consideration.

   11       BY MR. BARGIL:

   12            Q     Can you read it again.

   13            A     "The courtesy and cooperation of violator

   14       extends to the code enforcement officer."

   15            Q     Okay.    So it's "courtesy" and

   16       "cooperation"?

   17            A     That's what it says.

   18            Q     Okay.    So being cooperative is one

   19       component and courtesy is another; is that right?

   20            A     That's what it says.

   21            Q     Okay.    So it's not just whether you're

   22       cooperative.     It could be construed to mean that if

   23       you're polite and maybe contrite, you might be

   24       treated a little bit differently than if you had

   25       been rude and discourteous?




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    1                  MR. DAIGNEAULT:    Object to form.

    2       BY MR. BARGIL:

    3            Q     Do you have an answer?

    4            A     No.

    5            Q     You don't have an answer?

    6            A     No.

    7            Q     Okay.   Is that something that ever gets

    8       discussed when code enforcement staff is making a

    9       recommendation for a fine?

   10            A     These factors?

   11            Q     Yeah.

   12            A     No.

   13            Q     Okay.   Why not?

   14            A     Because when they are making their

   15       recommendation, they're making it based upon their

   16       contact, their experience, what has happened at the

   17       property, how much cooperation there has been, how

   18       long do they think it's going to take to come into

   19       compliance, are there life safety issues.

   20                  All the other things that I mentioned to

   21       you before the code enforcement officer is looking

   22       at which is different than what the Code Enforcement

   23       Board is obligated to do when they levy a fine.

   24            Q     So, when the Code Enforcement Board

   25       considers those factors, who considers those




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    1       factors?

    2            A     These four factors that we just went over

    3       in Section 22-80 are the Code Enforcement Board.

    4            Q     Okay.    So it's incumbent on them to

    5       consider those factors when deciding whether or not

    6       to give a fine of a certain amount?

    7            A     Correct.

    8            Q     Okay.    In order for them to consider those

    9       factors, do they ever ask code enforcement staff

   10       about the cooperation and courtesy extended by the

   11       property owner?

   12            A     Often.     Very often.

   13            Q     Okay.    So, going back to my original

   14       question, it does come up when code enforcement

   15       staff is either making a recommendation or the Board

   16       is considering an ultimate fine, does it not?

   17            A     It doesn't come up when the code

   18       enforcement staff makes a recommendation.        When they

   19       testify in front of the Code Enforcement Board,

   20       those factors are considered.

   21            Q     Okay.    So will a code enforcement staff

   22       member testify as to how they were treated by a

   23       property owner?

   24            A     Yes.

   25            Q     I feel like I've asked this question




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    1       before.

    2            A     Yes.

    3            Q     The answer is "yes"?

    4            A     Yes.

    5            Q     Okay.   As far as you know, the Code

    6       Enforcement Board is obligated to take into

    7       consideration whether or not they have been treated

    8       poorly or courteously or any derogation of your

    9       understanding of the term "courtesy"?

   10            A     They ought to take into consideration the

   11       courtesy and cooperation a violator extends to the

   12       code enforcement officer.

   13            Q     Okay.   You're reading the statute.      Okay.

   14                  Is tall grass a common complaint in

   15       Dunedin?

   16            A     Yes.

   17            Q     Do you know why that is?

   18            A     It's the same in any Florida city.

   19            Q     Which is why?

   20            A     The weather, the place that we live in.

   21            Q     Anything else?

   22            A     There is probably lots of factor, but

   23       those are the main ones.

   24            Q     When you say "the place that we live

   25       in" --




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    1              A   We live in Florida.     Grass grows.

    2              Q   I mow my own lawn.

    3              A   Okay.

    4              Q   I know very well.

    5                  So let's talk about that very briefly

    6       although, you know, it's sort of obvious.

    7                  Does grass grow more quickly in the

    8       summertime?

    9              A   I'm not an agricultural-type person.        I

   10       can tell you my experience is that when it rains

   11       grass grows.   If there is no rain, grass is not

   12       going to really grow.

   13              Q   What about when it's sunny?

   14              A   What about it?

   15              Q   Does grass grow -- do plants in -- I know

   16       you're not an arborist, but, you know, just applying

   17       our six great science lessons here, do plants grow

   18       more when the sun is shining?

   19              A   And it's raining, the answer is probably

   20       yes.

   21              Q   Okay.   It's probably yes or it just is

   22       yes?

   23              A   If there is no rain and it's 150 degrees

   24       outside for three weeks in a row, I don't think the

   25       grass is going to be growing that much, Ari.




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    1            Q     I gotcha.

    2            A     Okay.

    3            Q     Walk me a little bit through the code

    4       enforcement process from the perspective of a staff

    5       member.

    6                  Is it all complaint driven; is all code

    7       enforcement complaint driven?

    8            A     No.

    9            Q     What else might lead to the initiation of

   10       a code enforcement action?

   11            A     Proactive enforcement.

   12            Q     Does proactive enforcement mean just kind

   13       of patrolling the town?

   14            A     Yes.

   15            Q     Do they do that in a car?

   16            A     Yes.

   17            Q     In a marked City of Dunedin vehicle?

   18            A     Yes.

   19            Q     Is your code enforcement staff dressed in

   20       official attire?

   21            A     Yes.

   22            Q     What do they wear?

   23            A     It all depends on the day of the week, but

   24       they have a shirt that has the City of Dunedin

   25       listed on it.      When it's really hot in the summer,




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    1       they're wearing shorts, but otherwise they're

    2       wearing khakis.

    3            Q     Okay.   Do they have a laptop computer in

    4       the car?

    5            A     I think they all do now, yes.

    6            Q     Is there internet connectivity?

    7            A     I think so.

    8            Q     Okay.   Do you know how long they have had

    9       that capability?

   10            A     No.

   11            Q     More than three years?

   12            A     Probably.

   13            Q     More than five years?

   14            A     Probably.

   15            Q     Okay.   Now, I know you currently only have

   16       one person, one code enforcement staff member, who

   17       patrols; is that right?

   18            A     Yes.

   19            Q     The answer to this question is obvious

   20       when you've only got one person, but when you've got

   21       a full roster of code enforcement staff, do they

   22       divide up the City into sections and who goes where?

   23            A     Yes.

   24            Q     Okay.   And how do they divide that up?

   25            A     They divide it in half.      I'm not really




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    1       sure where the dividing line is, but I know that

    2       when Tom Colbert and Mike Kepto were the code

    3       enforcement officers each did half the City.

    4            Q      Was it the same half?

    5            A      No.     They did different halves.

    6            Q      No, no, no.     I'm sorry.

    7                   One would do one half and the other would

    8       do the other half?

    9            A      Correct.     Yes.

   10            Q      Let's call those halves "half one" and

   11       "half two."

   12            A      Okay.

   13            Q      Okay.     Would one officer do half one

   14       repeatedly?

   15            A      Yes.

   16            Q      Okay.     And the other would do half two

   17       repeatedly?

   18            A      Yes.

   19            Q      Okay.     So, when I say did they do the same

   20       one, I meant did they each do the same half over and

   21       over again; that was their beat?

   22            A      Yes.     That's a good way to put it, yes.

   23            Q      Sorry I misspoke.     Thank you for pointing

   24       that out.

   25                   Do they pay more attention to certain




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    1       areas than others?

    2                    MR. DAIGNEAULT:     Object to form.

    3                    THE DEPONENT:     No.   I don't think so.

    4       BY MR. BARGIL:

    5            Q       Is it possible that they do?

    6            A       Anything is possible.      I just don't think

    7       that that happens.

    8            Q       Okay.   Is there a policy prohibiting them

    9       from focusing more on one neighborhood or another?

   10            A       No.

   11            Q       Okay.   Now, speaking to the mechanics of

   12       code enforcement violations, whether a code

   13       enforcement officer is at a property because of a

   14       complaint or because of just a drive-by observation

   15       of a possible violation, what's the first thing they

   16       do when they observe a potential or alleged

   17       violation?

   18            A       It all depends on the situation.      Usually

   19       what happens is they will take photographs.         They

   20       will take photographs of the property and then they

   21       will go back to their office and they will look up

   22       the property and they will see whether or not the

   23       property has been cited before, whether there is any

   24       history there, whether there is a phone number

   25       connected to the property that they could call, just




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    1       any history that they can find.      It all depends on

    2       the violation too.      So, for example, if it was

    3       someone replacing a roof, they're checking to see

    4       whether they have a permit.

    5            Q     Okay.

    6            A     So they will go into utility billing and

    7       they will see if there is a phone number attached to

    8       it and then they will usually call a person and say

    9       "I drove by your house, do you have a permit for

   10       that roof, we're not showing one" or "your grass is

   11       high, when can you get it cut for us?"

   12                  So, if we have a phone number, that's what

   13       we're doing.      If we don't have a phone number, then

   14       they will go back out to the property and they will

   15       leave a card.

   16            Q     A business card?

   17            A     Yes.

   18            Q     Just a business card with no explanation

   19       or what else?

   20            A     We don't put explanations on the back of

   21       them because when you put an explanation on the back

   22       of them then they know why you're calling and then

   23       there is less likelihood they're going to call.

   24            Q     Okay.

   25            A     So we give them the business card and ask




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    1       for them to call and then we talk to them on the

    2       phone about the issue.

    3               Q   So you just write "call me"?

    4               A   Yes.

    5               Q   What does one of these business cards look

    6       like?

    7               A   It looks like yours or mine.     It has the

    8       code enforcement officer's phone number on it.

    9               Q   Does it say the name of the code

   10       enforcement officer with their title as code

   11       enforcement officer?

   12               A   I believe so, yes.

   13               Q   Okay.    And some sort of official marking

   14       of the City of Dunedin?

   15               A   Yes.    The logo.

   16               Q   You sound pretty confident that business

   17       cards without messages get more of a response than

   18       business cards with them.

   19                   Have you found that to be true in your

   20       experience?

   21               A   In my discussions with code enforcement

   22       staff, yes.

   23               Q   Okay.    So, moving on from that, maybe the

   24       person calls and maybe they don't.

   25                   What happens next if they don't fix the --




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    1       let's speak about a hypothetical scenario where

    2       somebody has got tall grass, a business card has

    3       been left, no phone call has been made for whatever

    4       reason.

    5                  What happens next?

    6            A     They may try again, the phone call, or

    7       they may go out to the property again and try to

    8       find the property owner.

    9            Q     Okay.   What do they do to try to find the

   10       property owner?

   11            A     Knock on the door.

   12            Q     Okay.   Do they look up to see whether or

   13       not it's bank owned, owner occupied, anything in

   14       between?

   15            A     Yes.

   16            Q     And when do they do that research?

   17            A     It all depends on whether it's a proactive

   18       case or a reactive case.     If it's proactive like

   19       we're talking about right now, they just happen to

   20       see it, when they go back to the office, that's one

   21       of the first things that they will do.       They will

   22       look up the Pinellas County Property Appraiser's

   23       records and the Pinellas County Tax Collector's

   24       records to see who the property owner is.

   25            Q     Okay.




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    1            A      Then they use that information and they go

    2       into the utility building and then they try to find

    3       the phone number associated with that person's name

    4       and they make that call.

    5            Q      Okay.   And if it's a reactive case?

    6            A      Then, more than likely -- reactive is

    7       where a complaint comes in, whether it's anonymous

    8       or whether you have a name.      It's been different

    9       between the code enforcement officers, but the

   10       female code enforcement officer we have now does a

   11       Google Earth search on the property as well as the

   12       other and she gets a full vision of the front and

   13       the back of the house, and then she will go out to

   14       the property and knock on the door.

   15            Q      Okay.   For a reactive case when a

   16       complaint comes in, is there any other sort of

   17       research or diligence, due diligence, that's done

   18       before making a visit; you mentioned a minute ago,

   19       for example, that after visiting a property where it

   20       looks like there is a violation one of the first

   21       things they do is they check on the history of that

   22       property.

   23                   Do they sometimes do that before they even

   24       go over there?

   25            A      On a reactive case the answer is yes.




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    1       They're going to be as up to date on the information

    2       that they have available before they go out there.

    3            Q       Okay.     Do they look up other properties

    4       owned by that property owner?

    5            A       No.

    6            Q       Okay.     Now let's move to the next step.

    7                    The phone call has been made, they have

    8       gone back out to the property, knocked on the door

    9       or tried to make contact with the owner.           Whether

   10       that works out or not, you know, the violation still

   11       hasn't been fixed and this is a non-repeat

   12       violation.

   13                    What happens after that?

   14            A       They issue a notice of violation and they

   15       send it to the property owner.

   16            Q       Okay.     Is that courtesy notice?

   17            A       No.     It's a notice of violation.

   18            Q       Okay.     Do you ever send courtesy notices?

   19            A       Very frequently.     They try to do the

   20       courtesy notice aspect of it by way of talking to

   21       them face to face instead of going and typing up a

   22       letter and sending it in the mail.

   23                    So, if they're having no success by a face

   24       to face or a phone call, they will go to the notice

   25       of violation.




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    1            Q      Okay.   Why do they skip over the courtesy

    2       notice if they're not -- you know, maybe people are

    3       just skittish and they don't want to open the door.

    4       Let me rephrase that.

    5                   In what instances will a code enforcement

    6       staff leave a courtesy notice?

    7                   MR. DAIGNEAULT:     Object to form.

    8                   THE DEPONENT:     I don't know what you mean

    9            by that.

   10       BY MR. BARGIL:

   11            Q      Well, maybe let's talk about what a

   12       "courtesy notice" is.

   13                   What is your understanding of that term?

   14            A      A letter written by the code enforcement

   15       officer to the property owner saying "hey, here's

   16       some violations, when do you think you can get them

   17       in compliance?"

   18            Q      Sent via U.S. mail?

   19            A      Yeah.

   20            Q      Do you also do door hangers?

   21            A      So, the answer is, they currently do door

   22       hangers, but they haven't done them in the last five

   23       or six years that I'm aware of.       They started doing

   24       it again.

   25            Q      When did they start doing it?




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    1            A     A couple of months ago.

    2            Q     Okay.    Was that in any connection to this

    3       case or the publicity that this case received?

    4                  MR. DAIGNEAULT:       Object to form.

    5                  THE DEPONENT:     No.    It had to do with a

    6            new code enforcement officer wanting to do

    7            things her way.

    8                  MR. BARGIL:     Okay.

    9                  THE DEPONENT:     She was a part timer

   10            before.     She was under the direction of two

   11            others.     Now she's a full timer.     She wanted to

   12            do things a little bit differently.           So it was

   13            her idea.

   14       BY MR. BARGIL:

   15            Q     Okay.    I'm sorry.     I need to bring back

   16       something -- actually, I'll strike that.

   17                  Was using door hangers something that the

   18       City used to do at any point?

   19            A     I think it was done back in the '90s.

   20            Q     Okay.

   21            A     I have some recollection of Jim Leavengood

   22       doing it when he was a code enforcement guy back in

   23       the day.   It was a long time ago, though.

   24            Q     And the City moved away from doing that?

   25            A     Different code enforcement officers doing




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    1       things differently, yes.

    2               Q   Okay.    Does the statute require, I'm

    3       talking about Chapter 162, reasonable time to comply

    4       before a fine is commenced?

    5               A   Yes.    The Code Enforcement Board does

    6       that.

    7               Q   Okay.    But a courtesy notice, as I

    8       understand your testimony, is not required, right?

    9               A   Correct.

   10               Q   Okay.

   11               A   There were like three or four levels of

   12       people coming -- bringing their property into

   13       compliance.

   14                   So the phone call first, "Can you bring it

   15       into compliance?"

   16                   "Yes.    I need 10 days."

   17                   They don't do it.

   18                   You go back out there again.

   19                   "How much time is it going to take you to

   20       bring the property into compliance?"

   21                   "Well, give me another weekend.      My

   22       lawnmower broke down."

   23                   Okay.    We give them another weekend.

   24       There is another extension of time.       Then we go back

   25       out there again to do an inspection.




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    1                  "Are you done?"

    2                  "No, it's not done."

    3                  So they issue a notice of violation.

    4                  The notice of violation says, "Get the

    5       property into compliance within another 10 days,

    6       and, if you don't, then it's going to go to the Code

    7       Enforcement Board meeting."

    8                  The Code Enforcement Board meeting is then

    9       30 days down the road.     So now they're three months

   10       into "just need a couple extra days to cut the

   11       grass," with three extensions of time to get it into

   12       compliance before it gets to the Code Enforcement

   13       Board.

   14                  When it gets to the Code Enforcement Board

   15       on an initial violation, they say "how much time do

   16       you think it will take to get it into compliance now

   17       that you're in front of us?"

   18                  "Give me two weeks."

   19                  They give him two weeks and then the fine

   20       starts to run.

   21                  So it's not an unreasonable period of time

   22       they have to come into compliance.       When you read it

   23       in the statute, that's the reasonable period of time

   24       the Code Enforcement Board levies.

   25            Q     Sure.




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    1            A     City staff gives it many times an advance.

    2       If you look at these cases, they may have been cited

    3       once before it gets to the Code Enforcement Board.

    4            Q     Okay.   When you get to the Code

    5       Enforcement Board hearing, what is the purpose of

    6       that hearing?

    7            A     To determine whether or not a violation is

    8       occurring on the property that's been cited.

    9            Q     Okay.   What does the Code Enforcement

   10       Board take into consideration when making that

   11       determination?

   12            A     All the testimony and evidence that's

   13       presented by the alleged violator and the City

   14       staff.

   15            Q     Okay.   Does staff ever tell the alleged

   16       violator "hey, you're going to get not guilty"?

   17            A     I'm sorry?

   18            Q     Does staff ever tell the alleged violator

   19       "you're going to be found to be in violation"?

   20            A     It wouldn't surprise me.      If you have

   21       grass that is 30 inches tall and there is a code

   22       provision that says it's 10, there is probably a

   23       high likelihood that you're going to be found in

   24       violation of that code section.

   25            Q     In an instance where you can't locate




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    1       somebody who is not an institutional owner, you

    2       know, you look up the property, rule on it, it

    3       doesn't say Bank of America, but it's got a name and

    4       a phone number and can't get in touch with them,

    5       what do you do?

    6            A      Well, the statute allows the property to

    7       be posted or you can do a publication of the notice

    8       of the hearing coming up, but usually it's just

    9       posting at the property.

   10            Q      What is that; what do you mean "posting at

   11       the property"?

   12            A      There is a sign usually taped to the front

   13       door or the garage door saying "here's a notice of

   14       violation" and "here's a notice of hearing for the

   15       Code Enforcement Board that's coming up."

   16                   Sometimes it's staked into the front yard

   17       and stapled on the stake.     Most times it's taped to

   18       the door.

   19            Q      Do you do that regardless of whether

   20       you've been able to locate an owner?

   21            A      It has been my advice to them to send it

   22       by regular mail, to send it by certified mail and to

   23       post the property so that we make sure that property

   24       owner has been given due process.

   25            Q      Okay.   Do you know whether that's what




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    1       code enforcement staff typically does?

    2            A     That is what they typically do.

    3            Q     Okay.    Let's talk a little bit about Jim's

    4       case, Mr. Ficken, the Plaintiff in this matter.

    5                  It's correct that he was cited in 2015 for

    6       having grass over 10 inches in height; was that your

    7       understanding as well?

    8            A     He was cited 15 times on that property.

    9            Q     I'm sorry.    My question was, was he cited

   10       in 2015 for having tall grass?

   11            A     The answer is yes.

   12            Q     Okay.    And was he found to be in violation

   13       for that 2015 violation?

   14            A     Yes.

   15            Q     Okay.    And is that 2015 violation the root

   16       of his classification as a repeat violator for

   17       purposes of the 2018 tall grass case?

   18            A     Yes.

   19            Q     Okay.    Now, speaking about repeat

   20       violations, I think the code enforcement officer was

   21       Mr. Colbert in the 2018 case, do you know how he

   22       came to be aware of the tall grass on Mr. Ficken's

   23       property in 2018?

   24            A     Let me just find that case file on that

   25       and I'll tell you.




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    1                  So the case file says on July 5th, 2018,

    2       "received several complaints of overgrowth."        He

    3       inspected it on July 5th.

    4            Q     Hang on.   I've got the same thing, and

    5       we're actually going to put it in.       So why don't you

    6       take the one that I'm going to hand you and that way

    7       we're all positive we're looking at the same thing.

    8                  Are you good?

    9            A     Yes.

   10            Q     Okay.   On Page one of the document I just

   11       handed you -- actually, let's rewind really quickly.

   12                  Do you recognize the document that I've

   13       just handed you?

   14            A     It's a case history for the Ficken code

   15       enforcement case from 2018 at 1341 Lady Marion Lane.

   16            Q     Okay.   And this came into my possession as

   17       a result of your attorney's Rule 26 disclosures to

   18       the Plaintiffs in this case.

   19                  Do you have any reason to think that this

   20       isn't an accurate depiction of what was included in

   21       that disclosure?

   22            A     No.

   23            Q     Okay.   So it says on July 5th that there

   24       were several complaints of overgrowth.

   25                  Let's talk really quickly about




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    1       complaints.

    2                  Do you know how the City catalogs

    3       complaints?

    4            A     They don't catalog complaints.

    5            Q     They don't catalog them?

    6            A     On each particular case there is -- when

    7       the case is opened they make a notation, but there

    8       is no separate catalog for them.

    9            Q     Okay.     How can somebody make a complaint

   10       about a property to City code enforcement?

   11            A     They come in a lot of different ways.        A

   12       lot of the time they're anonymous and they're left

   13       on the voice mail of the code enforcement officers.

   14            Q     Okay.

   15            A     Sometimes they're left with a name and

   16       telephone call for a call back.      Sometimes they just

   17       say "you need to come look at the property at," and

   18       they don't say anything else.

   19            Q     Okay.     I'm sorry if I'm interrupting you.

   20                  These are all various forms of a

   21       telephonic complaint?

   22            A     Right.

   23            Q     Is there any other way than by telephone

   24       that people complain?

   25            A     Yes.     They come into the office, the code




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    1       enforcement office, and they complain about

    2       properties or they will stop a code enforcement

    3       officer driving down the street and say "hey, look

    4       at this property," or they will complain to a city

    5       official.    They may talk to somebody in the water

    6       department, "can you have somebody in the code

    7       enforcement department look at this," or they may

    8       call the City Manager or they may call the

    9       Commissioner.

   10            Q      Can you send an email?

   11            A      They receive emails.

   12            Q      Okay.   Do you see code enforcement

   13       officers have their own private -- not private --

   14       official email addresses?

   15            A      Yes.

   16            Q      Can you submit a complaint directly to a

   17       code enforcement officer to their email address?

   18            A      I would think so, yes.

   19            Q      Is there an online portal; if I were to go

   20       to the City of Dunedin's web site, is there a way I

   21       can complain online about a property?

   22            A      There is now.

   23            Q      Okay.   When was that put in place?

   24            A      I think it was two years ago, and it was a

   25       direct result of people calling the Pinellas County




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     1       complaint line and then they would have to call up

     2       Dunedin's code enforcement staff and say "we've got

     3       this on our complaint line," even though it's not in

     4       Pinellas County, it's in your city, can you handle

     5       it?"

     6                  Code enforcement staff says, "Hey, that's

     7       a pretty smart idea, why don't we do that."

     8                  So, when they changed their software

     9       program, they added that as a component to allow

   10        people to complain through the City's web site.

   11               Q   So were people complaining through

   12        Pinellas County's web site and those were getting

   13        forwarded to --

   14               A   To city staff, yes.

   15               Q   Okay.    Do you know when two years ago that

   16        was put in place?

   17               A   When I talked to Joey DiPasqua about it

   18        last week because I wanted to confirm that, he

   19        didn't have a specific date.     He said they could

   20        find it, but it was approximately two years ago when

   21        the software program came up because they have been

   22        adding software components to their system.        They

   23        have been working on it for a number of years and

   24        that was one of the components that they added.

   25               Q   Can you ballpark it at all?




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     1            A     No.

     2            Q     Beginning of the year, end of the year?

     3            A     No.

     4            Q     Just about two years ago?

     5            A     Yeah.

     6            Q     Okay.   Now I'm looking at Page 1.

     7                  Do you see the section on the left-hand

     8       side where it says "Case Data"?

     9            A     Yes.

   10             Q     And it says there "1st inspection date,

   11        July 5, 2018;" is that right?

   12             A     Yes.

   13             Q     Okay.   What is the next line?

   14             A     "NOV comply by date."

   15             Q     Does "NOV" stand for notice of violation?

   16             A     Yes.

   17             Q     Okay.   And then below that it says "2nd

   18        inspection date;" is that right?

   19             A     Yes.

   20             Q     But then there is no date next to that.

   21                   What does that mean, "2nd inspection

   22        date"?

   23             A     So they sent out a notice of violation and

   24        then it says in the second line comply by this

   25        particular date.




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     1            Q     Okay.

     2            A     So they wait until that date goes by and

     3       then they go out and they inspect it again.        That's

     4       the second inspection date.

     5            Q     Okay.     So the "notice of violation, comply

     6       by date line," that indicates that a notice of

     7       violation was sent to the property owner?

     8            A     No.     That is a standard block that's in

     9       the software.      That is always there, and there was

   10        basically an opening where they can add stuff to it

   11        to the right.

   12             Q     Okay.

   13             A     So the add-ons are under the Thomas

   14        Colbert column.      If you follow down through, those

   15        three things look like he's added into the system.

   16             Q     Okay.

   17             A     The July 5th, 2018, to August 22nd, 2018,

   18        and his inspector phone number, 3190.

   19             Q     Okay.     On the fourth line of that case

   20        data, and I know the print is small, does it say

   21        "Date NOV signed/mailed"?

   22             A     Yes.

   23             Q     And that date is August 22nd, 2018?

   24             A     Yes.

   25             Q     Is my understanding correct that what that




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     1       line signifies is that a notice of violation was

     2       signed and mailed on August 22nd, 2018?

     3              A   Yes.

     4              Q   Is there anything in this case data log

     5       that indicates that a notice of violation was signed

     6       and mailed at any point before that date?

     7              A   No.

     8              Q   If a notice of violation had been signed

     9       and mailed before that date, would it have been

   10        logged here?

   11               A   Yes.

   12               Q   And, based on City practice at this time,

   13        there would not have been a door hanger on that

   14        property; is that correct?

   15               A   They spoke to Mr. Ficken.

   16               Q   That's not my question.

   17                   Based on the case data that we're looking

   18        at here, there would not have been a door hanger

   19        provided to Mr. Ficken?

   20               A   No, there was not a door hanger provided

   21        because of the fact they spoke directly to him.

   22               Q   Okay.   And when did they speak directly to

   23        him?

   24               A   I believe that was on July 5th.

   25               Q   Okay.   What is the basis for your belief




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     1       that they spoke to him on July 5th?

     2            A       I don't know.   I think it was just history

     3       of knowing the case.      The first contact they had

     4       with him when they did the inspection, that's when

     5       they had the first conversation with him.

     6            Q       Okay.   As a matter of course, are personal

     7       interactions logged in this case history format?

     8            A       I'm sorry.   What was your question?

     9            Q       This case history report, does this

   10        reflect the official history as far as the City is

   11        concerned of a specific code enforcement case or

   12        cases?

   13             A       This is this one case.   It includes, you

   14        know, the activity that was typed in by the code

   15        enforcement officer, but there is other parts of the

   16        file that go along with this, the photographs, the

   17        orders, the notices and so forth.

   18             Q       What are some things that are typically

   19        logged in?

   20                     I see there is case data here.

   21                     "1st inspection date, notice of violation

   22        compliance date, date notice of violation signed and

   23        mailed."

   24                     What are some other things that make their

   25        way into this case data column?




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     1            A     You know, there is no specific criteria.

     2       Every little case is different.      Whatever the code

     3       enforcement officer thinks is important in this

     4       particular case, he will type it in.

     5            Q     Okay.    Is the date of notice being

     6       provided to the owner something that is typically

     7       considered important by code enforcement staff?

     8            A     What do you mean, "the date of notice"?

     9            Q     Maybe I shouldn't use the word "notice."

   10             A     Okay.

   11             Q     Is the date on which a property owner was

   12        notified of an alleged violation something that's

   13        typically recorded by the City staff?

   14             A     Yes.    Typically.

   15             Q     Okay.    Is the recording of the date of

   16        notification something that's a component of

   17        demonstrating proper notice when in front of the

   18        Code Enforcement Board?

   19             A     No.

   20             Q     Do you have any reason to suspect that

   21        there were any interactions or notifications -- let

   22        me take those one by one.

   23                   Do you have any reason to believe that

   24        there were any notifications provided to Mr. Ficken

   25        that are not contained in this case data report?




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     1               A    Well, the notifications are the notices

     2       that are in the file that goes along with it.           I did

     3       not compare the notices in the file into the system.

     4       Whether or not the dates are accurate, all of the

     5       information in the file is the same that is in the

     6       case history report.       I did not compare that.      I

     7       mean, we can do that now if you would like.

     8               Q    No.

     9               A    Okay.

   10                Q    Do you have any reason to think that this

   11        is not a full and accurate portrait of the 2018 tall

   12        grass case?

   13                     MR. DAIGNEAULT:     Object to form.

   14                     THE DEPONENT:     It should all be here.

   15                     MR. BARGIL:     Okay.

   16                     THE DEPONENT:     Yeah.   It should be.

   17                     MR. BARGIL:     I'll ask the question again,

   18                though.

   19        BY MR. BARGIL:

   20                Q    Do you have any reason to think that this

   21        isn't a full and accurate depiction of the 2018

   22        case?

   23                A    No.

   24                Q    Okay.   Still looking at this document, as

   25        you read it, is it your understanding that the




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     1       property was brought into compliance around

     2       August 22nd, 2018?

     3               A   It says the grass was cut on August 21st,

     4       2018.

     5               Q   Okay.    And then on August 22nd, 2018, is

     6       when that notice of violation was signed and mailed?

     7               A   Yes.

     8               Q   So is it correct to say that that notice

     9       of violation was sent after the violation had

   10        already been remedied?

   11                A   Correct.

   12                Q   Is that City practice?

   13                A   It's allowed under state statute and the

   14        City's code because it's a repeat violation.

   15                Q   Okay.    My question, though, was, is it the

   16        City's practice to -- when dealing with a repeat

   17        violator, is it the City's practice to send the

   18        notice of violation after the repeat violation has

   19        been remedied?

   20                A   Is it their practice that they do that?

   21                Q   Yes.    That was my question.

   22                A   So I don't know if there is actually a

   23        practice one way or the other, but when you have a

   24        property that's been cited 15 times for basically

   25        the same violation, they're going to move it through




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     1       whatever is required under the code or the state

     2       statute, and that's what they did.

     3               Q    Okay.   My question wasn't exactly whether

     4       or not this complies with state law or city

     5       ordinances.     I think we can sort of come to an

     6       agreement on what the ordinance is and the statute

     7       says.

     8                    I'm asking specifically, though, about the

     9       sequence here and whether or not that's reflective

   10        of what the City generally does?

   11                     MR. DAIGNEAULT:     Object to form.

   12        BY MR. BARGIL:

   13                Q    Is it common -- we don't have to say the

   14        City's practice.      Is it common for the City when

   15        dealing with a repeat violator to send the notice of

   16        violation after the repeat violation has been

   17        remedied?

   18                     MR. DAIGNEAULT:     Object to form.

   19                     THE DEPONENT:     I've never done an analysis

   20                of that, but there aren't a lot of cases in

   21                Dunedin where we've had 15 violations against

   22                the same property owner.

   23        BY MR. BARGIL:

   24                Q    So when you're dealing with a property

   25        owner who has had, as you say, more violations, do




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     1       you sometimes in those instances wait for the

     2       violation to be remedied before providing a notice

     3       of violation?

     4            A      No.

     5            Q      Okay.   Because it seems like based on your

     6       testimony before you were saying well, we've never

     7       had somebody who really fit this description.        So,

     8       seemingly, that's your explanation for why it was

     9       done in this order.     I'm trying to get a sense for

   10        what the City's policy is, so maybe I'll just ask it

   11        this way.

   12                    Does the City have a policy on when a

   13        notice of violation is to be provided to someone who

   14        is an alleged repeat violator?

   15             A      The policy is to follow the code and

   16        follow the statute.     That's it.

   17             Q      Okay.   Does it matter at all to the City

   18        whether a person has been cited 1,000 times before

   19        or just the one violation that led to the repeat

   20        violator status?

   21             A      They're going to take it a little bit more

   22        serious trying to get compliance with someone who is

   23        a multiple repeat violator.

   24             Q      Okay.   Was Mr. Ficken a multiple repeat

   25        violator?




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     1            A     He is a repeat violator because of the

     2       fact that he was brought to the code board in 2015,

     3       but he's had 15 cases opened and closed since, I

     4       think, 2007.

     5            Q     Up until this case, the 2018 case, are you

     6       aware of whether Mr. Ficken was ever fined by the

     7       City of Dunedin for a code enforcement violation?

     8            A     I don't think that he was.

     9            Q     Okay.    But you mentioned that he had been

   10        cited before?

   11             A     Right.

   12             Q     In fact, you mentioned he had been cited a

   13        number of times?

   14             A     Fifteen.

   15             Q     Okay.

   16             A     On this property.

   17             Q     Do you know whether Mr. Colbert was aware

   18        of that?

   19             A     I did not talk to Tom about that in

   20        advance of this case being filed.

   21             Q     Okay.    But you mentioned before that as

   22        part of his due diligence and investigation he would

   23        have looked to see whether there were prior code

   24        violations; is that right?

   25             A     It's in the case history report of the




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     1       case that we're talking about.        He's saying in that

     2       case history two board orders -- I'm sorry.           I'm

     3       reading the wrong ones.

     4               Q    It's under "narrative."

     5               A    Yeah.     It says this is a repeat violation

     6       reference DCB15-116.        Case presented to the Code

     7       Enforcement Board on May 15, 2015."

     8                    So I know he was at least aware of that

     9       case.

   10                Q    Okay.     And he would have had to have been

   11        aware of that case, right, because -- is it correct

   12        to say that the statute would have required him to

   13        provide notice differently had Mr. Ficken not been

   14        classified as a repeat violator for purposes of this

   15        violation?

   16                A    A notice is not different.     The notice is

   17        exactly the same except in referencing initial

   18        violation or reference a repeat violation.

   19                Q    Right.

   20                     So if something -- let's pretend for a

   21        moment that Mr. Ficken had never been cited.           You

   22        said before that a code enforcement officer would

   23        maybe call him.

   24                     Do you know whether that happened here?

   25                A    No.     I don't know if he called him.




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     1            Q     But it doesn't say that he called him,

     2       right?

     3            A     No.

     4            Q     Okay.     You mentioned that nowadays there

     5       might be a door hanger placed on the property.

     6                  Do you know whether that happened here?

     7            A     We weren't using door hangers in 2018.

     8            Q     So is that a "no"?

     9            A     The answer is he did not get a door

   10        hanger.

   11             Q     Okay.     You mentioned that a business card

   12        might be left.

   13                   Do you know whether that happened here?

   14             A     I think they spoke to him directly.

   15             Q     Do you know whether or not a business card

   16        was left on Mr. Ficken's property when the violation

   17        was first noticed?

   18             A     It may have been handed to him.      I don't

   19        know for a fact, but they probably gave it to him

   20        for a phone number to call when it was in

   21        compliance.

   22             Q     Do you believe that he was handed a

   23        business card?

   24             A     No.     I said I don't know, but that would

   25        be the practice so that he would have a phone number




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     1       to call.

     2            Q     Okay.    If they had gone there and he

     3       wasn't there, would a business card have been left?

     4            A     Yes.

     5                  MR. DAIGNEAULT:    Object to form.

     6       BY MR. BARGIL:

     7            Q     Do you know whether there was an

     8       interaction between Mr. Colbert and Mr. Ficken other

     9       than the July 5th interaction that you testified you

   10        believe occurred?

   11             A     I'm not sure if it was Tom Colbert or Mike

   12        Kepto that had that direct conversation with him,

   13        but it was one of the two of them.

   14             Q     Okay.    Do you know what the substance of

   15        that conversation was?

   16             A     No.

   17             Q     Okay.

   18             A     Probably "you need to cut your grass, how

   19        long do you think it's going to take to cut your

   20        grass."

   21                   MR. DAIGNEAULT:    While you're looking at

   22             that, Tom, we'll step out.

   23                   MR. BARGIL:    Do you want to take a quick

   24             break?

   25                   MR. DAIGNEAULT:    Yes.




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     1                  (Whereupon, there was a break in the

     2            proceedings.)

     3       BY MR. BARGIL:

     4            Q     Mr. Trask, welcome back, although you

     5       never left.

     6                  You realize you're still under oath?

     7            A     Yes.

     8            Q     What I have just handed to you, will you

     9       take a look at that quickly, please.

   10             A     It's the Plaintiff's Complaint.

   11             Q     Okay.    I would like you to turn -- have

   12        you read this document?

   13             A     Yes.

   14             Q     I'd like you to turn to Page 14 of the

   15        Complaint, please.

   16                   I'd like you to take a look specifically

   17        at Paragraph 79.

   18                   Will you read that, please.

   19             A     I read it.

   20             Q     Okay.    Now, that says -- I meant for you

   21        to read it aloud.

   22                   "On August 20, Jim was outside his

   23        property when a code enforcement officer making his

   24        daily inspection finally spoke to Jim.       The officer

   25        advised him, for the first time, that he was 'going




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     1       to get a big bill from the City.'"

     2               A   Okay.

     3               Q   Do you have any reason to believe that

     4       that interaction didn't take place?

     5               A   I have no idea when the interaction took

     6       place.

     7               Q   Okay.    Assuming it's correct -- you don't

     8       have to agree with me, but, assuming that's correct,

     9       would that mean that the very next day Jim mowed his

   10        lawn?

   11                A   According to the report, the grass was cut

   12        on August 21, 2018.

   13                Q   Okay.    So, assuming that Paragraph 79 is

   14        correct, and you don't have to waive any denial you

   15        might want to make in response to that paragraph,

   16        but, just assuming for purposes of this Paragraph 79

   17        is correct, would that mean that the very next day

   18        after that interaction Jim mowed his grass?

   19                A   The grass was cut on August 21st, 2018.

   20                Q   So is that a "yes"?

   21                A   So the paragraph you're reading from

   22        referenced an August 20th date.

   23                Q   Right.

   24                A   So the grass was cut on August 21st.

   25                Q   Right.




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     1            A      Okay.

     2            Q      So that would mean that he cut his grass

     3       the day after he had this interaction with the City

     4       official; is that correct?

     5            A      He cut it on -- yes.     The answer is yes.

     6       We can play this game all afternoon, but it doesn't

     7       really matter.      He cut it on August 21st.

     8            Q      Okay.    Well, we can disagree on this.     I

     9       believe it does matter, so that's kind of why

   10        we're --

   11             A      It matters whether I say yes to your

   12        calculation of August 20th through August 21st is

   13        any different than me saying it happened on

   14        August 21st?

   15             Q      That's why I asked you a "yes" or "no"

   16        question.

   17             A      Okay.    All right.   All right.

   18             Q      And then on August 22nd, the day after

   19        that, the notice of violation was signed, correct?

   20             A      Yes.

   21             Q      Now, going back to the July 5th first

   22        inspection date.

   23                    What happens in terms of monitoring

   24        noncompliance after a violation is first observed?

   25             A      It depends on the case.     It could mean




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     1       that the code enforcement officer just goes out and

     2       does an inspection on his own.       Normally they wait

     3       for a phone call saying "we're in compliance, can

     4       you come take a look at it."

     5               Q   Okay.     If the person is unaware that

     6       they're in violation, that phone call will obviously

     7       never come, right?

     8               A   In this particular case Mr. Ficken was

     9       well aware of the fact that his grass was 10 inches

   10        tall and he's had 14 previous cases knowing that

   11        when it gets over 10 inches tall it was going to be

   12        in violation.

   13                Q   Okay.     So my question was, if a person is

   14        unaware that they're in violation, they're not going

   15        to call the City and ask for a compliance check; is

   16        that right?

   17                A   He's in violation.

   18                Q   My question -- listen to --

   19                A   You're asking me whether or not does he

   20        automatically know that he needs to call because of

   21        the fact that he let his grass grow over 10 inches

   22        tall?

   23                Q   No.     Please listen carefully.

   24                    So you mentioned one of the ways that

   25        somebody -- you mentioned that one of the things




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     1       that might happen after a violation is observed is

     2       that a person might call the City and say "please

     3       come and check and make sure I'm not still out of

     4       compliance."

     5                  I recognize that.

     6                  That presupposes that that person is aware

     7       that a violation has been noticed on their property.

     8                  My question to you is, in the event that

     9       they're actually not aware that there has been a

   10        violation noticed on their property, it's correct

   11        that they're not going to call the City; is that

   12        right?

   13                   MR. DAIGNEAULT:     Object to form.

   14                   THE DEPONENT:     They probably would not be

   15             calling the City.

   16        BY MR. BARGIL:

   17             Q     Okay.   What else besides sort of waiting

   18        for that phone call might a City code enforcement

   19        officer do?

   20             A     Drive by.

   21             Q     Okay.   Do they make periodic inspections

   22        to check for compliance or noncompliance?

   23             A     Sometimes.

   24             Q     Do they take photographs?

   25             A     Most of the time.




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     1               Q      Okay.   How often do they make those

     2       visits?

     3               A      It all depends on the case and how many

     4       complaints that they're getting.

     5               Q      So, if a house is getting a ton of

     6       complaints, they will do what?

     7               A      Pay more attention to it.

     8               Q      Okay.   Will they make additional efforts

     9       to engage the owner?

   10                A      More than likely.

   11                Q      Okay.   Would those be documented in the

   12        case history report?

   13                A      Usually.

   14                Q      Okay.   Do you know of instances when they

   15        wouldn't document in the case report?

   16                A      Not particularly.

   17                Q      Okay.   If they don't document it in the

   18        case report, if the code enforcement officer doesn't

   19        document it in the case report, would that be sort

   20        of a deviation from what they're supposed to do?

   21                A      They're not supposed to do anything.   This

   22        is for their benefit using the system.        They can do

   23        it all by memory or have it on a legal pad or have

   24        it in a notebook, however they want to present their

   25        case.       This is a tool in a tool chest to take




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     1       control of factual information.

     2            Q     When they go by and take photographs of

     3       the property, is the purpose of taking photographs

     4       of the property to chronicle the noncompliance for

     5       later use in a Code Enforcement Board hearing?

     6            A     Yes.

     7            Q     Is one of those things that they might

     8       do -- strike that.

     9                  We talked before about the four components

   10        that Code Enforcement Board takes into consideration

   11        under the City ordinances when assessing a fine; do

   12        you recall that?

   13             A     Yes.

   14             Q     And I think the fourth component was

   15        degree of cooperation and courtesy toward a code

   16        enforcement officer?

   17             A     It's the courtesy and cooperation a

   18        violator extends to the code enforcement officer.

   19             Q     Okay.   So do the code enforcement officers

   20        know that that's one of the things that the Code

   21        Enforcement Board will take into account when

   22        they're considering a fine?

   23             A     Yes.

   24             Q     Okay.   So it behooves them to include

   25        interactions with property owners when chronicling




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     1       what's gone on in the case, right?

     2                  MR. DAIGNEAULT:     Object to form.

     3                  THE DEPONENT:     The answer is "yes."    They

     4            include it for a lot of different reasons.

     5            Usually it's to help the property owner,

     6            letting the Code Enforcement Board know that

     7            they have been very cooperative, they have just

     8            had issues.    They couldn't get it done quickly

     9            enough.

   10        BY MR. BARGIL:

   11             Q     Okay.   I hate to keep going back to this,

   12        but I'm not sure we got to the bottom of it.

   13                   You mentioned earlier that on July 5th

   14        or -- is it your testimony that on July 5th somebody

   15        from the City had a conversation with Mr. Ficken at

   16        his property?

   17             A     Now that we're showing over here, what I

   18        thought happened on July 5th probably happened on

   19        August 20th if that was the date.

   20             Q     Okay.   So that would have been roughly a

   21        month and a half between the date the violation was

   22        noticed and when somebody told Mr. Ficken that he

   23        was dealing with a potential code enforcement

   24        matter?

   25             A     Yeah.   It's the dates between July 5th and




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     1       August 22nd.

     2            Q       Okay.    Is one of the reasons why that

     3       period of time elapsed because Mr. Ficken had been

     4       the recipient of previous code violations?

     5            A       He was a repeat violator, so they brought

     6       it forward as a repeat violation.

     7            Q       Okay.    So under the statute there is no

     8       requirement that he be notified any sooner than

     9       that; is that right?

   10             A       There is no requirement as to a time

   11        frame.     If you look at Florida Statute 162.09, it

   12        doesn't say a specific time frame.

   13             Q       Okay.    Let's actually look at a different

   14        provision of 162.

   15                     This will be Number 5.

   16                     I'd like you to take a look at or actually

   17        why don't you tell me what I just put in front of

   18        you, Mr. Trask.

   19             A       I got it.    I'm ready.

   20             Q       Okay.    Is this Chapter 162.06 --

   21             A       It is.

   22             Q       -- of Florida Statutes?

   23             A       Yes.

   24             Q       And this references the enforcement

   25        procedure?




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     1            A      Yes.

     2            Q      Okay.    I'd like to direct your attention

     3       to (3).

     4            A      Right.

     5            Q      Under 162.06 am I correct in my reading

     6       that it says "If a repeat violation is found, the

     7       code inspector shall notify the violator but is not

     8       required to give the violator a reasonable time to

     9       correct the violation"?

   10             A      Correct.

   11             Q      So, for practical purposes, does that mean

   12        that -- well, what does that mean for practical

   13        purposes?

   14                    MR. DAIGNEAULT:     Object to form.

   15                    THE DEPONENT:     It means that it's going to

   16             move forward as a code enforcement case versus

   17             a compliance/noncompliance issue where the code

   18             enforcement staff says, okay, you're in

   19             compliance now and there is no need to move the

   20             case any further.

   21        BY MR. BARGIL:

   22             Q      Okay.    This first sentence of (3), does

   23        that make treatment as a repeat violation a little

   24        bit different legally from how the City must treat

   25        non-repeat violations?




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     1                    MR. DAIGNEAULT:     Object to form.

     2                    THE DEPONENT:     No.   They're treated

     3            exactly the same.       Notice is given the same

     4            way, they have the same Code Enforcement Board

     5            hearing, they have the same opportunity to

     6            testify and present evidence.         It's exactly the

     7            same.

     8       BY MR. BARGIL:

     9            Q       Okay.    But the City is not required after

   10        having found a violation to then give additional

   11        time to comply?

   12             A       Right.    That's in relation to Paragraph 2

   13        which is above which shows on an initial violation

   14        it specifically says the code inspector shall notify

   15        the violator and give him or her a reasonable period

   16        of time to correct the violation."

   17                     So that's just a follow up.      When its a

   18        repeat, there is no necessity to give a reasonable

   19        time to correct the violation.

   20             Q       Okay.    As you read 162.06 (3), is your

   21        reading of that, that the City is not obligated to

   22        provide any notice until after the violation has

   23        been corrected?

   24             A       That's not what that says.

   25                     MR. DAIGNEAULT:     Object to form.




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     1       BY MR. BARGIL:

     2               Q    Okay.   So you disagree with that reading?

     3               A    That's not what it says.

     4               Q    Okay.   In terms of sequencing, what should

     5       happen when?

     6                    MR. DAIGNEAULT:     Object to form.

     7                    MR. BARGIL:     That's a horrible question.

     8               I'm sorry.

     9       BY MR. BARGIL:

   10                Q    We can agree that it says if a repeat

   11        violation is found the code inspector shall notify

   12        the violator?

   13                A    Correct.

   14                Q    Okay.   Can we also agree that it doesn't

   15        say specifically when that notification must come?

   16                A    Yeah.   I answered the question before.

   17        There is no specific time frame when it needs to be

   18        done.

   19                Q    Okay.   Would you read in like a

   20        reasonableness requirement into that?

   21                     MR. DAIGNEAULT:     Object to form.

   22                     THE DEPONENT:     No.   I wouldn't read

   23                anything into that statute.

   24        BY MR. BARGIL:

   25                Q    Could a code inspector identify a




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     1       violation on a property which was a repeat violation

     2       and then wait three years to notify the violator --

     3                    MR. DAIGNEAULT:     Object to form.

     4       BY MR. BARGIL:

     5               Q    -- and still be compliant with the

     6       statute?

     7               A    I think in theory, yes.     We would never do

     8       that.

     9               Q    Okay.   Why would you not do that?

   10                A    Because the case would not be as strong in

   11        my mind because of the fact that witnesses forget

   12        things, photographs are lost, neighbors have moved,

   13        anyone that is going to be a potential witness maybe

   14        had forgotten all about it.

   15                Q    Okay.   What's the longest amount of time

   16        you think should elapse between the time the

   17        violation is observed and notification is provided

   18        to the property owner?

   19                     MR. DAIGNEAULT:     Object to form.

   20                     Go ahead.

   21                     THE DEPONENT:     I've never been asked that

   22                question before, but I would think that maybe

   23                six months or a year.

   24        BY MR. BARGIL:

   25                Q    Okay.   In that period of time, if the




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     1       violation isn't corrected, that person would owe

     2       daily fines for that six months to a year?

     3            A     Not necessarily.

     4            Q     Why not necessarily?

     5            A     Because the Code Enforcement Board makes

     6       that decision.

     7            Q     Well, I'm asking if the violation isn't

     8       corrected in that period.

     9                  It's been observed, it isn't correct, six

   10        months goes by, code enforcement staff walks into

   11        the Code Enforcement Board hearing and says "this

   12        hasn't been fixed for six months, here are all the

   13        photos, the grass is clearly over 10 inches."

   14             A     Right.

   15             Q     What's the most likely outcome there?

   16                   MR. DAIGNEAULT:     Object to form.

   17                   THE DEPONENT:     So the Code Enforcement

   18             Board can render a fine up to $500 a day if

   19             it's not irreversible and irreparable.         It

   20             could be more after that.      They can start the

   21             fine at any particular time all the way back to

   22             the date of the initial inspection.         There is

   23             no legal requirement for them to start any time

   24             frame.

   25                   MR. BARGIL:     Sure.




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     1       BY MR. BARGIL:

     2            Q     Would that be fair to do?

     3                  MR. DAIGNEAULT:     Object to form.

     4                  THE DEPONENT:     What would be fair to do?

     5       BY MR. BARGIL:

     6            Q     We're looking at the statute and there are

     7       black and white legal questions and there are some

     8       other questions he might ask you.

     9                  Do you think it's the right way to treat a

   10        citizen in your town if they have been recognized as

   11        a repeat violator to not provide them notification

   12        for six to 12 months and then for them to be facing

   13        daily fines for that entire period of time; is that

   14        something that you think is the right way to treat a

   15        person?

   16                   MR. DAIGNEAULT:     Object to form.

   17                   THE DEPONENT:     First of all, if the person

   18             does not have the care and concern about

   19             bringing his own property into compliance, you

   20             know, that's one of the things that we need to

   21             take into consideration.

   22                   You're taking this position that, you

   23             know, the individual is entitled to more

   24             benefit just because of the fact that he or she

   25             is a resident, but the way that is looked at,




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     1            if it's a code violation, is he is treated or

     2            she is treated as a code violator.       So they

     3            need to be treated how the statute provides and

     4            how the code provides, and that's what the City

     5            would do.

     6       BY MR. BARGIL:

     7            Q     Okay.   And the City takes into account how

     8       many previous violations a person has had, not just

     9       repeat violations, but citations; does the City take

   10        into account citations that resulted in nothing?

   11             A     Are you talking about the Code Enforcement

   12        Board?

   13             Q     Yeah.

   14             A     So the Code Enforcement Board will take

   15        into consideration anything that has been testified

   16        to under oath.

   17             Q     What about the code enforcement officer;

   18        he's on a property, he's thinking to himself I've

   19        been to this property 10 times, I can knock on the

   20        door and tell them right now your grass is tall

   21        again or I can note it, walk away, come back a few

   22        more times and then give him a notice of violation

   23        and at that point he's more likely to owe more

   24        money, maybe he will pay attention; is that a

   25        thought process that might occur to a code




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     1       enforcement staff?

     2                  MR. DAIGNEAULT:     Object to form.

     3                  THE DEPONENT:     Code enforcement staff is

     4            going to handle each case individually, and if

     5            they believe that the property is going to be

     6            brought into compliance without the need to go

     7            to the Code Enforcement Board, then they may

     8            just chalk it up to, you know, it's going to

     9            remain in compliance, I don't have to worry

   10             about it anymore.

   11                   So factually they look at each one

   12             differently.     If it is a multiple repeat

   13             violator, they're going to give it a lot more

   14             attention because obviously -- for example, in

   15             this case the first 13 or 14 cases didn't get

   16             Mr. Ficken's attention to make sure his grass

   17             was cut.     Maybe the 15th time it will get his

   18             attention.

   19        BY MR. BARGIL:

   20             Q     Is that the reason why there was this, you

   21        know, roughly six-week period of time between the

   22        notification being given to Mr. Ficken and the

   23        observation evaluation?

   24             A     I'm not sure of the reason why there was

   25        that time frame in between.      I did not talk to Tom




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     1       Colbert, he's retired now, about that particular

     2       issue.     So I don't know.

     3            Q       Okay.

     4            A       There is nothing in the case report.

     5            Q       Okay.   How long had you worked with Tom

     6       Colbert for before he retired?

     7            A       Four or five years, maybe.

     8            Q       Long enough to get to know somebody

     9       decently; you're sitting at every Code Enforcement

   10        Board hearing, right?

   11                     MR. DAIGNEAULT:     Object to form.

   12                     THE DEPONENT:     Yeah, but that's basically

   13             the only time I would see him.

   14        BY MR. BARGIL:

   15             Q       Well, did you get to know his professional

   16        habits?

   17             A       Yes.

   18             Q       Was this -- when I say "this," was it part

   19        of his professional habits that when dealing with

   20        repeat violators who were continually running afoul

   21        of City ordinances to kind of wait a little bit on

   22        providing notice for repeat violations?

   23                     MR. DAIGNEAULT:     Object to form.

   24                     THE DEPONENT:     No.

   25




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     1       BY MR. BARGIL:

     2            Q     Is that something that any code

     3       enforcement staff does?

     4            A     No.

     5            Q     It wouldn't be illegal for them to do

     6       that, would it?

     7                  MR. DAIGNEAULT:     Object to form.

     8                  THE DEPONENT:     It would not be illegal to

     9            do that as long as they complied with the code

   10             and the statute.

   11        BY MR. BARGIL:

   12             Q     Okay.    Let's take a different

   13        hypothetical.

   14                   If a car has a missing tag, for example,

   15        that might not be something that's so immediately

   16        obvious to a property owner, but maybe a complaint

   17        is called in and somebody goes down and realizes

   18        that the tag is gone or the registration is expired.

   19                   That would run afoul of the City

   20        ordinance, right?

   21             A     Yes.

   22             Q     Okay.    And if a person doesn't know

   23        because maybe they don't drive that car too

   24        frequently or for any other reason, the fines will

   25        obviously be greater when eventually that violation




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     1       is remedied; is that right?

     2                  MR. DAIGNEAULT:     Object to form.

     3                  THE DEPONENT:     I don't understand the

     4            question.

     5                  The bottom line is, if your tag expires,

     6            it's considered an out vehicle in the City of

     7            Dunedin.    If you don't know when your birthday

     8            is when you need to renew your registrations, I

     9            can't see how you can, you know, complain to

   10             the City that, you know, that you don't know

   11             when your tag expires.

   12                   MR. BARGIL:     Fair enough.

   13                   THE DEPONENT:     Okay.

   14                   MR. BARGIL:     Fair enough.

   15        BY MR. BARGIL:

   16             Q     So it's kind of like hey, this is the law

   17        and if this is the second time or more that we're

   18        having to deal with this with you, then it's on you?

   19                   MR. DAIGNEAULT:     Object to form.

   20                   THE DEPONENT:     That's the way the statute

   21             was created back in the 80's and the same with

   22             the City's code section.

   23                   MR. BARGIL:     I see.

   24        BY MR. BARGIL:

   25             Q     When code enforcement officers are making




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     1       repeat visits or periodic visits to check for

     2       continued noncompliance on a property of a repeat

     3       violator, are they required to do anything other

     4       than photograph the property?

     5            A       No.

     6            Q       Should they do anything other than

     7       photograph the property?

     8                    MR. DAIGNEAULT:     Object to form.

     9                    THE DEPONENT:     It all depends on the type

   10             of the violation that is occurring.

   11        BY MR. BARGIL:

   12             Q       How so?

   13             A       So, for example, they cited a property for

   14        having an open pool and there is a gate that has

   15        been broken and the middle school is 100 feet away.

   16        When they go back for the second inspection, the

   17        gate is not up.        You're asking me would they do

   18        anything else.       More than likely they would go into

   19        that backyard and they would fix that fence or they

   20        would call City staff out there to take a screw gun

   21        and some plywood and close off that opening.

   22             Q       Sure.     Because that's a pretty big deal,

   23        obviously.

   24             A       They're all big deals.

   25             Q       Well, I mean, your testimony a moment ago




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     1       is the action of the code enforcement officers

     2       depends on what type of case it is.

     3            A       Right.

     4            Q       So your explanation, which I thought was

     5       pretty good, was some of these things are more

     6       important than others; is that fair?

     7            A       Some are life safety issues.    So, if

     8       you're talking about the actions of the code

     9       enforcement officer, he may be doing something

   10        physically on the property, like my example about

   11        fixing the gate, or he may not do anything physical

   12        on the property other than knock on the door, talk

   13        to the property owner or the tenant or he may not do

   14        anything.     He may just take a photograph and go back

   15        to the office and enter it into the system.

   16             Q       In that life-safety instance that you

   17        described, which I thought was pretty powerful,

   18        would it be appropriate for him or her to just

   19        photograph it and go on their way?

   20             A       Sometimes they do.   I would say that for

   21        the female code enforcement officer that we have

   22        we're a lot more careful because it's very

   23        dangerous.     That's why she does a Google Earth

   24        search of the property in advance so we know how she

   25        can enter and exit the property safely.




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     1            Q       You're saying the concerns for her are

     2       specifically because she's a woman?

     3            A       Yes.     I think that, you know, for a

     4       retired police officer it's a little bit different

     5       than a female code enforcement officer.

     6            Q       Okay.

     7            A       They may do things differently depending

     8       upon the code enforcement officer and the security

     9       or the dangerousness of the situation out there.

   10             Q       Okay.     Let's pretend for a second that

   11        we're talking about a code enforcement officer who

   12        is a retired police officer --

   13             A       Okay.

   14             Q       -- and former special forces.     It's Chuck

   15        Norris.    That's going to be our code enforcement

   16        officer.     Okay.

   17                     He gets to the property and he sees that

   18        open gate.     Totally reasonable, in your opinion, for

   19        him to put plywood over that gate so that no kid

   20        from the middle school wanders into that backyard

   21        and goes into that pool?

   22             A       Right.

   23             Q       Okay.     And that's because this is a

   24        life-safety issue, correct?

   25             A       Right.




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     1            Q     Okay.   That same code enforcement officer

     2       might see tall grass and only photograph it without

     3       pulling out a lawnmower and mowing the lawn or

     4       taking some sort of remedial action; is that right?

     5            A     Code enforcement officers don't cut grass.

     6            Q     Okay.   But, in any event, they wouldn't

     7       necessarily do much more than take a photograph; is

     8       that right?

     9            A     They would go to the door, talk to the

   10        owner or the tenant asking them when they're going

   11        to cut their grass.

   12             Q     Okay.   So, every time that a periodic

   13        inspection is made, is that accompanied with a visit

   14        to the door?

   15             A     The idea for code enforcement is

   16        compliance, so if they have the opportunity --

   17             Q     I hate to cut you off.

   18                   The question is, any time a periodic

   19        inspection is made when you're checking for

   20        continued noncompliance, is that always accompanied

   21        by a visit to the door to say "hey, when are you

   22        going to get this fixed"?

   23             A     And I was trying to answer the question.

   24                   MR. DAIGNEAULT:    Yeah.   You need to let

   25             him answer the question.     You may not like the




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     1            form it's taking, but you need to let him

     2            answer the question, please.

     3                  MR. BARGIL:     Okay.

     4                  THE DEPONENT:     Code enforcement is all

     5            about compliance, so I would say the majority

     6            of the time a code enforcement officer will go

     7            to the door or try to make contact to get

     8            compliance.   So I don't have a specific answer

     9            as to -- do they do it all the time, no.        Maybe

   10             it's raining, you know.       I don't know.

   11                   What we're seeking to obtain is

   12             compliance, so it doesn't do us any good to

   13             take a photograph and move on.       What we want to

   14             do is to get the grass cut so that the nextdoor

   15             neighbor is not calling the Mayor and the City

   16             Manager or standing up in front of the City

   17             Commission on Thursday night complaining about

   18             high grass.   That's what we're really trying to

   19             do is to get compliance.

   20                   MR. BARGIL:     Sure.   I understand all that.

   21        BY MR. BARGIL:

   22             Q     Tell me if I'm misunderstanding your

   23        testimony, but it sounds like, you know, what the

   24        City code enforcement staff ultimately decides to do

   25        upon revisiting a property that's still in




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     1       violation -- these are your words -- that depends

     2       largely on what the violation is.

     3                    I guess my question is, are there degrees

     4       of severity where at one end you have an open gate

     5       by a pool, someone needs to do something about this

     6       immediately, and then at the other end you have

     7       violations that are not at all life threatening and

     8       not all that important and don't require immediate

     9       action in order to save lives?

   10                A    That was not a question, Ari.      That was a

   11        statement.     So what's the question?

   12                Q    The question is, are the decisions of code

   13        enforcement staff driven largely by the severity of

   14        the alleged repeat violation?

   15                A    No.   I think that it's compliance.     So

   16        they're going to try to make contact no matter how

   17        bad it is.     Just what is the next step that they're

   18        going to go to after that contact.       Do they need to

   19        fix that gate, do they need to cover that pool, do

   20        they need to cover a window that's been broken, you

   21        know.

   22                Q    All right.   Hang on one second.

   23                A    Uh-huh.   (Indicates affirmatively).

   24                Q    This is probably our last document before

   25        we break for lunch.




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     1            A     Okay.

     2            Q     Mr. Trask, why don't you say for the

     3       record what I just placed in front of you.

     4            A     This appears to be a minutes of the Code

     5       Enforcement Board meeting for the regular meeting of

     6       Tuesday, September 4th, 2018.

     7            Q     Okay.

     8            A     They're unsigned.

     9            Q     Okay.

   10             A     And they're in draft form.

   11             Q     They say "draft."

   12                   If I were to represent to you that I

   13        pulled these off of the City's official web site

   14        after clicking "meeting minutes for September 4th,"

   15        would you have any reason to believe that I'm being

   16        untruthful?

   17             A     No.     You know, I would say to you I

   18        understand that, but when it came to the Code

   19        Enforcement Board meeting that followed in October,

   20        it was adopted.      If there were any changes, they

   21        would have made them right then and there.

   22             Q     Okay.

   23             A     They fairly infrequently make any changes

   24        to their minutes.

   25                   MR. BARGIL:     Why don't we, if we can,




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     1            stipulate that these are accurate for purposes

     2            of our discussion and if there were any changes

     3            made to these meeting minutes we can address

     4            that as needed after the fact.

     5                  THE DEPONENT:     Why don't we use them as

     6            "draft" and we can agree on it being a draft

     7            and it's in agreement and you make the

     8            comparison and it being accurate, then there is

     9            no issue, right?

   10                   MR. BARGIL:     I was actually directing that

   11             to your attorney.

   12                   THE DEPONENT:     Oh.   Sorry.

   13                   MR. DAIGNEAULT:     Tom and I worked together

   14             for a long time.      I'm fine with the stipulation

   15             that it be a draft and if there are any

   16             differences we can address it at a later time.

   17                   MR. BARGIL:     Okay.

   18                   MR. DAIGNEAULT:     You pulled them off the

   19             web site as drafted minutes.       They need to be

   20             stipulated to as draft minutes.        I mean,

   21             they're a watermarked draft.

   22                   MR. BARGIL:     They're watermarked with

   23             draft.

   24                   THE DEPONENT:     What page do you want me to

   25             turn to?




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     1       BY MR. BARGIL:

     2            Q     I would like you to turn to page -- these

     3       are not paginated.     I would like you to turn to

     4       Item 16.   I believe it's under "Old Business."

     5            A     Okay.

     6            Q     Item 16.

     7            A     Okay.

     8            Q     Item 16 refers to what, sir?

     9            A     Item 16 is Dunedin Code Enforcement Board

   10        Agenda Item or Case 18-858, City versus Suncoast

   11        First Trust.

   12             Q     Okay.    Now, is 18-858 the code enforcement

   13        matter that's at issue in this case?

   14             A     It's one of them.

   15             Q     Right.

   16                   For purposes of specificity, there was in

   17        fact a second one.

   18                   That's also at issue; is that correct?

   19             A     There are many cases that Mr. Ficken has

   20        against him.

   21             Q     Okay.    Well, this lawsuit doesn't involve

   22        any of those except for the fine for tall grass that

   23        resulted from the investigations conducted in the

   24        summer of 2018.

   25                   So my question is specific to those.




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     1                   MR. DAIGNEAULT:     I respectfully disagree,

     2            but I understand what you're saying.

     3                   What's your question?

     4       BY MR. BARGIL:

     5            Q      The question is, can we agree that this is

     6       the tall grass case?

     7            A      It is the tall grass case that was filed

     8       in 2018.

     9            Q      Okay.     And there were two tall grass cases

   10        in '18 that resulted in fines for Mr. Ficken; is

   11        that right?

   12             A      Yes.

   13             Q      And I don't know if there was a second

   14        case number that was generated, I believe there was,

   15        to refer to the second 10-day violation.

   16             A      It's the same case.

   17             Q      Okay.

   18             A      Two motions.

   19             Q      There were two motions and two orders, but

   20        one case?

   21             A      That's my recollection, yes.

   22             Q      Now, on the following page -- it starts at

   23        the very, very bottom.       We're looking at what would

   24        be the page right after where Item 16 begins.

   25             A      Got it.




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     1            Q       Do you see, I guess, four lines down

     2       "Mr. Colbert viewed case DCEB 18-858"?

     3            A       Yes.

     4            Q       I want you to look at the third bullet

     5       point under that.

     6                    Can you read that aloud, please.

     7            A       It says, "The property was inspected on

     8       July 5, 2018, and observed the repeat violation and

     9       a notice of repeat violation was sent to the owner."

   10             Q       Okay.   Now.    In reading that -- we've

   11        obviously gone over the case history report -- is

   12        your understanding of the passage you just read that

   13        the notice of repeat violation that was sent to the

   14        owner is a reference to the August 22, 2018, notice

   15        of violation?

   16                     MR. DAIGNEAULT:     Object to form.

   17                     THE DEPONENT:     It doesn't reference a

   18             date.

   19                     MR. BARGIL:     Right.

   20                     THE DEPONENT:     If you're asking me whether

   21             or not I think that the notice of repeat

   22             violation was sent to the owner on that third

   23             bullet point is the same thing that's referred

   24             to in the case history report as taking place

   25             on August 22nd, 2018, the answer is yes.




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     1                    MR. BARGIL:     Okay.     That was my question.

     2       BY MR. BARGIL:

     3            Q       Skipping down now to the first full

     4       paragraph after all those bullet points, I'd like to

     5       direct your attention to the second sentence in that

     6       paragraph.

     7                    Can you read that aloud?

     8            A       "He also submitted into evidence three

     9       letters from the property owner received" --

   10             Q       I'm sorry.    I said second sentence.

   11                     MR. DAIGNEAULT:     He wants you to start

   12             here, I think.

   13                     THE DEPONENT:     Okay.     So the second

   14             sentence says, "He submitted paragraphs taken

   15             July 5, 12, 17, 19 and 25, 2018; August 1, 3,

   16             8, 14, 16 and 20, 2018."

   17        BY MR. BARGIL:

   18             Q       Okay.   Now, it doesn't say this, but do

   19        you take that to mean that he visited the property

   20        personally on all of those dates?

   21             A       Somebody did.

   22             Q       Could it have been someone else?

   23             A       Yes.

   24             Q       Who could it have been?

   25             A       Mr. Kepto or Ms. Gilbert.




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     1            Q     Okay.   Ms. Gilbert was working for the

     2       town at this time?

     3            A     Yes.

     4            Q     Okay.   You mentioned earlier, though, that

     5       they typically keep to their same sort of beats, so

     6       it would have been out of the ordinary for anyone

     7       other than Mr. Colbert to have made those visits?

     8                  MR. DAIGNEAULT:     Object to form.

     9                  THE DEPONENT:     I know that in the past

   10             when Mike was on vacation or Tom was on

   11             vacation they would be gone for, whatever, 10

   12             or 14 days and that their cases just can't sit

   13             idle during that period of time, so somebody

   14             has to step up.

   15                   So I'm not sure if that happened in this

   16             particular case, but it's not out of the

   17             ordinary for one to cover the other if the

   18             other is either sick or absent or Family

   19             Medical Leave or on vacation.

   20        BY MR. BARGIL:

   21             Q     But vacations and sicknesses are things

   22        that aren't happening all the time, obviously,

   23        right?

   24             A     Vacations happen all the time.

   25             Q     Okay.   I'll ask you this.




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     1                    Do you think it's more likely than not

     2       that Mr. Colbert was the person who visited the

     3       property on those dates?

     4                    MR. DAIGNEAULT:        Object to form.

     5                    THE DEPONENT:        I don't know.     We can

     6            depose Mr. Colbert and find out.

     7                    MR. BARGIL:     Okay.        Well, we might do

     8            that.

     9                    THE DEPONENT:        Okay.

   10                     MR. BARGIL:     In the meantime I'm asking

   11             you what you think.

   12                     THE DEPONENT:        I don't know.

   13        BY MR. BARGIL:

   14             Q       Okay.     Do you have any memory of

   15        Mr. Colbert's vacation or Family Medical Leave

   16        during the summer of 2018?

   17             A       No.     I'm sorry.     I don't.

   18             Q       Okay.     Do you know whether there were any

   19        attempts to contact Mr. Ficken by knocking on his

   20        door on any of these dates listed?

   21             A       It may say so in the narrative here.

   22             Q       Why don't you check.

   23             A       So the minutes don't necessarily reflect

   24        any particular contact with Mr. Ficken other than

   25        after the property was brought into compliance.               It




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     1       looks like they spoke to him August 24th.

     2            Q      Where do you see the reference to

     3       August 24th?

     4            A      Up in the bullet points.

     5                   "The property owner came into the City's

     6       office on Friday, August 24th."

     7            Q      Yeah.

     8            A      But, according to your Complaint, there

     9       was a conversation on August 20th.

   10             Q      Right.

   11                    In fact, let's look at that final bullet

   12        point.

   13             A      Okay.

   14             Q      It says, "He believes on August 20th he

   15        was driving by the property."

   16                    The "he" in that sentence, do you

   17        understand that to refer to Mr. Colbert?

   18             A      Yes.

   19             Q      It's a little choppy there, but that's my

   20        reading as well.

   21             A      Yeah.

   22             Q      "He indicated his lawnmower was not

   23        working."

   24                    In that section is that a reference to

   25        Mr. Ficken?




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     1            A     Yes.

     2            Q     And he said "in two days it will be cut."

     3                  Is that a fair reading?

     4            A     That's what Colbert testified to according

     5       to these minutes.

     6            Q     Okay.    Is there any testimony here, as far

     7       as you can tell, where Mr. Colbert testified that he

     8       had had any interaction with Mr. Ficken before that

     9       August 20th date?

   10             A     There is nothing in the minutes.

   11             Q     Okay.    Would that have been valuable to

   12        include?

   13                   MR. DAIGNEAULT:     Object to form.

   14                   THE DEPONENT:     I think that it should be

   15             included if he's had conversations with the

   16             property owner.

   17                   MR. BARGIL:     Okay.   Can we take like a

   18             two-minute break and I'll confer briefly with

   19             Andrew and then maybe we'll break for lunch?

   20                   MR. DAIGNEAULT:     Of course.

   21                   (Whereupon, there was a break in the

   22             proceedings.)

   23                   MR. BARGIL:     I think we're good to take a

   24             break and then we'll get to the rest of the

   25             stuff after lunch.




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     1                  MR. DAIGNEAULT:     All right.

     2                  MR. BARGIL:     It's a good stopping point.

     3                  MR. DAIGNEAULT:     All right.

     4                  (Whereupon, there was a lunch recess

     5            taken.)

     6                  (End of Volume I)

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       a 1:12,13,15,16,17     45:19,23 46:1,2,8   82:22,22 83:6,8      112:23 113:1,7,9      146:21,23 147:4,8
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         9:16,19,20 10:6,8    53:10,10,10,12,16   87:15,18,18,19,20    118:5,7,10,13,16    Abargil@ij.org
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         14:3,6,6,7,8,10,12   56:11,16 57:8,10    89:6,11,14,14,19     119:17,22,23        abatement 26:5
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION
                           CASE NO.: 8:19-cv-01210
                       STATE CT. CASE NO.: 19-003181-CI

           - - - - - - - - -               --X -
           JAMES FICKEN, trustee,            :
           SUNCOAST FIRST TRUST; and         :
           SUNCOAST FIRST TRUST,             :
                                             :
                          Plaintiffs,        :
           vs.                               :
                                             :
           CITY OF DUNEDIN, FLORIDA;         :
           DUNEDIN CODE ENFORCEMENT BOARD;   :
           MICHAEL BOWMAN, in his official   :
           capacity as Code Enforcement      :
           Board Chairman; LOWELL SUPLICKI, :
           in his official capacity as Code :
           Enforcement Board Vice-Chair;     :
           ARLENE GRAHAM, in her official    :
           capacity as a member of the Code :
           Enforcement Board; KEN CARSON, in :
           his official capacity as a member :
           of the Code Enforcement Board;    :
           WILLIAM MOTLEY, in his official   :
           capacity as a member of the Code :
           Enforcement Board; DAVE PAULEY,   :
           in his official capacity as a     :
           member of the Code Enforcement    :
           Board; and BUNNY DUTTON, in her   :
           official capacity as a member of :
           the Code Enforcement Board,       :
                                             :
                          Defendants.        :
           - - - - - - - - - - - -X

                 DEPOSITION OF:           THOMAS J. TRASK, B.C.S.
                 DATE:                    January 13, 2020
                 TIME:                    9:00 a.m. to 3:20 p.m.
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     1            PLACE:                  1001 S. Fort Harrison Ave.
                                          Suite 201
     2                                    Clearwater, Florida
     3
                  PURSUANT TO:            Notice by counsel for
     4                                    Plaintiff for purposes
                                          of discovery, use at trial
     5                                    or such other purposes as
                                          are permitted under the
     6                                    Florida Rules of Civil
                                          Procedure
     7
     8            BEFORE:                 KATHERINE A. LYLE
                                          Notary Public, State of
    9                                     Florida at Large
   10
   11                               * * * * *
   12
   13        APPEARANCES:
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     1                       CONTD. DIRECT EXAMINATION

     2       BY MR. BARGIL:

     3            Q       I believe before we broke we were looking

     4       at the minutes from the September 4th, 2018, Code

     5       Enforcement Board meeting.

     6            A       Right.

     7            Q       I'd like to return to that, if we can.      If

     8       you're still where we were before we broke, go to

     9       the following page.

   10                     Do you see where it says "motion" about

   11        five lines from the bottom or top.      I'm sorry.

   12             A       Yes.

   13             Q       Underneath the motion there is a line

   14        there that says "Vice-Chair Suplicki noted in the

   15        case of a repeat violation there is not opportunity

   16        for consideration of a fine reduction through the

   17        Code Enforcement Board."

   18                     Do you see that line?

   19             A       Yes.

   20             Q       What is the origin of that policy?

   21             A       It's not a policy.   It's a Rule of

   22        Procedure.     It Rule 5, Section 4 of the Code

   23        Enforcement Board Rule of Procedures.

   24             Q       Do you recall offhand what that Rule of

   25        Procedure says?




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     1            A     It says, "After a fine has been opposed by

     2       the Board and within 30 days after the violation is

     3       brought into compliance, a violator may petition for

     4       reconsideration of a fine.     The petition must be in

     5       writing signed by the violator and include a copy of

     6       the affidavit of compliance executed by the code

     7       officer.   The Petition must include conclusive

     8       evidence showing extreme or undue hardship in the

     9       payment of the fine or preventing the violator from

   10        coming into compliance within the time period

   11        established by the Board's order.      The Board Clerk

   12        shall schedule the petition to be considered.        The

   13        City may present, in written form, a response to the

   14        petition for reduction of fine.      The Board shall

   15        make its determination based solely upon the written

   16        petition and the City's written response" --

   17             Q     Can I interrupt you?

   18             A     Yeah.

   19             Q     Sorry to do that.    Because I do have this

   20        printed, I want to enter it in and I really only

   21        want to focus on one section.

   22             A     Okay.   I was going to get to the part

   23        where it talks about no opportunity for

   24        consideration or reduction of a fine.

   25             Q     Can we do that in one second?




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     1            A      Okay.

     2            Q      I'm sorry I've done this out of order.

     3                   Let's mark this.

     4                   I strongly suspect it's precisely the same

     5       document that we were just looking at.

     6                   MR. DAIGNEAULT:     Is this the one you

     7            pulled off the City's web site?

     8                   MR. BARGIL:     It should be.

     9                   MR. DAIGNEAULT:     Okay.

   10                    THE DEPONENT:     So it's Rule 5, Section 4

   11             that I was just reading from.          That's in this

   12             three-page document that you've got here.

   13                    MR. BARGIL:     Okay.

   14        BY MR. BARGIL:

   15             Q      You mentioned you were just reading from a

   16        document that you brought yourself.

   17                    Does this look to be identical to that

   18        document?

   19             A      It's the one that I just printed off the

   20        web site this morning.

   21             Q      Okay.   Now, can I ask you to read the

   22        final sentence of Section 4 of Rule 5.

   23             A      "Under no circumstances may the amount of

   24        the fine be reduced once a foreclosure action is

   25        instituted.    Additionally, under no circumstances




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     1       may the amount of a fine for a repeat violation be

     2       reduced."

     3            Q      Okay.   Do you know when this rule was

     4       passed?

     5            A      The first version of it passed back in the

     6       '80s, 1980's.

     7            Q      What was the first version of it?

     8            A      Well, it didn't include the written

     9       response from the City; otherwise it was pretty much

   10        very similar.

   11             Q      So, as far as you've been around working

   12        for the City, the City has always had a policy of

   13        not negotiating fines of repeat violators?

   14             A      That's not what this says.

   15             Q      Actually, let me rephrase that.

   16                    Since you've been working for the City,

   17        has the City always had a policy of not reducing

   18        fines for repeat violators upon filing of a petition

   19        for reconsideration of a fine?

   20             A      This is not the City's rules.     This is the

   21        Code Enforcement Board rules.     Okay.    There is a

   22        significant difference.     The City's a party.     An

   23        alleged violator is a party.     These are the rules

   24        for the finder of fact.

   25                    So, if you're asking me whether or not




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     1       this provision in the finder of fact Rules of

     2       Procedure has been in here since the '80s, the

     3       answer is yes.

     4             Q      Okay.    Now, there is a mechanism or is it

     5       correct that there is a mechanism by which somebody

     6       who has been fined may seek a reconsideration of

     7       that fine?

     8             A      It's the rule that we were just looking

     9       at.

   10              Q      Okay.

   11              A      So, if it was an original violation and

   12        not a repeat, that's the process that they would go

   13        through.

   14              Q      Okay.    And, under those circumstances, we

   15        don't have to go all the way through them, there is

   16        some procedure --

   17              A      Right.

   18              Q      -- for seeking that reconsideration.

   19                     In the event that someone is a repeat

   20        violator, this procedural mechanism is essentially

   21        unavailable to them; is that right?

   22              A      Well, I can tell you that people have

   23        filed petitions for reduction of fine and they go to

   24        the Code Enforcement Board and then that Code

   25        Enforcement Board gets to determine whether or not




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     1       they're going to comply with their own rules.

     2            Q     Okay.

     3            A     The majority of the time they comply with

     4       their other rules.

     5            Q     Do they sometimes violate their own rules?

     6            A     There has been one or two occasions in the

     7       past 30 years that I've seen where they have taken

     8       exception to it.

     9            Q     Can you tell me what those instances were?

   10             A     I don't remember.    I don't remember the

   11        specific instance in those one or two cases, but it

   12        has happened once or twice.

   13             Q     How long ago would that have been?

   14             A     Many years.   Many, many years ago.

   15             Q     Fair to say that they violated their own

   16        rules?

   17             A     To me the answer was they did not follow

   18        their rules of procedure and they should be

   19        following their rules of procedure.

   20             Q     Do you recall in those instances whether

   21        you advised them to follow their rules of procedure

   22        and not allow for the fine to be reduced?

   23             A     I don't remember the details of those

   24        meetings, but I would have never told them to

   25        violate their rules of procedure.




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     1            Q       Okay.     Do you know if it stated anywhere

     2       else what the City's policy is with respect to

     3       repeat violators and fine negotiation?

     4            A       There is no policy that's created anywhere

     5       with regard to repeat violations.

     6            Q       Well --

     7            A       Each case where someone wants a fine

     8       reduction, if it can't be accomplished in the Code

     9       Enforcement Board because either they have lost

   10        jurisdiction of the case or because it's a repeat

   11        violation case, they can always make an offer to the

   12        City of Dunedin.        That offer is normally directed to

   13        me and then, once I receive the offer, I gather the

   14        back up and I talk to City staff, sometimes talk to

   15        the City Manager and, if there is a possibility of

   16        working out a settlement, then that's what we

   17        attempt to do.

   18             Q       When I talk about the City policy toward

   19        repeat violators and fine negotiation, what I'm

   20        referring to is an approach.        If I say that this is

   21        the Code Enforcement Board's policy, you're drawing

   22        a distinction between a policy and a rule of

   23        procedure?

   24             A       Uh-huh. (Indicates affirmatively).

   25             Q       So, if I say it's the Code Enforcement




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     1       Board's policy to not negotiate with repeat

     2       violators, you would say I'm incorrect?

     3            A       The Code Enforcement Board doesn't

     4       negotiate with anybody.        They're the trier of fact.

     5            Q       I misspoke.

     6                    If I were to say that it were the Code

     7       Enforcement Board's policy to not reduce a fine for

     8       a repeat violation, would I be incorrect?

     9                    MR. DAIGNEAULT:     Object to form.

   10                     THE DEPONENT:     I didn't understand the

   11             question.     They don't negotiate anything.

   12             Okay.     Someone makes an offer by way of a

   13             petition for rehearing or a fine reduction,

   14             Code Enforcement Board hears it and they make a

   15             decision as to whether or not they're going to

   16             grant it.     Sometimes they grant what's asked.

   17             Sometimes they don't.        Sometimes there is

   18             something in the middle.        It's whatever the

   19             facts of the case, you know, bring forward.

   20                     For example, you know, a $5,000 and it's

   21             someone who has got terminal cancer and they

   22             have got $100,000 worth of bills and they're

   23             showing their tax returns that they only make

   24             $300 a year and there is no way that it's ever

   25             going to be paid, well, that's going to be




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     1            completely different than someone else that

     2            owns a whole bunch of different properties and

     3            are flipping them or renting them for

     4            commercial purposes.

     5       BY MR. BARGIL:

     6            Q     Okay.   If that cancer patient were a

     7       repeat violator, would the Code Enforcement Board

     8       allow for a reconsideration of the fine?

     9            A     More than likely not.

   10             Q     And that's because it's the rules?

   11             A     What would happen is it would come to me.

   12        We would tell the property owner you can go through

   13        a process of fine reduction by way of making an

   14        offer of settlement.

   15             Q     When do you advise the property owner of

   16        the possibility that they can go through you?

   17             A     When anybody asks code enforcement staff.

   18             Q     So it's up to the person, the alleged

   19        violator, to learn on their own that there is a

   20        possibility that they can negotiate directly with

   21        the City Attorney?

   22             A     I don't negotiate.    What I do is I make a

   23        recommendation.    So, they make an offer, I make a

   24        recommendation and then the City Commission makes

   25        the decision of what they're going to do.




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     1            Q     Okay.    I'm going to call it a "policy."

     2                  Is that policy written down anywhere?

     3            A     It's not a policy and it's not written

     4       down anywhere.

     5            Q     What would you call it?

     6            A     An attorney representing his client.

     7            Q     Okay.    Let's refer to it as the

     8       possibility that someone can reach out to you.        It's

     9       not written anywhere.

   10                   Do you advise people of it in any other

   11        form besides writing?

   12             A     I don't advise anybody of it.       When they

   13        ask how can they deal with it, then we try to

   14        resolve the case by talking to them and give them

   15        the options.

   16             Q     Okay.    Because here's the scenario that

   17        I'm thinking of.

   18                   Say I'm a repeat violator.      I look at this

   19        rule of procedure and I know that under no

   20        circumstances may the amount of a fine for a repeat

   21        violation be reduced.

   22             A     Right.

   23             Q     So I know that I'm facing whatever that

   24        fine is going to be.

   25             A     Right.




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     1            Q      You just testified in your deposition a

     2       moment ago that well, there is this other way that I

     3       can maybe work that out if I deal with you directly.

     4                   My question is, how do I know that I can

     5       do that?

     6            A      Call code enforcement staff, call the City

     7       Manager, call anybody at the City and they would

     8       direct the process.

     9            Q      Okay.   How do those people who work in

   10        City staff -- for example, how are they aware of

   11        this opportunity for repeat violators to deal

   12        directly with you?

   13             A      Because they would call code enforcement

   14        staff and the code enforcement staff knows that's an

   15        option.    So, when you call the water department and

   16        talk to them about water issues, you call them

   17        because they're the ones that deal with water

   18        issues.    When you have a code enforcement issue, you

   19        call the Code Enforcement Department, and when you

   20        call the Code Enforcement Department and you say you

   21        want to resolve an outstanding lien and the Code

   22        Enforcement Board has lost jurisdiction of the case,

   23        then the code enforcement staff says you can speak

   24        to the City Attorney about it and maybe you can come

   25        to some resolution of the case or the lien.




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     1            Q     Okay.    In the preceding sentence, the

     2       second to last sentence, it says, "Under no

     3       circumstances may the amount of the fine be reduced

     4       once a foreclosure action is instituted;" is that

     5       correct?

     6            A     Yeah.    That's what it says.

     7            Q     Okay.    What constitutes the institution of

     8       a foreclosure action?

     9            A     The actual filing of the foreclosure

   10        complaint by our office.

   11             Q     Okay.    So is it your testimony that at any

   12        point between being found to be in violation of the

   13        code ordinances and your office initiating an actual

   14        foreclosure complaint against the property at any

   15        point in between, a repeat violator can negotiate --

   16        or I shouldn't say "negotiate" because you don't

   17        like that word -- can reach out to you to see if

   18        they can resolve it?

   19             A     You know, I'm basically holding a

   20        political office.     Even though I'm appointed, I see

   21        myself as being a person this needs to be responsive

   22        to any resident that calls.     These are most of the

   23        time residents, so I will return their calls.        So

   24        the answer is, at any time, during any time of this

   25        process, if someone has a question, I'm going to




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     1       answer their question.

     2            Q     Okay.

     3            A     If they want to settle something between

     4       now and then after a Code Enforcement Board order

     5       has been entered, I'll talk to them about it.

     6            Q     Okay.

     7            A     Just like I did with Mr. Ficken.

     8            Q     We'll get to that in a second.

     9                  So, in the minutes here, going back to the

   10        minutes, I think you just went over the comment by

   11        Vice-Chair Suplicki.      Beneath that is the statement

   12        that says Mr. Motley commented there other avenues

   13        the Respondent can take, and that is -- that was

   14        something that was evidently said right after

   15        Vice-Chair Suplicki said there is no opportunity for

   16        reconsideration of a fine reduction through the Code

   17        Enforcement Board.

   18                   So, what are the other avenues that the

   19        Respondent can take?

   20             A     What I just mentioned to you coming to me.

   21             Q     Okay.     Is there anything else?

   22             A     No.     Well, he can pay it.

   23             Q     But in terms of --

   24             A     He could pay it or we could settle it.

   25             Q     Okay.     Do you know whether Mr. Ficken




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     1       sought reconsideration of the fine in this case?

     2              A     I believe he did.

     3              Q     And do you know what the result of that

     4       was?

     5              A     I believe it was denied.

     6              Q     Why was it denied?

     7              A     I believe it's because it's a repeat

     8       violation.

     9              Q     Now, in this September 4th meeting, do you

   10        know whether Mr. Ficken was present?

   11               A     I'm not sure if he was present or not.

   12               Q     I think that is in here.   Yeah.   At the

   13        top of the first like full page.

   14               A     Yeah.   It says, "Chair Bowman determined

   15        that the Respondent was not present."

   16               Q     Okay.   Do you know whether Mr. Ficken

   17        asked for a continuation?

   18               A     I know that he had filed a request or a

   19        continuance or he had asked for one.       I'm not sure

   20        if it was the petition for fine reduction hearing or

   21        it was this one.

   22               Q     It might help you.   Can I guide you a

   23        little bit?

   24               A     He filed the petition and then amended

   25        petition to reconsider or rehear and then he




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     1       attached to that -- I guess it was a letter where he

     2       was asking for a continuance.     Yeah.    It looks like

     3       he had requested a continuance in writing on

     4       August 24th.

     5            Q     Okay.    If you look back at the meeting

     6       minutes, I believe, in that sixth bullet point,

     7       there is a description of what transpired there.

     8            A     Right.

     9            Q     So can we agree that he wasn't there?

   10             A     According to the minutes, he was not

   11        there.

   12             Q     And that he requested a continuance?

   13             A     That's right.

   14             Q     I think we can surmise that the

   15        continuance or the request for continuance was

   16        denied; is that right?

   17             A     There was no continuance granted.

   18             Q     Okay.    Do you know why the continuance

   19        wasn't granted?

   20             A     I don't have any recollection of that.

   21             Q     Do people seek continuances for code

   22        enforcement hearings?

   23             A     Sometimes.

   24             Q     Are they ever granted?

   25             A     Sometimes.




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     1            Q       When are they granted and when are they

     2       not granted?

     3            A       It depends on the facts of each case.

     4            Q       What are some of the facts that would

     5       guide the -- first of all, let me ask this.

     6                    Who makes the decision of whether or not

     7       to grant the continuance?

     8            A       It all depends on what stage it is, but

     9       the Code Enforcement Board ultimately has the

   10        authority to do that.

   11             Q       When you say "it all depends on what

   12        stage," does it go to somebody first?

   13             A       Well, for example, if the notice of

   14        violation said come into compliance by June 1st and

   15        you wanted to come into compliance on June 15th,

   16        then the code enforcement officer could give that

   17        continuance, but once it gets to the Code

   18        Enforcement Board and they set a compliance date,

   19        you can't.     The code enforcement officer has no

   20        authority to overrule the code board order.

   21             Q       My understanding of the request for a

   22        continuance was that it was a request for a later

   23        hearing date in front of the code board and not for

   24        a later compliance date.

   25             A       Right.   In this case it was.   In the




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     1       Ficken case it was.

     2            Q     Okay.   So, speaking about a continuance

     3       for a Code Enforcement Board hearing date

     4       specifically only, who typically will be the first

     5       person to field that request and consider it?

     6            A     Joan McHale.

     7            Q     And she is who?

     8            A     She is the Code Enforcement Board

     9       secretary and she's also the business manager.        I

   10        think that's her title.      She's basically the

   11        do-it-all person in the Code Enforcement Department

   12        other than the Code Enforcement Inspector.

   13             Q     Does she have decision-making authority on

   14        continuance requests?

   15             A     No.

   16             Q     So who would she forward that to once she

   17        receives it?

   18             A     Probably the Code Inspector.

   19             Q     Okay.   Who in this case would have been

   20        Mr. Colbert, most likely?

   21             A     Most likely.

   22             Q     And then the code officer does what with

   23        their request?

   24             A     One, it's in writing.     It needs to go to

   25        the Code Enforcement Board for them to make the




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     1       decision.

     2            Q      Okay.    So then he would forward it to the

     3       Code Enforcement Board?

     4            A      Yeah.

     5            Q      So they ultimately make the decision on

     6       every request for continuance made in writing?

     7            A      Right.

     8            Q      Do they have any criteria for when they

     9       grant and when they don't grant their request for

   10        continuance?

   11             A      No.

   12             Q      You mentioned it depends on the facts of

   13        each particular case; is that right?

   14             A      I think it does.

   15             Q      Okay.    When you say "I think it does," any

   16        reason to think that they weigh other factors?

   17             A      Because most of the time they don't ask me

   18        my advice on this and they make their own decisions.

   19             Q      Okay.    Based on what you know, what are

   20        the factors that they consider or some of the

   21        factors that they consider?

   22             A      I think some of the factors they should

   23        consider is whether or not the person is a repeat

   24        violator, the gravity of the violation, what the

   25        excuse is that they can't be there or the reasons




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     1       why they can't be there.

     2            Q     If someone is a repeat violator, is it

     3       possible for a continuance to be granted?

     4            A     Yes.

     5            Q     Is tall grass considered a grave offense?

     6                  MR. DAIGNEAULT:     Object to form.

     7                  THE DEPONENT:     It all depends on how tall

     8            it is.

     9       BY MR. BARGIL:

   10             Q     Between 10 and 14 inches?

   11             A     I don't know where it ends and begins.

   12        I'm telling you it could matter depending on how

   13        tall it is for the Code Enforcement Board.

   14             Q     In your experience, has the Code

   15        Enforcement Board denied a continuance because they

   16        feel like the grass was so tall that it was a threat

   17        to public health?

   18             A     There have been many cases where they have

   19        denied continuances because of the fact that the

   20        violation that's occurring needed to be remedied

   21        quickly.

   22             Q     Okay.    Do you know whether any of those

   23        instances related to tall grass cases?

   24             A     I don't know.

   25             Q     You don't know?




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     1            A      No.

     2            Q      What are the type of excuses that you

     3       typically think of when you think of a legitimate

     4       reason why somebody can't be there and is deserving

     5       of a continuance?

     6            A      In the hospital or a family member in the

     7       hospital.

     8            Q      What about a death in the family?

     9            A      That too.     They have to be out of town to

   10        go to a funeral.

   11             Q      What if you're going to be out of town for

   12        a vacation that you planned a year ago and you just

   13        can't be there?

   14             A      Yeah.     They can take that under

   15        consideration too.

   16             Q      Do you know why Jim's continuance was

   17        denied?

   18             A      No.

   19             Q      You mentioned earlier that these were

   20        factors that you think they should consider?

   21             A      Uh-huh.     (Indicates affirmatively).

   22             Q      Do you know whether these are factors that

   23        they do consider?

   24             A      No.

   25             Q      Do you have any knowledge at all then




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     1       about what goes into the decision-making process for

     2       either granting or denying a continuance?

     3            A      Just what I've seen sitting behind the

     4       desk watching what goes on up there.

     5            Q      Okay.   So is what you think they should

     6       consider a reflection of what you've seen them do

     7       already?

     8            A      They have granted continuances for all

     9       different types of reasons, and the ones that we've

   10        talked about, about a hospital visit or death in the

   11        family, those are important and they would normally

   12        grant the continuance for those.

   13             Q      Okay.   And is that without regard to

   14        whether that person is a repeat violator?

   15             A      Well, to me I don't think that it should

   16        matter.    If you're going to be in the hospital, it

   17        shouldn't matter whether you're a repeat violator or

   18        initial violator.

   19             Q      What about if you had a death in the

   20        family?

   21             A      Same thing.   We're all people here.     We're

   22        trying to live lives and we're trying to follow the

   23        rules and we're trying to do the right thing.

   24             Q      I'm not sure if I asked you this, but just

   25        to confirm.




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     1                      The factors that the City weighs or, I'm

     2       sorry, that the Code Enforcement Board weighs or

     3       should weigh when considering a request for

     4       continuance, are those written down anywhere?

     5               A      No.

     6               Q      Okay.   Let's talk briefly about starting

     7       with the second violation that falls under that 858

     8       case.       This is going to be kind of a rehashing of

     9       questions I've already asked you regarding, you

   10        know, what Mr. Ficken was told and when.          Why don't

   11        we take a look at the case history, wherever that

   12        went.

   13                A      Here you go.   This one.

   14                Q      Yeah.

   15                       Now, my understanding is that on

   16        August 31st, 2018, Mr. Ficken's property was again

   17        observed with grass that was allegedly over 10

   18        inches in height; is that right?

   19                A      According to the Board evidence hearing on

   20        September the 4th, it's in repeat violation from

   21        August 31st, '18.        Oh, that's their finding.    Okay.

   22        Wait a minute.

   23                Q      Also in the minutes, if it helps.

   24                A      I just want to go through this.     Yeah.   So

   25        the progress report is not that helpful on that




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     1       issue.

     2                  The minutes of the meetings show that

     3       Mr. Kepto explained that the City is asking for a

     4       two-part order of the Board first finding the

     5       property as a repeat violation for 48 days and then

     6       it came into compliance.      Then they were at the

     7       property on August 31st.      They found that the

     8       property was once again not in compliance.        So the

     9       second order would be that of another repeat

   10        violation beginning August 31st and continuing until

   11        the property is brought back into compliance.

   12             Q     Okay.     Do you see anything in reviewing

   13        either the minutes or in the case history report

   14        that indicates whether Mr. Ficken was provided any

   15        notification of that second alleged tall grass case?

   16             A     No.     It's not required under the statute

   17        or the code.

   18             Q     Okay.     No door hanger?

   19             A     It doesn't say anything, but, again, it's

   20        not required.

   21             Q     Do you know whether there is any evidence

   22        that anybody personally spoke with him about it?

   23             A     There is nothing in the minutes and there

   24        is nothing in the progress notes.

   25             Q     Okay.     Speaking of the minutes and going




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     1       back to the comment here by Mr. Motley, he stated

     2       there are other avenues the Respondent can take.

     3                  Your testimony earlier was that's a

     4       reference to --

     5             A    Me.

     6             Q    To you?

     7             A    Right.

     8             Q    Are meeting minutes ever sent out as part

     9       of the order?

   10              A    No.

   11              Q    Okay.     Does anything in the order -- we'll

   12        put this in, in a minute here.      Maybe if we've got

   13        it.   Here we are.

   14                   Now, can you see for the record what I

   15        just handed you?

   16              A    This is a memorandum that I drafted.       It

   17        was directed to the members of the Code Enforcement

   18        Board on April 18th of 2019 asking for authority to

   19        begin foreclosure on the property.

   20              Q    Okay.     In that main body paragraph there,

   21        can you read aloud the final sentence that begins

   22        with "over the past few months."

   23              A    "Over the past few months I have been

   24        corresponding with James Ficken, Trustee of the

   25        owner, but have been unsuccessful in negotiating a




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     1       settlement."

     2               Q    I want to call your attention to your

     3       testimony from a minute ago, a few minutes ago, in

     4       which you said that you don't negotiate.

     5                    Is that a fair characterization of your

     6       testimony?

     7               A    Yes.

     8               Q    Okay.   Who is this a letter to?

     9               A    Code Enforcement Board.

   10                Q    Okay.   You represented here and you have

   11        been unsuccessful in negotiating a settlement?

   12                A    That's right.   Code enforcement staff and

   13        I have been unsuccessful.

   14                Q    Okay.   Did you attempt to negotiate a

   15        settlement with Mr. Ficken?

   16                A    I talked to Mr. Ficken on a couple of

   17        occasions and had several emails with him trying to

   18        get it resolved.      He kept on asking me for

   19        additional time, and I kept on asking him what he

   20        needed the additional time for, why didn't he just

   21        tell me what he wanted to do.      He never was to me

   22        responsive to my questions.      So, after a couple of

   23        months of dealing with that, I moved it to the next

   24        step.

   25                Q    Okay.   Did you ever tell him "make me an




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     1       offer"?

     2            A      Yes.

     3            Q      What did you say?

     4            A      "Make me an offer."

     5            Q      You used those words exactly?

     6            A      Pretty much.

     7            Q      Did you indicate to him that you had the

     8       power to make recommendations to the City?

     9            A      Yes.

   10             Q      You did.

   11                    Do you recall how you phrased that to him?

   12             A      It would have been on the telephone, I

   13        think.

   14                    I would have just said to him, "Look, you

   15        know, if you want to make an offer or make an offer

   16        of settlement, send it to me, I will get the

   17        background, talk to City staff about it and we'll

   18        let you know whether or not that's acceptable and,

   19        if not, you know, we'll give you a recommendation as

   20        to what we can support."

   21             Q      Okay.   So you've had phone conversations

   22        with him?

   23             A      Yeah.   One or two.

   24             Q      Do you have records of the phone

   25        conversations?




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     1               A      Well, did I take notes of the

     2       conversations?

     3               Q      Notes or -- you know, I don't know how

     4       your agreement with the City works, but that might

     5       be the sort of thing that typically attorneys are

     6       required to keep track of when they have a phone

     7       call.       I'm curious if you have any sort of written

     8       record of it.

     9               A      The only written record I think I would

   10        have of it would probably be a billing item, but,

   11        you know, I didn't look those up for today.           I

   12        printed out the emails that went back and forth

   13        between he and I, and I've got those, but I did not

   14        go back and look at my billing to see on what day

   15        the phone calls took place.

   16                Q      Okay.   Did you ever tell him what you

   17        testified to earlier, which is that you don't

   18        negotiate?

   19                A      I don't have the ability to make a final

   20        decision; that's the problem.        So we'd make a

   21        recommendation.        So maybe it was a poor choice of

   22        words.       Maybe I could have said unsuccessful in

   23        making a recommendation of a settlement, but

   24        ultimately I don't make the decision.          The City

   25        Commission makes the decision.




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     1            Q     Did you throw a number at them and say --

     2            A     I don't work that way.

     3            Q     You don't work that way?

     4            A     No.

     5            Q     What's your strategy when you typically

     6       deal with folks who are telling you "I need more

     7       time or I can't pay"?

     8            A     "Make an offer."

     9            Q     If you could look on the second to last

   10        page of the document that I handed you a moment ago.

   11             A     Yes.

   12             Q     Technically this is Page 2 of a letter

   13        from your office to Mr. Ficken dated February 13th;

   14        is that correct?

   15             A     Right.

   16             Q     Is it fair to say that this is essentially

   17        a demand letter?

   18             A     Yes.

   19             Q     Okay.    You note that there are two liens

   20        on the property which relate to the two tall grass

   21        cases that we've been talking about this afternoon;

   22        is that right?

   23             A     Right.

   24             Q     Okay.    You note that each is subject to

   25        interest that will continue to accrue at the rate of




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     1       6.33 percent per year until the fine is paid in

     2       full?

     3               A   That's what it was at that time, I think.

     4               Q   What is the origin of that number, the

     5       6.33; where do you pull that from?

     6               A   Florida Statutes.

     7               Q   Where in the Florida Statutes?

     8               A   It's either in like Chapter 56 or

     9       Chapter 58 where it talks about the judgment

   10        interest.

   11                Q   Is it prescribed --

   12                A   It's 55.03.   That's the appropriate one.

   13                Q   Is that figure prescribed by statute or

   14        does it reference some other source for how to

   15        calculate interest?

   16                A   It references a judgment.

   17                Q   Now, turning to Page 2 of that letter,

   18        which is Page 3 in the packet of papers I gave you.

   19                    The second sentence at the top there says,

   20        "Demand is hereby made or the value of the above

   21        reverenced liens which includes $14.50 to record

   22        each Release of Lien."

   23                    If you could, please just read the

   24        remainder of the page.

   25                A   Okay.




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     1            Q       Okay.    I'm going to the top paragraph of

     2       the final sentence of that top paragraph.

     3                    It says, "Payment must be made to the City

     4       of Dunedin, care of this office, within 15 days of

     5       the date of this letter or we shall have no choice

     6       but to pursue foreclosure of the liens."

     7                    Is there a state statute that requires you

     8       to pursue foreclosure of liens?

     9            A       No.

   10             Q       Is there a City ordinance that requires

   11        you to do that?

   12             A       No.

   13             Q       Is there any written policy that requires

   14        you to pursue foreclosure of the liens?

   15             A       No.

   16             Q       So when you say you have no choice --

   17             A       Right.

   18             Q       -- can you explain to me what that means.

   19             A       My client has a certain period of time in

   20        which to file that foreclosure action, and part of

   21        my duties as the City Attorney is to collect all

   22        monies that are due the City of Dunedin whether

   23        they're library fines or parking tickets or water

   24        fines.     Anything that has a dealing with money that

   25        is due the City, there is a statute of limitations




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     1       that we have to be aware of to collect, so we're

     2       telling them that we have no choice but to move to

     3       the next step, and that is foreclosure of the liens

     4       to correct them.

     5            Q     What is the statute of limitations?

     6            A     The statute of limitations is 20 years.

     7            Q     Could you also just not pursue

     8       foreclosure?

     9            A     Yeah.    And I would be committing

   10        malpractice, I think.

   11             Q     You think you would?

   12             A     I think that if I'm not looking out for my

   13        client's best interest in my client telling me to

   14        file the foreclosure action that I'd be committing

   15        malpractice.

   16             Q     We'll move off this really quickly, but

   17        lawyers often not pursue every available legal

   18        remedy on behalf of their clients for strategic

   19        reasons or otherwise?

   20                   MR. DAIGNEAULT:     Object to form.

   21                   THE DEPONENT:     I don't understand your

   22             question.     I'm doing, you know, what I think is

   23             in the best interest of my client.

   24        BY MR. BARGIL:

   25             Q     Okay.    May I ask do you still think that




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     1       it's in the best interest of your client to pursue

     2       foreclosures on liens in all cases with unpaid code

     3       enforcement fines?

     4                  MR. DAIGNEAULT:     Object to form.

     5                  THE DEPONENT:     No.   Often, even though I

     6            ask for authority to foreclose, when I do my

     7            research on the property, after they give me

     8            the authority, we come back to the Code

     9            Enforcement Board and say we'd recommend that

   10             we not move forward in the foreclosure.

   11                   Those are cases where there is no equity

   12             in the property or there are other problems.

   13             For example, it's a hazardous site and there

   14             are other legal problems with the property.

   15                   We only file a couple of cases a year.         In

   16             2019 I didn't file any.       So, it doesn't happen

   17             very often, but it does happen.

   18        BY MR. BARGIL:

   19             Q     When you say there is no equity in the

   20        property as being a reason why you wouldn't pursue

   21        foreclosure, what does that mean?

   22             A     It means that there is a first mortgage, a

   23        second mortgage, IRS tax liens, Department of

   24        Revenue liens and they're all in line ahead of us.

   25             Q     I see.




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     1               A      So, if the property is worth 100 and it's

     2       got a mortgage for 200, we're not going to do

     3       anything with it because we're going to be subject

     4       to that first mortgage if we move through the

     5       process.

     6               Q      I see.

     7                      So you're not going to pursue a

     8       foreclosure unless it's financially worth your

     9       while?

   10                A      It's not me.     I'm not making a killing

   11        here.       I'm doing my job whether I'm working an hour

   12        doing this or working on something else for the City

   13        for an hour.       It is whatever it works out to be as

   14        in the best interest of the City, and ultimately

   15        they make the decisions.

   16                Q      In the paragraph on that page it says,

   17        "These liens cannot be released without full payment

   18        through the settlement date."

   19                       Is that right?

   20                A      That's what it says.

   21                Q      Okay.    Is it correct that those liens can

   22        be released without full payment if they negotiate

   23        directly with you?

   24                A      That's correct.     They can.

   25                Q      So would this be incorrect?




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     1            A     No.     It's correct if they pay all these

     2       monies that are due.

     3            Q     As I read this it says "these liens cannot

     4       be released" and then it states a condition.

     5                  "Cannot be released without full payment

     6       through the settlement date."

     7            A     Uh-huh.     (Indicates affirmatively).

     8            Q     Is it also correct that the liens can be

     9       released without full payment?

   10             A     If it's negotiated.

   11             Q     Okay.     So would this statement not be

   12        100-percent accurate?

   13                   MR. DAIGNEAULT:     Object to form.

   14                   THE DEPONENT:     I think it's completely

   15             accurate.      It's a demand letter.

   16        BY MR. BARGIL:

   17             Q     Is there some language in here that's

   18        designed to stir someone to action?

   19                   MR. DAIGNEAULT:     Object to form.

   20                   THE DEPONENT:     The idea is to get the case

   21             resolved however it gets resolved.        Sending a

   22             demand letter that is not definitive is not

   23             going to get the case resolved.        So this

   24             language in this demand letter is the same

   25             language that I use in all my letters and it's




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     1            for the sole purpose of getting the case

     2            resolved.

     3                  Often what happens when people get these

     4            letters is they give me a call and tell me

     5            "Tom, what can we do," and then we have a

     6            discussion about that.

     7       BY MR. BARGIL:

     8            Q     They call you and they say "Tom, what can

     9       we do?"

   10                   Would it be more accurate to say it this

   11        way; these liens cannot be released without full

   12        payment through the settlement date; however, please

   13        call me if you would like to discuss the possibility

   14        of not paying in full?"

   15                   MR. DAIGNEAULT:     Object to form.

   16                   THE DEPONENT:     The letter can say whatever

   17             you want it to say, but this is the letter that

   18             I use.

   19        BY MR. BARGIL:

   20             Q     Okay.     Because I'm trying to reconcile

   21        where you say on the one hand there is a letter that

   22        people receive that says these liens can't be

   23        released without full name.

   24             A     Uh-huh.     (Indicates affirmatively).

   25             Q     And then on the other hand "hey, if you




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     1       don't want to pay in full, you can just call me."

     2       The letter says one thing, but not the other.        What

     3       I'm just trying to understand is why anybody would

     4       even think to call you after reading this letter.

     5       This seems pretty categorical.

     6                  MR. DAIGNEAULT:    Object to form.

     7       BY MR. BARGIL:

     8             Q    So my question is, what in this letter --

     9       if you're getting it for the first time, what in

   10        this letter would indicate to somebody who doesn't

   11        know the process in Dunedin; what in this letter

   12        would indicate to them that they should pick up the

   13        phone and call you because there actually might be a

   14        way to work it out?

   15              A    I don't know if it has anything in there.

   16        The idea is to get the case resolved, however they

   17        get it resolved.   If they want to hire a lawyer, if

   18        they want to enter into negotiations with me, if

   19        they want to appeal their code enforcement case.

   20        There are lots of different avenues.

   21                   I don't give legal advice to alleged

   22        violators or in this case violators.       My job is to

   23        represent the City of Dunedin, and this is how I do

   24        it.

   25              Q    Since the goal is to get the case resolved




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     1       and not necessarily -- well, let me ask you this.

     2                  Is the goal to get the case resolved or is

     3       it to collect every penny owed under the liens?

     4                  MR. DAIGNEAULT:     Object to form.

     5                  THE DEPONENT:     It's to get the case

     6            resolved.

     7       BY MR. BARGIL:

     8            Q     And ideally that would mean collecting

     9       every penny, right?

   10             A     No.     Not necessarily.

   11             Q     Okay.

   12             A     Ideally it's getting compliance so that I

   13        don't get the phone calls or the Code Enforcement

   14        Board doesn't get the case or the code enforcement

   15        staff doesn't get the phone calls saying that this

   16        property needs to be whatever; grass cut, in-op

   17        vehicles removed, garbage cans out of the street,

   18        roof replaced, pool fixed, whatever it is.        It's to

   19        get compliance.

   20             Q     I see.

   21                   So, apart from getting compliance -- I

   22        feel like we're past compliance now.       We're at the

   23        point where we're talking about collection and

   24        making good on a fine.

   25             A       Most of the time it is not in




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     1       compliance.   The majority of the time the compliance

     2       is the driver.      If they're not in compliance, the

     3       fine is still continuing to accrue and it's the push

     4       to get compliance.

     5            Q     Okay.     Is there any reference in this

     6       letter to bringing the properties into compliance?

     7            A     It's already in compliance, so there would

     8       not need to be.      There are other demand letters that

     9       talk about the need to bring the property into

   10        compliance.   There is an additional couple of words

   11        or a sentence.

   12             Q     So, going back to the earlier testimony

   13        where I believe you said that the goal was to get

   14        the matter resolved and that doesn't necessarily

   15        mean collecting every penny; that's fair to say;

   16        that's what you testimony was?

   17             A     That's correct.

   18             Q     If the goal is to get the matter resolved,

   19        is there reason why you only advise of one way to

   20        resolve the matter and that is payment in full?

   21             A     It's to get the most amount of leverage

   22        possible to keep the conversation going.

   23             Q     I see.

   24                   We talked a little bit about the process

   25        of calculating the fine, but, to go back over it,




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     1       the recommendation is made initially by the code

     2       enforcement staff; is that correct?

     3            A       Most cases.

     4            Q       Okay.   You say "most cases."

     5                    What other types of cases are there?

     6            A       Sometimes they don't have one.

     7            Q       Okay.

     8            A       They tell the code enforcement "we don't

     9       have a recommendation on this one, do what you think

   10        is right."

   11             Q       Other than the four factors that we've

   12        gone over before that are considered by the Code

   13        Enforcement Board, are there any others?

   14             A       Not that I'm aware of.

   15             Q       Do they look to see whether someone owns

   16        other properties?

   17             A       No.

   18             Q       Is there any sort of wealth assessment --

   19             A       No.

   20             Q       -- separate from owning other properties?

   21             A       The only time a wealth assessment comes

   22        into play is when someone asks for a fine reduction;

   23        that's the only time they ever talk about that.

   24             Q       Because they're saying "I don't have the

   25        money"?




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     1            A     Because the rule says that you have to

     2       show an extreme or undue hardship, and the extreme

     3       or undue hardship is "I don't have the money" or

     4       "I'm physically unable and here's my doctor's

     5       notes."

     6                  People do submit their medical records,

     7       which I caution them on because then it creates

     8       public records, their tax returns, their bank

     9       account statements.    They do it all.

   10             Q     That doesn't surprise me.

   11                   So whether or not someone has the ability

   12        to pay or owns other properties or has any sort of

   13        external wealth only gets considered when they're

   14        seeking a fine reduction?

   15             A     Correct.

   16             Q     Even if you have that extreme -- what was

   17        the language, extreme hardship?

   18             A     Extreme and undue hardship.

   19             Q     Extreme and undue hardship.

   20                   But that only applies if you're not a

   21        repeat violator, correct?

   22             A     Correct.

   23             Q     So, if you have an extreme and undue

   24        hardship and you're a repeat violator --

   25             A     It doesn't matter.




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     1            Q       It doesn't matter.

     2                    Does the Code Enforcement Board consider

     3       previous code violations?

     4            A       Only on repeat cases.

     5            Q       Okay.    What is the scope of that review?

     6            A       Code Enforcement Inspector would tell them

     7       this case was back before you on this particular

     8       date, it's within the five-year range of when this

     9       case was cited.

   10             Q       Okay.

   11             A       It's the exact same property owner and

   12        it's the exact same code violation.

   13             Q       Okay.    Do they bring up alleged violations

   14        that didn't result in any finding of noncompliance?

   15             A       Not very often.

   16             Q       Do they bring up code violations from

   17        other municipalities or other counties?

   18             A       Never.

   19                     Let me take that back.    They may have.     I

   20        don't have any specific recollection of bringing in

   21        other properties.

   22             Q       Do you know whether that was considered in

   23        this case?

   24             A       I don't know.

   25             Q       When a decision is made to impose a fine,




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     1       whatever that amount is, does the Code Enforcement

     2       Board ever decide to move incrementally; do you

     3       understand what I mean when I say that?

     4            A     Oh, I understand the word.

     5            Q     Okay.

     6            A     They levy one fine, one fine only.

     7            Q     Okay.

     8            A     They don't say, okay, I'm going to do this

     9       fine and if you don't do so well, maybe we'll come

   10        back and talk about another one.

   11             Q     Okay.

   12             A     No.

   13             Q     When dealing with repeat violators, is it

   14        the City's Code Enforcement Board's practice to

   15        start the fines at $500 per day?

   16             A     It's not their practice to do that.

   17             Q     Okay.     What is their practice?

   18             A     They don't have one.

   19             Q     Speaking specifically about the Ficken

   20        case then, the $500-a-day fine, would you say that's

   21        an outlier?

   22             A     No.     There are a lot of $500 a day cases.

   23        A lot of them.

   24             Q     What types of violations do those cases

   25        typically entail?




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     1            A       Ones like this one where someone has been

     2       cited 15 times and they don't get it.

     3            Q       A fine of $500 per day for tall grass is

     4       not uncommon?

     5                    MR. DAIGNEAULT:     Object to form.

     6                    THE DEPONENT:     I have not done a survey on

     7            it.     I have no idea how many cases are out

     8            there.     This is the only one I know of that has

     9            15 separate cases.

   10        BY MR. BARGIL:

   11             Q       I might have asked you this before.

   12                     Does the Code Enforcement Board in dealing

   13        with a repeat violator consider other alleged code

   14        enforcement violations that didn't result in a

   15        finding of noncompliance or a fine?

   16             A       It would be irrelevant to the case.     If it

   17        wasn't the same code section by the same violator

   18        within a five-year period of time, it's not

   19        relevant.

   20             Q       Okay.

   21             A       So I would say that they would not rely

   22        upon that.     They may hear it, but to me it's not

   23        relevant.

   24             Q       So say I have -- going back to the

   25        inoperable vehicle example from before lunch.




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     1                    My registration is expired.      I fix it, I

     2       don't get fined, but it happens again, you know, two

     3       years later and I fix it before I get in trouble

     4       again.     You send me a notice and I fix it by the

     5       deadline and I don't get fined.        Then two years

     6       after that this time I don't make it in time and now

     7       I am going to get fined for it.

     8                    The Code Enforcement Board isn't going to

     9       say well, he had these other inoperable vehicle

   10        issues, this one other one, you know, a couple of

   11        years ago, it didn't result in anything, but it

   12        shows that this person isn't paying attention?

   13                     MR. DAIGNEAULT:     Object to form.

   14                     THE DEPONENT:     It's all fact based on

   15             every case differently.        On your example of the

   16             in-op car, if you didn't learn the lesson the

   17             first or the second time, then, yes, they're

   18             going to consider that when they look at it the

   19             third time.

   20        BY MR. BARGIL:

   21             Q       Okay.   Now I'm a little bit confused.     It

   22        seems like there is some inconsistency.         I'm sorry

   23        if I'm being difficult.        I really am.

   24             A       On those cases where there was no finding,

   25        then more than likely they would not rely upon it.




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     1               Q      Okay.   What I'm trying to do is draw a

     2       distinction between an instance where you tell me to

     3       fix something and I do and that's where it ends and

     4       an instance where you tell me to fix something and I

     5       don't and then I've been found in violation or I've

     6       been fined.

     7                      On the one hand, if I've been found in

     8       violation and I've been fined, those are the types

     9       of things that the Code Enforcement Board might

   10        consider when crafting its fine, but, on the other

   11        hand, when there hasn't been that sort of

   12        enforcement taken against me in previous cases, they

   13        won't consider it; is that correct?

   14                A      So the answer is that it's usually not

   15        provided to them until it gets to a repeat violation

   16        case.       They may get information other than the one

   17        that brings them there as a repeat.        Obviously

   18        they're going to hear it and that may have something

   19        to do with their decision.        You remember that one of

   20        the requirements of trying to figure out the dollar

   21        amount of the fine is what previous violations that

   22        there were that this property owner had.

   23                       So under the code and under the statute

   24        they're supposed to look at them.        Should they give

   25        more weight to cases where it didn't come before the




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     1       Code Enforcement Board versus the ones that did, you

     2       know, that's a thing that they have to find out as

     3       the trier of fact to make a decision.

     4            Q       Okay.   Do you believe in this case the

     5       reason why the fine started at $500 is because he

     6       had -- strike that.

     7                    Do you believe that the reason why the

     8       Code Enforcement Board imposed fines of $500 per day

     9       in Mr. Ficken's case is because he had been alleged

   10        to have been in violation since the first 2015

   11        incidence?

   12                     MR. DAIGNEAULT:     Object to form.

   13                     THE DEPONENT:     I didn't talk to the Code

   14             Enforcement Board members to determine what

   15             their reasoning was.

   16        BY MR. BARGIL:

   17             Q       Were you in the Code Enforcement Board

   18        meeting when they made that determination?

   19             A       Yes.

   20             Q       Do you remember what they took into

   21        account?

   22             A       Just what's in the minutes that you

   23        provided me.

   24             Q       So is it possible that one person who is

   25        going to be a repeat violator for having tall grass




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     1       would be fined at a different amount than another

     2       person who is going to be a repeat violator for

     3       having tall grass just based on what's happened in

     4       between?

     5                  MR. DAIGNEAULT:     Object to form.

     6                  THE DEPONENT:     Each case is handled

     7            separately, so it could be that there would be

     8            more than one case and then there could be that

     9            there isn't one case.      So every one needs to be

   10             determined separately.

   11        BY MR. BARGIL:

   12             Q     Okay.   Going back to your policy of not

   13        allowing fine reductions.

   14                   Is that, as far as you know, common in

   15        City policy?

   16                   MR. DAIGNEAULT:     Object to form.

   17                   THE DEPONENT:     So, if you're talking about

   18             the rules of procedure that the City of Dunedin

   19             has, the Code Enforcement Board has, it is

   20             almost mirror to every other city that we

   21             represent.    They have the similar rules of

   22             procedure.

   23        BY MR. BARGIL:

   24             Q     Okay.   Do you know about outside of those

   25        cities that you represent if it's common statewide?




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     1            A       I don't know.     I can only tell you the

     2       ones that I've been ultimately in touch with.            Most

     3       Code Enforcement Boards do have their own rules and

     4       procedures.

     5            Q       What is the basis for why you won't

     6       reconsider a fine for a repeat violator?

     7            A       It's the Code Enforcement Board that

     8       adopted that resolution which adopted the rules of

     9       procedure.     They adopted it prior to my birth.         No.

   10        Actually, it wouldn't be prior to my birth.         It

   11        would be prior to me becoming the City Attorney, and

   12        I don't know the reason why they did it.

   13             Q       Berth with an "e."

   14             A       There you go.     I don't know.   It's before

   15        my time.     It was in the early '80s.

   16             Q       Okay.   I know this is risky, but if

   17        somebody were to ask you what is the purpose of that

   18        rule, I am asking what is the purpose of that rule,

   19        what is your best explanation for why you have that

   20        on the books?

   21                     MR. DAIGNEAULT:     Object to form.

   22                     THE DEPONENT:     If you don't mind the first

   23             time, you should not be given the gift of

   24             having to make that fine go away the second

   25             time.




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     1       BY MR. BARGIL:

     2            Q      Do you think sometimes that works a pretty

     3       severe hardship on people?

     4                   MR. DAIGNEAULT:     Object to form.

     5                   THE DEPONENT:     For some people I would say

     6            yes.    Others, no.

     7       BY MR. BARGIL:

     8            Q      I mean, if you've got a really good

     9       reason, if you've got an extreme hardship which is

   10        the criteria, would that work unfairly against them?

   11                    MR. DAIGNEAULT:     Object to form.

   12                    THE DEPONENT:     The Code Enforcement Board

   13             has the opportunity at every single meeting

   14             that they hold to adopt a resolution to change

   15             their rules.     I have covered probably 100 or so

   16             meetings.     They have never asked to change the

   17             rules as to that particular statement.        So, if

   18             they don't want the rule changed, I'm not going

   19             to prepare the resolution for them to change

   20             it.

   21        BY MR. BARGIL:

   22             Q      Has anyone ever come in front of the Code

   23        Enforcement Board and cried?

   24             A      Yes.

   25                    MR. DAIGNEAULT:     Object to form.




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     1       BY MR. BARGIL:

     2               Q    Has anyone ever told you "this is going to

     3       bankrupt me"?

     4               A    Yes.

     5               Q    The City's rule regarding repeat violators

     6       is that if you get caught for a second violation

     7       within any five-year period of a first violation you

     8       will be treated as a repeat violator; is that

     9       correct?

   10                A    It's statute driven, and the statute says

   11        that.

   12                Q    Okay.

   13                A    Under the definitions of "repeat

   14        violator."

   15                Q    Okay.   Does the City code incorporate that

   16        statutory language?

   17                A    It has very similar language.    It's

   18        probably word for word.

   19                Q    What is the basis for selecting five years

   20        as the period of time?

   21                A    I don't know.   You can ask the Florida

   22        Legislature.

   23                Q    Okay.   Going back to your letter to

   24        Mr. Ficken or, more specifically, to Suncoast First

   25        Trust on September 13th.




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     1               A    Actually, it was February 13th.

     2               Q    I'm sorry.   That's correct.

     3                    You mentioned this is a form letter.

     4                    How do you send this out?

     5               A    I send it out by regular and certified

     6       mail.

     7               Q    What happens if the regular mail is

     8       returned and certified mail isn't received?

     9               A    We do what we call an accurate search.

   10                Q    What is that?

   11                A    It is a service that we have to search for

   12        addresses.

   13                Q    Okay.

   14                A    So we look to see if we can find a better

   15        address.

   16                Q    Okay.

   17                A    Sometimes I go back to City staff and I

   18        ask for utility billing information to see if they

   19        have a better address.

   20                Q    Okay.

   21                A    The idea is, again, compliance.    We want

   22        to have the letter received, so that's why we send

   23        it by regular and certified mail to start off with.

   24        So it's received.

   25                Q    Okay.   Now, going to Page 2 of the letter




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     1       which is Page 3 of the packet, the very last

     2       sentence before "please govern yourself accordingly"

     3       says "the attached notice is required by law and

     4       does not alter or extend the time period set forth

     5       hereinabove."

     6                   Now, if you flip to that notice on the

     7       final page, can you read that notice to yourself,

     8       please.

     9              A    I read it.

   10               Q    Okay.   On the page before it, it says "the

   11        attached notice is required by law."

   12                    What law requires this notice?

   13               A    It's the Fair Debt Collection Practices

   14        Act.

   15               Q    And does it prescribe this precise

   16        language?

   17               A    I don't believe so.

   18               Q    Okay.

   19               A    I haven't looked at it in a long time, to

   20        tell you the truth.      This is the form that we've had

   21        and I've used for several years.      I have not updated

   22        or changed it if the law has changed in the last

   23        couple of years, but --

   24               Q    Okay.

   25               A    It was at the time when it was created.




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     1            Q     Okay.   Can you read aloud the first

     2       sentence in that main bottom paragraph.

     3            A     "The above-named attorney is attempting to

     4       collect a debt owed to the City of Dunedin and any

     5       information obtained will be used for that purpose."

     6            Q     The next sentence.

     7            A     "Unless you, within 30 days after receipt

     8       of this letter, dispute the validity of the

     9       aforesaid debt, or any portion thereof, owing to the

   10        City of Dunedin, the above-named attorney shall

   11        assume that the debt is valid."

   12             Q     So is it fair to say that under federal

   13        law you have 30 days to dispute the validity of the

   14        debt --

   15             A     Under --

   16             Q     Let me finish my question.      I'm sorry.

   17             A     Okay.

   18             Q     Under federal law you have 30 days to

   19        dispute the validity of the debt, but under the

   20        terms of your letter you have only 15 days to pay it

   21        in order to avoid a foreclosure?

   22             A     I think that the notice required on the

   23        very back, the Fair Debt Collection Practices Act is

   24        separate and apart for that.     The 15 days was for

   25        them to basically respond so that we know what step




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     1       that we're going to take next.         I mean, if within

     2       the first 30 days they ask for information, I'm

     3       going to provide the information.

     4            Q     So is it incorrect where you say in your

     5       letter "payment must be made to the City of Dunedin,

     6       care of this office, within 15 days of the date of

     7       this letter"?

     8                  Was your testimony that actually payment

     9       doesn't need to be made, they just need to get in

   10        contact with you?

   11                   MR. DAIGNEAULT:     Object to form.

   12                   THE DEPONENT:     No, no.     If I don't receive

   13             any response within 15 days of the date of the

   14             letter, I go to my next step in the collection

   15             process.     The next step is to do an accurate

   16             search to gather as much information about this

   17             individual as possible and then make a decision

   18             as to whether or not it needs to move to the

   19             next step of foreclosure.         That does not all

   20             happen within 30 days, but that's the process

   21             that I use.     We have lots of these things

   22             going.     I mean if you think about 15 cases

   23             every single month, there are a lot of these in

   24             the hopper all at the same time.

   25




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     1       BY MR. BARGIL:

     2            Q      When you say "in the hopper," do you mean

     3       you have a lot of these sort of in the --

     4            A      In some form of collection.

     5            Q      In some form of collection.

     6                   So whether there is uncollected liens or

     7       recorded orders or foreclosures being threatened or

     8       pursued, there is a good amount?

     9            A      Or settlements or conversations or staff

   10        meetings.

   11             Q      Can you tell me right now what that number

   12        is, an estimate?

   13             A      No.

   14             Q      Can you even guess?

   15             A      No.

   16             Q      Dozens?

   17             A      There is probably 20 or 30 open collection

   18        matters.

   19             Q      Okay.     Does the City ever foreclose or

   20        threaten to foreclose on other properties owned by

   21        an alleged violator if the one with the violations

   22        is homesteaded?

   23             A      Yes.

   24             Q      How frequently do you do that?

   25                    MR. DAIGNEAULT:     Object to form.




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     1                  THE DEPONENT:     Not very often because it

     2             usually does not happen or a property owner

     3             owns more than one home.

     4       BY MR. BARGIL:

     5             Q    When you recommend to the Board that they

     6       authorize foreclosure as in the letter that we've

     7       been talking about here, do they ever deny your

     8       request?

     9             A    I don't think one has ever been denied,

   10        no.

   11              Q    You mentioned that sometimes after you've

   12        been given authorization to foreclose you said

   13        sometimes you don't go forward with it?

   14              A    Correct.

   15              Q    One of the examples that you gave is where

   16        there is no chance that you will ever recover the

   17        money owed to begin with; is that right?

   18              A    Correct.

   19              Q    Do you ever look at it and say hey, maybe

   20        this is just a little too heavy handed?

   21                   MR. DAIGNEAULT:     Object to form.

   22                   THE DEPONENT:     What do you mean "heavy

   23              handed"?

   24        BY MR. BARGIL:

   25              Q    Well, when you're foreclosing on a




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     1       property, you're taking ownership of it or you're at

     2       least -- the person who owns it is losing ownership

     3       of it.

     4                  Do you ever look at that outcome and say

     5       maybe we shouldn't foreclose because it's

     6       inappropriate under these circumstances for this

     7       person to suffer that outcome?

     8                  MR. DAIGNEAULT:     Object to form.

     9                  THE DEPONENT:     I try to treat every one of

   10             these people exactly the same way, enforce the

   11             law exactly the same so it doesn't look like

   12             there is any preferential treatment for anyone

   13             because that never comes back the way that we

   14             want it to be seen.      So I treat everyone

   15             exactly the same.      There may be a code

   16             enforcement staff member or the City Manager or

   17             City Commissioner that says no, I'm not

   18             interested in doing that because of these

   19             factual situations.      You know, they get to make

   20             those decisions.      I don't.

   21                   So there are some cases that we have not

   22             moved forward on.      I don't remember any off the

   23             top of my head right now, but I'm sure that

   24             there were.

   25




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     1       BY MR. BARGIL:

     2            Q       Okay.   Going back to foreclosing on other

     3       properties when the sort of origin properties are

     4       homesteaded.

     5                    Why do you foreclose on other properties

     6       unrelated to the code violations at issue?

     7            A       To collect what the City is owed.

     8            Q       Does the size of the debt matter in

     9       determining whether or not to seek authorization to

   10        foreclose?

   11             A       It does to me.

   12             Q       Okay.   When you say "it does to me," does

   13        that impact your decision to either request or not

   14        request authorization?

   15                     MR. DAIGNEAULT:     Object to form.

   16                     THE DEPONENT:     Yes.

   17        BY MR. BARGIL:

   18             Q       Okay.   In what sense?

   19             A       I don't think that it makes good economic

   20        sense for the City of Dunedin to be foreclosing on a

   21        lien less than $3,500, and that's the position I've

   22        taken for years.      It will cost more than that in

   23        attorney's fees and costs to bring a case to

   24        conclusion.     So I've taken a position that anything

   25        under $3,500 is not a smart business decision, and




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     1       I've recommended against it.

     2            Q      Is that recommendation typically followed?

     3            A      Yes.

     4            Q      Okay.    Sounds like your testimony is that

     5       the attorney's fees and costs associated with

     6       foreclosing is roughly $3,500; is that correct?

     7            A      It's a number that I've basically taken.

     8       There are lots and lots of cases that it's been way

     9       under that, cases that are not defended.

   10             Q      I see.

   11                    So, if someone mounted a fence, can the

   12        costs go way up?

   13             A      Oh, yeah.

   14             Q      Would you ever seek foreclosure

   15        authorization or have you ever sought foreclosure

   16        authorization for a small amount just to improve

   17        your negotiating position or your ability to collect

   18        the debt?

   19                    MR. DAIGNEAULT:     Object to form.

   20                    THE DEPONENT:     I don't really understand

   21             the question, but I've never done anything that

   22             would -- we would never file suit just to take

   23             a position that gives us more leverage.

   24        BY MR. BARGIL:

   25             Q      I'm not talking about filing suit.




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     1            A       Okay.

     2            Q       I'm talking about authorization to

     3       foreclose.

     4                    Would you ever say "hey, I'd like

     5       authorization to foreclose and that way I can tell

     6       this property owner I've got authorization to

     7       foreclose because I think it will help us in our

     8       collection effort"?

     9            A       Yes.    I've done that.

   10             Q       Okay.    About how often do you do that?

   11             A       On the smaller one -- when you're saying a

   12        small one, what's the figure you're using?

   13             Q       Anything under $3,500.

   14             A       The answer is never.      We wouldn't do it.

   15             Q       Okay.    You've never -- I'm sorry.    I

   16        actually didn't hear you.

   17             A       I would not do it on a case under $3,500.

   18        I would not take the position in the demand letter

   19        that we're going to threaten foreclosure if the fine

   20        amount is so small.

   21             Q       Okay.    If it's over $3,500, conceivably

   22        you might seek authorization to foreclose?

   23             A       Yes.    It's conceivable.

   24             Q       Okay.    But what amount -- if you have one

   25        in your head, please let me know.         What amount does




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     1       it need to get to, and you can estimate this, where

     2       you feel like not only are we going to get

     3       authorization, but we're going to move forward?

     4            A       I've never looked at that number.        It

     5       doesn't matter to me.        What matters to me is, is the

     6       process being followed.        So it doesn't matter

     7       whether it's $10,000 or $100,000.        I'm going to go

     8       through the same process for every single case.

     9       Everybody gets treated the same.

   10             Q       Is $500 a day for a repeat violation

   11        standard statewide?

   12             A       State statute says $500 a day.

   13             Q       State statute says -- I think we can agree

   14        that the state statute says that $500 per day is the

   15        maximum amount you can fine a repeat violator.

   16             A       Correct.

   17             Q       My question, though, is not what the

   18        statute says, but regarding what cities do.

   19                     Is it common or standard practice for

   20        cities to impose $500-a-day fines for repeat

   21        violators?

   22                     MR. DAIGNEAULT:     Object to form.

   23                     THE DEPONENT:     Each case is considered on

   24             its own factual basis.        Are you asking me

   25             whether or not any cities that we represent




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     1              currently limit their fines to something for

     2              repeat violation less than $500?     The answer is

     3              no.   The cities follow the state statute and

     4              their own codes which normally regurgitate the

     5              state statute that says up to $500 a day.

     6       BY MR. BARGIL:

     7              Q     Do you know what other cities throughout

     8       the state do?

     9              A     None other than the ones I represent.     I

   10        will tell you, though, in the county it's not $500 a

   11        day.

   12               Q     What is it?

   13               A     It's $5,000 a day.

   14               Q     And do they typically fine $5,000 a day?

   15               A     There have been occasions as a Special

   16        Magistrate where I have considered that.

   17               Q     What kind of violation?

   18               A     Very serious.

   19               Q     Like what?

   20               A     Buildings falling down, asbestos removal

   21        without the proper permitting and protection.        You

   22        may think that the cities at $500 a day is

   23        astronomical, but if you walked outside the city

   24        limits and you're in unincorporated Pinellas County,

   25        you're not at $250 a day, you're at $1,000 a day.




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     1            Q      Does Pinellas County have an ordinance

     2       limiting the height of tall grass or limiting the

     3       height of grass?

     4                   MR. DAIGNEAULT:     Object to form.

     5                   THE DEPONENT:     It's not the limit of the

     6            height of grass.       It's a provision that talks

     7            about the height of grass.

     8       BY MR. BARGIL:

     9            Q      Does it provide a numerical --

   10             A      Yes.

   11             Q      What does it say?

   12             A      I think it's 12 inches.

   13             Q      Twelve inches?

   14             A      Yeah.

   15             Q      Do you get, as Special Magistrate, cases

   16        in front of you where people have been alleged to be

   17        in violation of that provision of the code?

   18             A      Yes.

   19             Q      When kind of fines as Special Magistrate

   20        do you --

   21             A      They recommend normally anywhere from $250

   22        to $500 a day.

   23             Q      Do you always take the recommendation?

   24             A      No.

   25             Q      What do you typically do?




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     1            A     Look at the facts of each particular case

     2       and the testimony that I hear and try to weigh that

     3       and make a decision which I think is fair and

     4       appropriate.

     5            Q     Do you give fines of $500 per day for tall

     6       grass in your capacity as Special Magistrate in

     7       Pinellas County?

     8            A     I have.

     9            Q     You have.

   10                   How frequently?

   11                   MR. DAIGNEAULT:     Object to form.

   12                   THE DEPONENT:     My cases are every three

   13             months.     I appear every three months in

   14             Pinellas County to hear my cases, and I've been

   15             doing it for about two years.      So I don't know.

   16             Maybe a half a dozen cases.

   17        BY MR. BARGIL:

   18             Q     Have you ever given a fine of $5,000?

   19             A     I think I did, yes.

   20             Q     For tall grass?

   21             A     I don't know about tall grass, but I think

   22        I did give one for $5,000 a day.

   23             Q     Why have you never given a fine of $5,000

   24        for tall grass?

   25                   MR. DAIGNEAULT:     Object to form.




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     1                  THE DEPONENT:     I don't think it's ever

     2            been recommended by City staff or County staff,

     3            rather.

     4       BY MR. BARGIL:

     5            Q     If it were recommended, would you impose a

     6       fine of $5,000 a day for tall grass?

     7            A     Not unless there is something that's

     8       really bad.

     9            Q     What would be really bad?

   10                   MR. DAIGNEAULT:     Object to form.

   11                   THE DEPONENT:     I don't know.   I really

   12             don't know.

   13        BY MR. BARGIL:

   14             Q     Does that seem like a lot of money for

   15        having tall grass?

   16                   MR. DAIGNEAULT:     Object to form.

   17                   THE DEPONENT:     Can we get back to Ficken

   18             and get out of the County?

   19                   MR. BARGIL:     I'd like you to answer my

   20             question.

   21                   MR. DAIGNEAULT:     Object to form.

   22        BY MR. BARGIL:

   23             Q     Does $5,000 seem like a lot of money for

   24        tall grass?

   25             A     $20,000 seems like a lot to me for tall




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     1       grass, $50,000, $100,000, yeah.

     2            Q     Nothing less than $20,000?

     3            A     I think that at $500 a day when the Code

     4       Enforcement Board has heard all the testimony and

     5       evidence, I'm not going to second guess them.

     6            Q     That wasn't my question.

     7                  MR. DAIGNEAULT:     Object to form.

     8                  THE DEPONENT:     I don't think your question

     9            was relevant, but I don't get to object.

   10                   MR. DAIGNEAULT:     The question has been

   11             asked and answered.

   12                   MR. BARGIL:     I don't really think it has.

   13             We're talking about fines for tall grass.

   14                   MR. DAIGNEAULT:     Move to compel.    He

   15             answered that he leaves that discretion to the

   16             Board and he does a motion and judgment.          So

   17             let's move on.

   18        BY MR. BARGIL:

   19             Q     All right.    Let's talk specifically about

   20        Ficken then since we're not going to talk about

   21        another county.

   22                   Do you think that a fine of $30,000 for

   23        having tall grass is excessive?

   24                   MR. DAIGNEAULT:     Object to form.

   25                   THE DEPONENT:     I think that Mr. Ficken was




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     1            in complete control every single day of cutting

     2            his own grass and he had the ability to control

     3            the dollar amount of the fine that he would be

     4            exposed to; that's what I think.

     5       BY MR. BARGIL:

     6            Q     Do you think that a fine of $30,000 for

     7       having tall grass is an excessive amount of money

     8       for having tall grass?

     9                  MR. DAIGNEAULT:       Objection, just asked and

   10             answered.

   11                   MR. BARGIL:     No.     It was asked.   It was

   12             not answered.

   13                   MR. DAIGNEAULT:       It was not answered in

   14             the manner that you would like it to be

   15             answered and, if you have a problem with the

   16             answer, you can move the court to compel.

   17             We're going to move on.

   18                   MR. BARGIL:     I would like a "yes" or "no."

   19        BY MR. BARGIL:

   20             Q     Will you give a "yes" or "no" to that?

   21             A     I answered the question.

   22             Q     Okay.   Okay.    Do you think a fine of $500

   23        for having tall grass is excessive?

   24                   MR. DAIGNEAULT:       Object to form.

   25                   THE DEPONENT:     No.




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     1                    MR. BARGIL:     Let's look back at the

     2            complaint.

     3                    MR. DAIGNEAULT:     I'm going to take two

     4            seconds while you're going through that.

     5                    MR. BARGIL:     Okay.

     6                    (Whereupon, there was a break in the

     7            proceedings.)

     8       BY MR. BARGIL:

     9            Q       Mr. Trask, please direct your attention to

   10        Paragraph 60 of our Complaint which is located on

   11        Page 11.

   12             A       Okay.

   13             Q       It says, "In 2007 the City collected

   14        $34,000 in code enforcement fines."

   15                     Is there any reason to believe that's

   16        incorrect?

   17                     MR. DAIGNEAULT:     I'll make a blanket

   18             objection.

   19                     THE DEPONENT:     I have no idea how much

   20             they collected.

   21                     MR. BARGIL:     And did you want to get it

   22             back on or are we good with it standing from

   23             before?

   24                     MR. DAIGNEAULT:     No.   I'm okay with

   25             standing if you are.




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     1                  MR. BARGIL:    Totally.

     2                  MR. DAIGNEAULT:    Right.

     3       BY MR. BARGIL:

     4            Q     You have no idea whether or not that's

     5       correct?

     6            A     No, I don't.    That was before me being the

     7       City Attorney.

     8            Q     Okay.    Well, I'm glad you said that.

     9                  Paragraph 61 says, "Nearly a decade later,

   10        in 2016, the city collected $483,230 in total

   11        fines."

   12             A     Right.

   13             Q     And that the source for that is in

   14        Footnote 10.     That's your Adopted Operating &

   15        Capital Budget for 2019.

   16             A     Okay.

   17             Q     Any reason to believe that the figures in

   18        Paragraph 61 are incorrect?

   19             A     I don't know if that's correct or

   20        incorrect because I don't know whether they're

   21        including all the other fines other than code

   22        enforcement.

   23             Q     It says "total fines."

   24             A     Right.    So it's got to be parking,

   25        library, all the different fines.




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     1            Q     Right.

     2            A     Yeah.    No, I don't have any information

     3       one way or the other whether that's correct.

     4            Q     Okay.    Paragraph 62 says, "In 2017, the

     5       city brought in $870,548 in total fines."

     6            A     Okay.

     7            Q     And that's cited to the same source.

     8                  Then it says, "At least $703,000 of that

     9       revenue appears to have been from code enforcement."

   10             A     Okay.

   11             Q     Any reason to believe that either of these

   12        figures are incorrect?

   13             A     No.

   14             Q     Then finally Paragraph 63 says, "In 2018,

   15        the city budgeted for an estimated $495,400 in

   16        revenue from total fines, but ultimately brought in

   17        double that amount, with an estimated $1,294,350 in

   18        revenue from total fines."

   19                   That, again, cites to the same source.

   20                   Do you have any reason to believe the

   21        figures identified in Paragraph 63 are incorrect?

   22             A     No.

   23             Q     Okay.    Is it correct to say then that

   24        since 2007 the amount of money collected in total

   25        fines by the City of Dunedin has increased?




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     1                   MR. DAIGNEAULT:     Object to form.

     2                   THE DEPONENT:     It's increased.

     3       BY MR. BARGIL:

     4            Q      Okay.   Turn the page, if you will.

     5                   MR. DAIGNEAULT:     Out of curiosity, are

     6            these the same references?

     7                   I notice that you're proceeding on the

     8            original Complaint and there has been an

     9            amended one filed.       I don't know if these

   10             references are the same.

   11                    MR. BARGIL:     They are the same.     That's an

   12             oversight on my part.          The record can show, if

   13             you want, that this is not the Amended

   14             Complaint.

   15                    MR. DAIGNEAULT:     The allegations --

   16                    MR. BARGIL:     The allegations are the same.

   17                    MR. DAIGNEAULT:     It's just matching it up

   18             at some point later.

   19                    MR. BARGIL:     Yeah.

   20        BY MR. BARGIL:

   21             Q      In Paragraph 64 of the original Complaint

   22        it says, "For fiscal year 2019, the city has

   23        budgeted an estimated revenue from fines of

   24        $898,400.    This amount represents an 81% increase in

   25        anticipated revenue from fines compared to the




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     1       expected revenue from fines in 2018."

     2                    Any reason to believe that that's

     3       incorrect?

     4               A    I don't think that's correct.

     5               Q    What is incorrect about it?

     6               A    My thought was that it was in the $535,000

     7       range.

     8               Q    Okay.

     9               A    In speaking with the Finance Director, he

   10        led me to believe it was $535,000.

   11                Q    So let me ask it this way.

   12                     The basis for your belief that it's less

   13        than the figure identified in Paragraph 64, is that

   14        based on your conversation with the Finance

   15        Director?

   16                A    Yeah.   And then followed up in an email to

   17        me.

   18                Q    Okay.   And what is the number that he

   19        said?

   20                A    I think it was $535,000.

   21                Q    Was the City's budget amended after the

   22        filing of this case?

   23                A    The City's budget is amended several times

   24        during the year.      I'm not sure if this figure was in

   25        the original one.      I understand what you're alleging




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     1       here.       All I know is what my conversations with the

     2       Finance Director were.          I didn't look at the budget

     3       to see whether it was $898,400.

     4               Q      Do you know when the last time the budget

     5       was amended?

     6               A      It would have been amended in October

     7       probably.       They have approximately 60 days after the

     8       end of the fiscal year to do their yearend budget

     9       adjustments, so probably then.

   10                Q      Okay.     Any other time where it could have

   11        been amended?

   12                A      It's amended throughout the year.

   13                Q      Did it happen quarterly?

   14                A      No.     They do it whenever they think it's

   15        appropriate that they have to make changes that they

   16        want included, and normally it's in a resolution

   17        format and it has a list of all of the expenses and

   18        revenues that are changing in the budget.

   19                Q      Okay.

   20                A      But, yeah, it's done a couple of times a

   21        year.

   22                Q      Okay.     So then going to what's

   23        Paragraph 65 in the original complaint.

   24                       It says, "Ultimately between fiscal years

   25        2007 and 2018, the city has increased its revenue




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     1       from fines by approximately 3,807%."

     2                  I recognize that if you're not in

     3       agreement that Paragraph 64 is correct, then

     4       obviously the percentage increase you wouldn't agree

     5       with; is that fair to say?

     6            A     Yeah.    I don't agree with that.

     7            Q     But we can agree that over the last decade

     8       plus the amount of money taken in, in revenue from

     9       fines has gone up in Dunedin?

   10             A     Yes.    There has been lots of -- if you

   11        haven't followed the City of Dunedin, we had

   12        instituted parking requirements in the City, and it

   13        ultimately added a significant fine base to the

   14        City's budget where people got fines and didn't pay

   15        and then there had to be a process to collect it.

   16        So a portion of this -- I'm not saying a great

   17        portion, but a portion of it is probably parking

   18        revenue in addition to the library fines, in

   19        addition to the normal fines and forfeitures that

   20        you get from the County when the Sheriff's

   21        Department issues citations.

   22             Q     Sure.

   23                   So library fines.    Are we talking about

   24        like the traditional five and ten cent fines for

   25        overdue books?




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     1            A      Yes.

     2            Q      But that adds up?

     3            A      Yes.    Evidently.

     4            Q      Do you have any idea what that figure is

     5       annually?

     6            A      No.

     7            Q      How much is a parking ticket in Dunedin if

     8       you -- actually, let me back that up.

     9                   Did you transition from free parking to

   10        paid parking in certain areas?

   11             A      And then back to free parking, yeah.      It

   12        was a major faux pas.

   13             Q      Did you go back to free parking because

   14        there was a backlash for the paid parking?

   15             A      People did not want to pay for parking in

   16        Dunedin, so they removed the parking meters after

   17        they bought them and installed them.

   18             Q      Who is "they"?

   19             A      City Commission authorized and directed

   20        the City Manager to get it accomplished.

   21             Q      And then there was some unhappy people?

   22             A      Yes.

   23             Q      Okay.    Democracy works.

   24             A      Yes.

   25             Q      What was the fine for a parking violation




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     1       for a first fine?

     2               A   I don't know.   It's in the code, though.

     3       You can look it up on community code.

     4               Q   Okay.

     5               A   It's like $35 for overdue parking.

     6               Q   Let's talk a little bit about code

     7       enforcement officers.

     8                   Are they considered by the City to be

     9       revenue generators?

   10                A   No.

   11                Q   I don't know how the numbers work out or

   12        if you do, but do you know whether their salaries

   13        are covered by the fines that they bring in?

   14                A   Ultimately everything in the City is paid

   15        for by the fines that come in because it goes into

   16        the City's general fund.     So it pays just as much

   17        for and maybe more for the water department or the

   18        sewer department or the streets department or

   19        planning and zoning or any other department in the

   20        City because they all get paid from the same general

   21        fund.

   22                    So, when any fine comes in to the City, it

   23        doesn't go into an enterprise fund which drives that

   24        revenue and expense, it goes into the general fund

   25        where it gets mixed in with everything.




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     1            Q     Okay.    Nevertheless, the City budgets to

     2       take in a certain amount of dollars in fines; is

     3       that fair to say?

     4            A     Yes.    They're required to do that.

     5            Q     So my question is, based on the

     6       expected -- so is it correct then that there is an

     7       expected amount of money or that there is an amount

     8       of money that the City expects to take in, in code

     9       enforcement fines on an annual basis?

   10             A     They don't expect to bring in anything,

   11        but what they do is, as a matter of good budgeting,

   12        they look at what they have received over the past

   13        number of years, it could be two years, three years

   14        or five years, create an average, use that average

   15        as a starting point, talk to the staff members and

   16        the City Manager to determine whether or not that

   17        number is appropriate to use going forward.

   18             Q     Okay.

   19             A     And then adjust either upward or downward

   20        based upon trends.     Lots of different things go into

   21        it, but ultimately they do come up with a number and

   22        it's required in the budget.

   23             Q     Okay.    We talked a little bit before about

   24        how, you know, that number has gone up over the last

   25        10 years or so.




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     1                  Why do you believe that the amount of

     2       money both budgeted and actually taken in, in fines

     3       has gone up other that parking and library?

     4            A     Mortgage foreclosure crisis.

     5            Q     I think I know what you mean by that, but

     6       can you say specifically why that would lead to more

     7       fine revenue?

     8            A     Well, it's properties that are becoming

     9       run down as a direct result of people not paying

   10        their mortgages.     They go into mortgage foreclosure

   11        and then they basically either abandon the property

   12        or they focus their income on things that they

   13        actually need and not their mortgage or taking care

   14        of their home.     The homes get in disrepair, the

   15        banks take them over eventually, and in that process

   16        we negotiate, you know, some type of settlement with

   17        the banks once they take the properties back.        Those

   18        are the big numbers, four or five a year maybe.

   19                   In those big years that you were referring

   20        to like 2016, 2017, 2018, four or five big cases

   21        there would throw that number way off.       When I say

   22        "big cases," you know, settling a case for $100,000

   23        or $150,000 or something like that on a lien that's

   24        $300,000 or $400,000.     But it's mainly those banks.

   25             Q     Did that actually happen?




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     1            A      Yes.

     2            Q      As you understand it, is the mortgage

     3       foreclosure crisis still ongoing?

     4            A      Not so much.

     5            Q      Okay.     Was it still ongoing in 2018?

     6            A      We're still seeing the ends of some of

     7       those cases.       I'm still litigating them.   When I say

     8       "litigating," I'm defending them in court, but I'm

     9       not there as often any longer.       I believe that it's

   10        trending off and it's coming to an end soon.

   11             Q      Okay.     Do code enforcement officers

   12        believe that part of their job is to help the City

   13        raise revenue?

   14             A      No.

   15             Q      Do code enforcement officers have any sort

   16        of quota system?

   17             A      No.

   18             Q      They don't have to issue a certain number

   19        of notices of violation?

   20             A      Absolutely not.

   21             Q      They don't have to raise a certain amount

   22        of money?

   23             A      No.

   24             Q      Okay.     Is there a performance judged in

   25        part on how many violations they cite?




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     1              A       Not that I'm aware of.

     2              Q       Is it possible that their performance is

     3       judged in part on how many violations they cite?

     4              A       I've never been in any of their

     5       performance appraisals at the end of the year, you

     6       know, when that's done by Greg.         I don't know.   I've

     7       never been there.

     8                      He's never come to me and said, you know,

     9       she's doing a great job or she's not doing a great

   10        job and, therefore, she's entitled to an increase in

   11        pay.       I never had those discussions with them.

   12               Q       Okay.    I think I know the answer to this,

   13        but code enforcement officers, are their salaries

   14        tied to the amount of revenue they generate in fines

   15        in any way?

   16               A       No.

   17               Q       Is your compensation tied to the amount of

   18        money the City takes in, in fines, in any way?

   19               A       No.

   20               Q       Apart from getting attorney's fees and

   21        costs for work done in collections.

   22               A       Yeah.    If I work on a case and I spend an

   23        hour's worth of time, then I get paid for an hour's

   24        worth of time.         By the way, that's $155 an hour for

   25        you expensive lawyers that are getting the $325,




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     1       $350 or whatever.      So I'm not making a killing.       I'm

     2       doing what I like to do and I get paid a low hourly

     3       rate.

     4               Q    I didn't mean any disrespect by that

     5       question.

     6               A    Okay.   I didn't take any, by the way.

     7               Q    Okay.   We've gone over this, but, really

     8       quickly to hammer this down, you testified earlier

     9       that the possibility exists for repeat violators to

   10        pay less than the full amount if they contact you;

   11        is that right?

   12                A    We've settled lots of cases for repeat

   13        violators.

   14                Q    Okay.   But that possibility, that's

   15        available to them apparently if they call you?

   16                A    If they call anyone at the City, they're

   17        going to be directed to me.

   18                Q    Okay.   When Mr. Ficken's denial of

   19        continuance or when his request for continuance was

   20        denied, was there any reference to the possibility

   21        that if this all doesn't go his way he can contact

   22        City Attorney Trask?

   23                     MR. DAIGNEAULT:     Object to form.

   24                     THE DEPONENT:     I don't know what he was

   25                told by code enforcement staff.     I doubt that




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     1            they would have said something like that.        They

     2            would have said "please make every attempt to

     3            be at the meeting or have someone represent you

     4            there."

     5                  MR. BARGIL:     Okay.

     6                  THE DEPONENT:     He did at one point have

     7            someone represent him there.

     8       BY MR. BARGIL:

     9            Q     In the order in which he was found to be

   10        in violation for having tall grass, do you know

   11        whether there was any reference to an opportunity

   12        for him to call you in order to somehow avoid paying

   13        the full amount?

   14             A     No.     There is nothing in the order.

   15             Q     Okay.     The denial of the motion for their

   16        reconsideration of the fine amount, was there

   17        anything in there indicating to Mr. Ficken that he

   18        could contact you to negotiate or reduce the amount

   19        of fine that he owed?

   20             A     No.

   21             Q     Okay.     And what about in the letter that

   22        you sent him advising him of the possibility that

   23        you would pursue a foreclosure action; was there

   24        anything in that letter that indicated to Mr. Ficken

   25        that he could call you --




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     1            A     No.

     2            Q     -- and you could discuss the settlement

     3       amount?

     4            A     No.

     5            Q     Okay.

     6            A     We did speak on the phone directly about

     7       that, though.

     8                  MR. BARGIL:     Just so you know, Jay, there

     9            might be a discovery request coming to see if

   10             we can get a record of that phone call.

   11                   MR. DAIGNEAULT:     (Indicates

   12             affirmatively).

   13                   MR. BARGIL:     All right.   I would like to

   14             confer with Andrew for a few minutes and then

   15             I'll have a couple more things and then we can

   16             wind down.

   17                   THE DEPONENT:     Okay.

   18                   (Whereupon, there was a break in the

   19             proceedings.)

   20        BY MR. BARGIL:

   21             Q     Okay.   I've got a few more documents that

   22        I want to go over with you pretty quickly.

   23                   I have to apologize for this.      I printed

   24        it in like the reading pain version and it doesn't

   25        have a date that I can tell on the article.




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     1                  MR. DAIGNEAULT:     Oh, I see.     All it's

     2            showing is the date you printed it.

     3                  MR. BARGIL:     It's just showing the date

     4            that I printed it.      Hopefully we can get him to

     5            agree that we're not making up dates.

     6                  In the meantime, for the court reporter,

     7            the title of this article is "The Dunedin tall

     8            grass story went viral.         Then the mayor got

     9            death threats at her home."

   10                   This was on tampabay.com.

   11                   MR. DAIGNEAULT:     "Got threats."

   12                   MR. BARGIL:     "Got threats."     That's right.

   13                   MR. DAIGNEAULT:     Not death threats.

   14                   MR. BARGIL:     That's right.     It's from May

   15             16th, 2019.

   16        BY MR. BARGIL:

   17             Q     Any reason to dispute that that's correct?

   18             A     Hang on a second.

   19                   MR. DAIGNEAULT:     I'm sorry.     Can you

   20             repeat that date for me, Ari?

   21                   MR. BARGIL:     May 16th, 2019.

   22                   MR. DAIGNEAULT:     It's the Tampa Bay Times?

   23                   MR. BARGIL:     Tampabay.com.

   24                   THE DEPONENT:     Yeah.     I don't know.

   25                   Are you on it?




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     1                    MR. DAIGNEAULT:     Yeah.   I'm on the

     2            Tampabay.com web site and I just searched for

     3            this article.     I just want to make sure it

     4            matches up to what you have there in front of

     5            you.

     6                    THE DEPONENT:     It looks like it.

     7                    MR. DAIGNEAULT:     All right.     Just so you

     8            see what I'm looking at, guys, I just pulled it

     9            up online and it does have a published date of

   10             May 16 of 2019.

   11                     MR. BARGIL:     Okay.

   12                     THE DEPONENT:     Okay.

   13                     MR. BARGIL:     The date of the story

   14             actually isn't ultimately relevant, but it

   15             makes sense that we would all want to be on the

   16             same page here.

   17                     MR. DAIGNEAULT:     The City would argue that

   18             the article isn't relevant at all, but, in any

   19             event, I'll make that blanket statement and

   20             we'll move on.

   21                     MR. BARGIL:     Fair enough.     Fair enough.

   22             Okay.     I only have a couple questions here.

   23        BY MR. BARGIL:

   24             Q       So, if you look at the bottom of the first

   25        page, sir, there is a sentence that begins two lines




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     1       up.

     2                   It says, "Ficken, the city argued, was an

     3       absentee landlord who serially violated city codes."

     4                   Do you see that sentence?

     5               A   Yes.

     6               Q   The term "absentee landlord" is what I

     7       want you to focus on.

     8                   Does the City believe that Mr. Ficken

     9       rented the property at 1341 Lady Marion Lane?

   10                A   We thought at one point that it was either

   11        abandoned or it was being rented by an absentee

   12        landlord, yes.

   13                Q   Okay.   Do you believe now that that is not

   14        true?

   15                A   We realize it's not abandoned.

   16                Q   Okay.   Do you believe that it was being

   17        rented out to a tenant?

   18                A   We don't have any specifics on that.      We

   19        haven't been able to find anyone that says that they

   20        rented it from him.

   21                Q   Okay.   So you're not willing to say that

   22        you believe that it was not rented, you just don't

   23        have proof that it was?

   24                A   I don't know.

   25                Q   That's fine.




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     1            A     Okay.

     2            Q     Turning to the next page, there is a line

     3       there.

     4                  It says, "City Manager Jennifer Bramley

     5       noted to the City Commission" -- sorry.       The

     6       sentence after that.

     7                  "Ficken, a 69-year-old retiree, was not

     8       using the home at 1341 Lady Marion Lane as his

     9       primary residence, but as an investment home, the

   10        city argued."

   11                   Does the City believe that this is an

   12        investment property?

   13                   MR. DAIGNEAULT:     Object to form.      Also,

   14             this is outside the scope of the 30(b)(6)

   15             notice.     You're asking for City knowledge, and

   16             this is not within the scope of this article

   17             and these statements are not within the scope

   18             of the matters to be addressed.

   19                   MR. BARGIL:     Well, it also goes to 10.

   20             We're just talking about the factual

   21             allegations made in Plaintiff's Complaint in

   22             this action.     We've alleged that he lives

   23             there.     The City is kind of alleging publicly

   24             that he doesn't.

   25                   THE DEPONENT:     We don't believe he lived




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     1               there.

     2       BY MR. BARGIL:

     3               Q    You don't believe he lived there when?

     4               A    When all this was going on.

     5               Q    When you say "when all this was going on,"

     6       can you give a date?

     7               A    July and August of 2018.

     8               Q    When the fines began to accrue?

     9               A    We don't believe he was living there at

   10        that time.

   11                Q    Okay.   And what is that based on?

   12                A    On what the neighbors were telling us.

   13                Q    Okay.   Are you aware that Mr. Ficken has

   14        testified that he did in fact live there during that

   15        time?

   16                A    Yeah.

   17                Q    Do you believe he was testifying

   18        untruthfully?

   19                A    Yes.

   20                Q    Okay.   Turning to the next page in the

   21        first full paragraph which begins with "in his

   22        lawsuit."

   23                     Do you see that?

   24                A    Yes.

   25                Q    It says, "Bramley disputed that claim




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     1       Tuesday, contending that a code enforcement official

     2       visited Ficken around July 5 to warn him about the

     3       hefty fines if he did not comply."

     4               A      Right.

     5               Q      You've testified similarly here today,

     6       but, just so we're clear, do you now believe that

     7       that warning or that exchange took place around

     8       July 5th?

     9               A      We know that the code enforcement officer

   10        was out there on July the 5th.         We know that for a

   11        fact.       So where she says the "official visited

   12        around July 5," he did, "to warn him."         Yes.     I told

   13        you in every case that when we go out there we talk

   14        to the property owner when he's there.         In this

   15        particular case that warning it looks like it came

   16        in later in August.

   17                Q      Okay.    The August 22 or August 20th?

   18                A      Whatever that date was that we talked

   19        about earlier.

   20                Q      Yeah.    It was August 20th, but you can --

   21                A      One of your Complaints is August 20th.

   22                Q      Yeah.

   23                       Do you think Ms. Bramley was suggesting

   24        that the conversation did take place on July 5th or

   25        around July 5th in this article?




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     1                  MR. DAIGNEAULT:     Object to form.

     2                  THE DEPONENT:     I don't know what

     3            Jennifer's thoughts were when she was quoted or

     4            misquoted in the newspaper, but she was going

     5            with the facts that she had in front of her at

     6            that time and it was a chronology of events.

     7            My recollection was the chronology of events

     8            that she had written down or at least had in

     9            her mind as to what was happening when.

   10                   MR. BARGIL:     Okay.

   11                   THE DEPONENT:     So that's why she's used

   12             the July 5th because she was probably provided

   13             that information from the code enforcement

   14             staff.

   15        BY MR. BARGIL:

   16             Q     And what information would she have been

   17        provided by code enforcement staff?

   18             A     I don't know.     Whatever she asked for.

   19             Q     Do you believe that she asked for

   20        information from code staff regarding this case?

   21             A     Yes, I do.

   22             Q     Do you think she misinterpreted that data?

   23             A     No.

   24             Q     Do you believe that she was misinformed of

   25        her ultimate belief that a conversation took place




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     1       on July 5th?

     2               A   This doesn't say that the conversation

     3       took place on July the 5th.      This says that the code

     4       enforcement officer was out there on July the 5th to

     5       warn him.

     6               Q   Right.    I think we both recognize there is

     7       an ambiguity in that sentence.

     8               A   First of all, it's a reporter who is

     9       taking down information from God knows who and

   10        trying to decipher it and write an article that will

   11        sell newspapers.      So I don't necessarily agree with

   12        the way that this is created or the way that it's

   13        worded, but if you're asking me whether or not I

   14        think that Jennifer Bramley would have misquoted the

   15        information that was provided by code enforcement

   16        staff, the answer is no, she wouldn't do that.

   17                Q   Okay.    And I'm not suggesting she did

   18        anything intentionally.

   19                A   Okay.    She's a professional at what she

   20        does.

   21                Q   Okay.    But, speaking separately, there is

   22        a question in your mind about just the overall

   23        veracity of this report?

   24                A   It's not a report.    It's an article.

   25                Q   I'm sorry.    What's the difference?




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     1            A     This is a newspaper article.

     2            Q     Okay.

     3            A     A report is normally in my mind created

     4       based upon factual information that has gone through

     5       an analysis process.

     6            Q     And this has not?

     7            A     No.

     8            Q     Okay.

     9            A     This is a newspaper article.      Someone is

   10        trying the sell newspapers.

   11             Q     Okay.   Who is it written by?

   12             A     Kirby Wilson.

   13             Q     What would his job title be?

   14             A     I don't know.   Reporter.

   15             Q     Hence why I refer to this as a report,

   16        but --

   17             A     Yeah.   It's not a report.

   18             Q     All right.   I don't think there is a need

   19        for us to split the hair there.

   20                   On the final page.

   21             A     Yes.

   22             Q     The second full paragraph.

   23                   There is a sentence there that says, "The

   24        city had to hit those abandoned properties with

   25        hefty fines to get the banks to bring them up to




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     1       code, the city manager argues."

     2               A   Where are you?

     3               Q   The final page, second full paragraph.

     4               A   Okay.

     5               Q   "The city had to hit those abandoned

     6       properties with hefty fines to get the banks to

     7       bring them up to code, the city manager argued.

     8       Dunedin expects revenue from code enforcement fines

     9       to decline the next two years."

   10                    Again, going back to the allegations in

   11        the Complaint, we've alleged that it seems like the

   12        City has the expectation that code enforcement

   13        revenue was at least going to increase in 2019 and

   14        2020.

   15                A   No.     Fines were going to increase

   16        according to your review of the budget.

   17                Q   Oh, I see.

   18                A   That's where I was trying to make a

   19        distinction so that we're all on the same page when

   20        we talk about it.       There are different fines,

   21        different forfeitures, and there are code

   22        enforcement fines.

   23                Q   Okay.     So the distinction is that code

   24        enforcement fines are going to go down, but fine

   25        totals might still go up?




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     1               A      I don't know, but I think that in this

     2       paragraph what she was getting to is kind of what

     3       you and I were talking about a few minutes ago, and

     4       that is, is that the mortgage foreclosure problems

     5       that we had are turning around where we don't have

     6       that recession, we don't have 5,000 pending mortgage

     7       foreclosure cases in Pinellas County.          You know,

     8       we've turned the tide and now there aren't going to

     9       be as many cases and, therefore, we believe that the

   10        revenue is going to drop.

   11                Q      Okay.     When, as far as you know, did the

   12        foreclosure crisis reach its peak in this area?

   13                A      I know that in 2013 through '15 we had

   14        lots and lots of cases.          So I imagine they started

   15        going into, you know, default probably in 2007,

   16        2008.       They sat on them and then they started moving

   17        forward.       Some of those cases were in that system

   18        for three, four or five years.          I don't know if

   19        you've ever had the opportunity to be involved in

   20        any of those, but some of them were there a long

   21        time.

   22                Q      Do you have any idea what percentage of

   23        total fines are made up by code enforcement fines?

   24                A      No.     I've never calculated that.

   25                Q      I want to go back to something that you




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     1       testified to, I think, right after lunch.

     2                   I was asking you about what the Code

     3       Enforcement Board takes into account when

     4       considering a fine, and one of the things we

     5       discussed obviously was the code enforcement

     6       officer's recommendation, they have got the four

     7       factors that they're required by city ordinance to

     8       consider.

     9            A      Right.

   10             Q      You mentioned that there are some other

   11        factors that they might consider depending on each

   12        case; is that right?

   13             A      Yeah.    The facts of the case are going to

   14        be very, very important when we apply those three

   15        criteria or four criteria that the statute and code

   16        require.

   17             Q      One of the things I asked you is, and I

   18        want to be clear on this, do they review or research

   19        or take into consideration whether the alleged

   20        violator owns other properties?

   21             A      They do not.

   22             Q      Okay.

   23             A      We talked about that.

   24             Q      Okay.    I wanted to make sure.

   25             A      We only get to that point of do they own




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     1       other properties when we get to the fine reduction

     2       hearing.

     3            Q     Okay.

     4            A     It doesn't matter otherwise.

     5            Q     Okay.   We talked about some of the things

     6       that, you know, sort of weigh in favor of imposing

     7       heavier penalties.    Some of those concerns you

     8       mentioned were the appearance of abandonment,

     9       presence of vermin, homeless people, broken windows,

   10        kids kind of breaking into houses and causing

   11        trouble and smoking pot.

   12                   Do you have any evidence that any of those

   13        things were going on with respect to the property at

   14        1341 Lady Marion Lane?

   15             A     I've seen paragraphs of the property.       It

   16        looks abandoned to me.

   17             Q     It looks abandoned to you?

   18             A     Yeah.

   19             Q     Do you know whether there were vermin in

   20        his grass after it grew over 10 inches?

   21             A     There were complaints by the property

   22        owners, I believe, on both sides of the property.

   23        I'm not sure if those complaints were just look, I'm

   24        tired of seeing tall grass or the rats or mice.        We

   25        would have to ask Tom or Mike, Tom Colbert or Mike




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     1       Kepto, as to the specifics because the people just

     2       said there are numerous complaints.

     3            Q      Okay.     Had anybody ever been hurt on that

     4       property?

     5            A      Not that I'm aware of.

     6            Q      You mentioned Tom Colbert and Mike Kepto

     7       would be the guys to talk to on this.

     8                   Where are they these days?

     9                   Let's take them one at a time.

   10                    What's Tom Colbert up to?

   11             A      I don't know.

   12                    MR. DAIGNEAULT:     Object to form.

   13        BY MR. BARGIL:

   14             Q      He's retired, though?

   15             A      They're both retired.

   16             Q      Kepto maybe not voluntarily?

   17             A      Well, they didn't throw him a retirement

   18        party.

   19             Q      Okay.     Do you know where they live?

   20             A      I don't know where they live and, even if

   21        I did, I wouldn't provide it to you because it's

   22        confidential.       It's not something in the public

   23        records law, and I would be very cautious about

   24        doing that without talking to them first.         If you

   25        need that information, we will look for it and I




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     1       will talk to Jay and we'll make a decision as to

     2       whether or not we'll make it available.

     3            Q       Okay.     I mean, you did suggest earlier

     4       that maybe it would be worth it to depose one or

     5       both of them.

     6            A       No.     I said you may have asked them

     7       questions.     I didn't say that it was appropriate to

     8       depose them.

     9            Q       Oh.

   10             A       Okay.

   11             Q       Well, I don't know how else to ask them

   12        questions.

   13             A       Telephone call.

   14             Q       I don't know if I can do that.

   15                     MR. DAIGNEAULT:     We can discuss it off the

   16             record.

   17                     MR. BARGIL:     Yeah.

   18                     I'm wrapping up here.

   19        BY MR. BARGIL:

   20             Q       You mentioned earlier on that all of

   21        these, you know, code enforcement cases are

   22        important.     There is not one that's more important

   23        than the next, but does it make sense to you that

   24        tall grass is treated the same as, you know, a

   25        falling-down structure?




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     1                  MR. DAIGNEAULT:     Object to form.

     2                  THE DEPONENT:     I've made a distinction all

     3            throughout this deposition about life-safety

     4            issues, and when there is a life-safety issue

     5            it needs to be acted upon much quicker which

     6            means, in my mind, higher dollar amounts for

     7            fines and shorter compliance times.         That's the

     8            idea of getting it into compliance as quickly

     9            as possible on life-safety-issue cases.

   10        BY MR. BARGIL:

   11             Q     Is tall grass a life-safety-issue case?

   12             A     It could be.

   13             Q     When?

   14             A     Maybe there is a sinkhole in the middle of

   15        that tall grass that nobody can see.       Maybe that

   16        grass is covering up, you know, a leaky pipe that

   17        someone could fall into.      There could be all sorts

   18        of different things that tall grass can hide.

   19                   In this particular case it made the house

   20        look abandoned and we had numerous, numerous

   21        complaints.   We're not looking for this stuff.

   22        We're getting these complaints and we got to

   23        respond.   When the public expects us to respond, we

   24        respond.

   25             Q     Okay.   Speaking of public response, there




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     1       has been a public response to this case and to some

     2       of the other fines that are not at issue in this

     3       case, and I guess I have a general question for you.

     4                    Do you stand back and look at this and

     5       think this all makes sense, this is all appropriate?

     6                    MR. DAIGNEAULT:     Object to form.

     7                    THE DEPONENT:     What's all appropriate?

     8       BY MR. BARGIL:

     9            Q       We can talk about the USA Today article,

   10        for example, where a person was facing over $100,000

   11        for, you know, a dark pool.

   12             A       What article?

   13             Q       USA Today.   The City of Dunedin was on the

   14        cover of USA Today.

   15             A       Okay.

   16             Q       Not related to this case, but several

   17        others where people were hit with very large sums

   18        and fines.

   19                     One of those people was facing over

   20        $100,000 for a green pool for a house that she no

   21        longer occupied.

   22             A       Right.

   23             Q       Somebody else was facing tens of thousands

   24        of dollars in fines for a roof repair they did after

   25        a hurricane.




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     1                    Is that the design of the code?

     2                    MR. DAIGNEAULT:     Object to form.

     3                    THE DEPONENT:     For every one of them to

     4               run when they can't comp into court or they

     5               can't get into a Code Enforcement Board and

     6               provide a case that they can win, that they go

     7               to the newspaper and they try to pressure my

     8               City Commissioners into doing something that

     9               the law doesn't necessarily require them to do,

   10                no, I don't agree with that.

   11                     So I think that what the City of Dunedin

   12                has done is create a beautiful town, they want

   13                it to remain beautiful, they want to protect

   14                their residents, and I think that that's what

   15                they're trying to do.

   16        BY MR. BARGIL:

   17                Q    I think two more documents and then we're

   18        done.

   19                A    Okay.

   20                     MR. BARGIL:     This is going to be the same

   21                issue with this, Jay, the date.

   22                     MR. DAIGNEAULT:     All right.

   23        BY MR. BARGIL:

   24                Q    This is an article from abcactionnews.com.

   25                     It says, "Dunedin hires crisis PR firm




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     1       after lawsuit surrounding uncut grass gains national

     2       attention."

     3                   My esteemed colleague says this article is

     4       dated June 6, 2019.

     5                   I would like you to turn, sir, to Page 2

     6       toward the bottom, the final paragraph.

     7                   First let me ask who Ron Sachs is?

     8                   MR. DAIGNEAULT:     Let me first just place a

     9             general objection on the article.

   10                    MR. BARGIL:     Okay.

   11                    MR. DAIGNEAULT:     Go ahead.

   12                    THE DEPONENT:     He is a person that the

   13              City of Dunedin hired to handle the influx of

   14              media requests for response whether it was from

   15              TV or newspaper or magazines or internet,

   16              whatever.    They don't have the staff to do

   17              this, so they have hired somebody to help them

   18              with that, and that was this individual.

   19        BY MR. BARGIL:

   20              Q     Do you know whether this is a

   21        one-time-only contract?

   22              A     Yes.   It's the only one that I was aware

   23        of.   It was for a very short period of time when we

   24        were getting an influx of this information or

   25        requests.




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     1            Q     Okay.   Do you know whether part of that

     2       agreement included having favorable stories placed?

     3            A     No.

     4            Q     Do you know whether it included

     5       manipulation of Google search results?

     6            A     No.

     7            Q     At the bottom I would like to direct your

     8       attention to a quote from Mr. Sachs.

     9                  It says, "Sachs told the I-Team, "The

   10        city's doing its job the way it's supposed to do.

   11        And it's making sure your neighborhood is protected

   12        and your community quality of life is protected, and

   13        the reason they've asked for our help is to help

   14        them message most effectively the facts and the

   15        truth, because some news organizations are not fully

   16        and fairly reporting this story."

   17                   Do you agree with that statement?

   18                   MR. DAIGNEAULT:     Object to form.

   19                   THE DEPONENT:     I agree that he said that.

   20        BY MR. BARGIL:

   21             Q     Do you feel like some news organizations

   22        were not fully and fairly reporting the story?

   23             A     Yes.

   24             Q     What were they leaving out?

   25             A     The background of the case.




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     1            Q       Specifically what?

     2            A       For example, that he doesn't live there,

     3       it's not his homestead, it's not the first time,

     4       he's been cited 14 times prior to this one, that the

     5       City attempted in the first 13 cases to get

     6       compliance by dealing with him directly.           The 14th

     7       case they had to bring to the Code Enforcement

     8       Board.     The 15th case they actually fined him.        None

     9       of that was in there.

   10             Q       Okay.     And Mr. Sachs' statement -- I want

   11        to correct the record really quickly.        It's only

   12        your position, correct, and we're going to disagree

   13        on whether or not he lived in the house while the

   14        grass reached the offensive height of over 10

   15        inches?

   16                     MR. DAIGNEAULT:     Object to form.

   17        BY MR. BARGIL:

   18             Q       We can agree on that, right?

   19             A       I don't believe that he was living there,

   20        so I'm not going to agree with you.

   21             Q       No, no.     We agree that we disagree?

   22             A       All right.

   23             Q       Okay.     I just wanted to make sure it

   24        didn't seem as though I was, by not saying anything,

   25        agreeing with your assessment.




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     1               A       Okay.

     2               Q       Is code enforcement an aspect of

     3       protecting the community quality of life?

     4               A       Yes.

     5               Q       Is code enforcement, as you see it, part

     6       of protecting the neighborhood?

     7               A       Yes.

     8               Q       How does tall grass relate to quality of

     9       life?

   10                A       Just what we talked about several hours

   11        ago.        It appears that when the property is overgrown

   12        that the property appears abandoned and people get

   13        anxious when their neighbor's property looks

   14        abandoned.        When there is tall grass and there are

   15        things in the grass that they're not aware of, they

   16        get scared.           So people will try to avoid the

   17        property, they will maybe even walk in the street or

   18        they will walk on the opposite side of the street to

   19        avoid going near the property.           Whatever makes them

   20        feel unsafe.           This is the type of property that will

   21        make them feel unsafe.

   22                Q       Has anybody told you "that property makes

   23        me feel unsafe," the 1341 Lady Marion Lane property?

   24                A       No.

   25                Q       Have you ever seen a study or an urban




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     1       planning report or textbook or anything that

     2       suggests that people are made to be scared by a

     3       property with grass over 10 inches?

     4            A      You remember now I've been doing this for

     5       30 years.     For countless cities I've heard thousands

     6       of code enforcement cases, and I hear it right from

     7       the people testifying.     I don't have to wait for

     8       somebody to make a survey on it from some city that

     9       I don't have anything to do with.

   10                    So, yes, I have direct experience, direct

   11        knowledge by people testifying under oath in front

   12        of either a Code Enforcement Board or a Special

   13        Magistrate.

   14             Q      Saying what?

   15             A      They are concerned about overgrown

   16        property, they are concerned, you know, that their

   17        kids can't play in the neighborhood, that they can't

   18        walk down that sidewalk because it's overgrown.

   19        They feel uncomfortable because it's overgrown

   20        unsecure, unsafe.     All of those different types of

   21        things I've heard over the years.

   22             Q      Those things you've heard over the years,

   23        do they refer to wildly overgrown properties with

   24        unkept brush and tall Sawgrass; I mean, can you

   25        specifically recall an instance where someone told




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     1       you that they were made to feel unsafe because the

     2       property had grass over 10 inches?

     3            A       I don't have any specific cases that I can

     4       cite you to.       Just my experience in dealing with the

     5       cases over these years.

     6            Q       Okay.

     7            A       By the way, we don't have a whole lot of

     8       Sawgrass in Dunedin.        There have been only a couple

     9       of occasions that that has come up.        When you get to

   10        Tarpon Springs there is a lot of Sawgrass, and I

   11        understand the difference because Sawgrass gets

   12        really tall really fast.        In south Florida you

   13        probably get it five or six feet tall.

   14             Q       No.     Those cities crack down on that real

   15        quick.

   16             A       All right.     Okay.

   17             Q       Going to Page 3, the first full paragraph,

   18        there is a quote here from Mr. Sachs.

   19                     It says, "Sachs called Ficken a chronic

   20        scofflaw, who ignores code enforcement notifications

   21        and has enjoyed being a scofflaw, being a bad

   22        neighbor who doesn't even live in the home in

   23        question."

   24                     Now, we've talked about whether or not he

   25        lives in the home in question.        It say he does.   You




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     1       say he doesn't or didn't.       This comment here that

     2       he's a chronic scofflaw, what does he mean by that?

     3            A      I don't know.

     4            Q      Okay.

     5            A      I think it's a poor choice of words.

     6            Q      Yeah.

     7                   Same kind of question.

     8                   He says publicly that he enjoyed being a

     9       scofflaw.

   10                    Is there any basis that I should be made

   11        aware of that Mr. Ficken enjoyed being a scofflaw

   12        that you know of?

   13             A      I don't know the answer to that.

   14             Q      Okay.   Same goes for being a bad neighbor,

   15        he enjoyed being a bad neighbor.

   16                    Is there any basis for that, that I should

   17        know of?

   18             A      I don't have any independent knowledge

   19        other than the complaints from all of his neighbors

   20        that they don't want the tall grass.

   21             Q      Okay.   When you say "all of his

   22        neighbors," do you actually have a number of --

   23             A      I think it's two.     I know that I spoke to

   24        one person.    He called me on the telephone when all

   25        this started to occur basically saying these two




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     1       lawyers, they got there in front of the TV, don't

     2       know what the hell they're talking about because I

     3       live nextdoor and I've lived her for all these years

     4       and I can tell you duh, duh, duh, duh, duh, and he

     5       went down through a list, and that guy does not live

     6       there.     He may appear in his little old Mercedes

     7       every once in a while -- this is what the guy is

     8       telling me -- to take a look at his property, but

     9       those liers, those lawyers, don't know what they're

   10        talking about because he does not live there.

   11                     So I talked to that neighbor in particular

   12        and then I know that code enforcement spoke to an

   13        elderly woman also on the street.      I think that she

   14        was the neighbor to the right.

   15             Q       Code enforcement spoke to her.

   16                     Did she complain about the property?

   17             A       There were several complaints that were

   18        listed in the list.

   19             Q       In which list?

   20             A       In the progress report that you and I were

   21        looking at.

   22             Q       Okay.

   23             A       It said "received several complaints of

   24        overgrowth."

   25             Q       Okay.   What is the name of the person who




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     1       called you?

     2            A     I don't know, but that would be in our

     3       billing.   I would have that person's name.

     4            Q     And he claimed to be a neighbor?

     5            A     Yes.

     6            Q     So code enforcement spoke to another

     7       neighbor and this guy called you?

     8            A     And they may have spoken to him too.       I'm

     9       just telling you I spoke to one directly.

   10             Q     You spoke to one.

   11                   So, as far as complaints go, we've got one

   12        person that we're aware of?

   13             A     No.    We've got two at least.

   14             Q     Well, does the fact that there are two

   15        complaints mean that there were two separate people

   16        complaining or does it mean --

   17             A     One was a male and one was a female.

   18             Q     Where does it say that?

   19             A     I told you.    I spoke to the male and I

   20        told you code enforcement spoke to an elderly

   21        female.

   22             Q     The question, though, is -- speaking to

   23        and getting complaints about are two separate

   24        things.

   25             A     They were both complaints.




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     1            Q       Your testimony is that they were both

     2       complaints?

     3            A       Yeah.

     4            Q       Okay.   All right.      Last document.

     5            A       Okay.

     6            Q       I appreciate your patience.

     7                    Will you please read aloud what I just

     8       handed you, sir.

     9                    MR. DAIGNEAULT:      I'm going to place a

   10             blanket objection as to form as to this

   11             document.

   12                     MR. BARGIL:     Okay.

   13                     THE DEPONENT:     This is titled at the top

   14             "Statement from the City of Dunedin Regarding

   15             Code Enforcement Actions" and it's dated May

   16             24, 2019.

   17        BY MR. BARGIL:

   18             Q       Is this an official statement from the

   19        City in regards to some of the media response to

   20        this case?

   21             A       It looks like it.

   22             Q       Was this drafted entirely or at least

   23        partially by Ron Sachs or his company?

   24             A       I don't know.

   25             Q       Well, at the bottom it says "For more




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     1       information contact:       Ron Sachs."

     2            A       I see that.

     3            Q       Okay.   It's the fourth paragraph.      I'll

     4       read much of it and then we'll get into some

     5       questions.

     6                    It says, "On May 5, 2015, after almost

     7       eight years of attempting to work with Mr. Ficken to

     8       keep the property legally maintained, the Dunedin

     9       Code Enforcement Board, a group of volunteer

   10        citizens committed to the betterment of the

   11        community, deemed the owner of the property to be a

   12        repeat offender for overgrowth, reflecting an

   13        ongoing disdain for his neighbors and community and

   14        for following reasonable rules and standards."

   15                     Is it the City's position officially that

   16        Mr. Ficken had an ongoing disdain for his neighbors

   17        and community?

   18             A       I don't know.    I didn't write that.

   19             Q       Okay.

   20             A       I do know by that time he had 12 or 13

   21        prior cases.

   22             Q       Does that mean that he doesn't like his

   23        neighbors and community?

   24             A       Well, he doesn't care what his neighbors

   25        think of him and his property; I can tell you that




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     1       much.

     2               Q    Okay.    Is "disdain" a stronger word than

     3       doesn't care?

     4                    MR. DAIGNEAULT:     Object to form.

     5                    MR. BARGIL:     Strike that.

     6       BY MR. BARGIL:

     7               Q    The final sentence of that paragraph says,

     8       "This fine level is standard for most Florida cities

     9       in dealing with a repeat violator."

   10                     In your experience, is that correct?

   11                A    Up to $500, yes.

   12                Q    Well, let's be clear.

   13                     Up to $500 is what the statute provides

   14        for, but it seems like what the City is saying here

   15        is that the fine of $500 is what is standard for

   16        most Florida cities in dealing with a repeat

   17        violator.

   18                     MR. DAIGNEAULT:     Object to form, asked and

   19                answered.

   20                     THE DEPONENT:     It's qualifying the prior

   21                sentence.    The prior sentence says "The Board's

   22                order clearly stated that, as a repeat

   23                offender, the owner would be subject to fines

   24                up to $500 per day for future violations.     This

   25                fine level is standard for most Florida cities




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     1            in dealing with a repeat violator."

     2                  The last sentence is qualifying the second

     3            to the last sentence.      It has nothing to do

     4            with the actual dollar amount of the fine on

     5            the Ficken case.

     6       BY MR. BARGIL:

     7            Q     Is it correct that most Florida cities

     8       when they deal with repeat violators subject them to

     9       a $500-a-day fine level?

   10                   MR. DAIGNEAULT:     Object to form.

   11                   THE DEPONENT:     In my cities it's up to

   12             $500 per day.

   13        BY MR. BARGIL:

   14             Q     Well, in every city it's up to $500.

   15             A     I'm sorry?

   16             Q     In every city it's up to $500 in Florida.

   17             A     Well, if every city followed the State

   18        statute, they can further limit if they want.        If

   19        they follow the State statute, it's already been

   20        determined to be constitutional, and why not use one

   21        that's been determined to be constitutional.

   22             Q     What's been determined constitutional?

   23             A     Florida State Chapter 162.

   24             Q     I see.

   25                   So the fine of $500 per day is




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     1       categorically constitutional?

     2            A     Yes.

     3                  MR. DAIGNEAULT:     Object to form.

     4                  MR. BARGIL:     Well, then I don't know why

     5            we're here.

     6                  THE DEPONENT:     Yeah.    I don't either.

     7                  MR. BARGIL:     I think that's all.

     8                  THE DEPONENT:     Okay.    Thank you.

     9                  MR. BARGIL:     Just one second.    I'm going

   10             to confer real quick with my counsel.

   11                   THE DEPONENT:     Okay.

   12                   MR. BARGIL:     I do want to get you out of

   13             here, but, as you said, as you pointed out,

   14             I've got a job to do.      So give me one minute

   15             and then we should be done.

   16                   THE DEPONENT:     Okay.

   17                   MR. BARGIL:     Back on.

   18                   One last question.

   19                   THE DEPONENT:     Yes.

   20        BY MR. BARGIL:

   21             Q     If Mr. Ficken or anybody else who was a

   22        repeat violator in Dunedin had kept their grass at

   23        the height of 11 inches for 10 years and was in a

   24        constant state of violation and the fines worked out

   25        to, I don't know, $1,000,000 for that entire period




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     1       of time, would that be an excessive amount of money

     2       to pay for having grass that was habitually 11

     3       inches tall?

     4                  MR. DAIGNEAULT:     Object to form.

     5                  THE DEPONENT:     I think the answer is no,

     6            it wouldn't be because the property owner had

     7            complete control of the property and would be

     8            able to maintain the property and limit his own

     9            exposure to the fines.      So, when he doesn't

   10             limit his own exposure to the fines by taking

   11             care of what the code requires, then those are

   12             the consequences.

   13        BY MR. BARGIL:

   14             Q     So ultimately the fine is a reflection of

   15        what a person does or does not do?

   16             A     Absolutely.

   17             Q     And if the City fines $500 per day --

   18             A     The City doesn't fine anything.       The Code

   19        Enforcement Board does.

   20             Q     If the Code Enforcement Board fines $500

   21        per day, then that's what they fine, and if that

   22        amount turns out to be $500 for one day or

   23        $20,000,000 for God knows how long, that's the

   24        homeowner's choice; is that right?

   25             A     It's in the complete control of the




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     1       property owner.    Whether it's a homeowner or a

     2       tenant, it's in their complete control.

     3            Q     Okay.

     4            A     It's not the City's duty to be a property

     5       manager and maintain property because someone

     6       doesn't want to do it.      We have laws in this world

     7       in the United States and in the City of Dunedin, and

     8       they need to be complied with.

     9                  MR. BARGIL:     I have nothing else.

   10                   THE DEPONENT:     Thank you.

   11                   MR. DAIGNEAULT:     I have no questions.

   12                   The witness will read if ordered.

   13                   MR. BARGIL:     I'll order it.

   14                   MR. DAIGNEAULT:     I'll take a copy.

   15                   (Whereupon, the deposition was concluded

   16             at 3:20 p.m.)

   17                   (Exhibits 1 through 11 were marked for

   18             identification.)

   19

   20

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   22

   23                                 * * * * *

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     1                           ERRATA SHEET
     2       INSTRUCTIONS: Please read the original transcript
             of your deposition and make note of any errors in
     3       transcription on this page. DO NOT mark on the
             original transcript itself. Please sign and date
     4       this sheet and then kindly return the transcript to
             the court reporter. Thank you.
     5
             PAGE            LINE             CORRECTIONS/AMENDMENTS
     6
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   17
             ____________________________________________________
   18
             I have read the original transcript, and except for
   19        any corrections and/or amendments noted above, I
             hereby subscribe to the transcript as an accurate
   20        record of the statements made by me.
   21
   22                                  DEPONENT -----------------
   23                                  DATE: --------------------
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     1                      WITNESS' SIGNATURE PAGE

     2

     3                      I have read the foregoing pages,

     4                      and, except for any changes or

     5                      amendments I have indicated on the

     6                      sheet attached for such purposes,

     7                      I hereby subscribe to the accuracy

     8                      of this transcript.

     9

   10                      ______________________________

   11                      THOMAS J. TRASK, B.C.S.

   12                      ______________________________

   13                      DATE

   14                      ______________________________

   15                      WITNESS TO SIGNATURE

   16

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     1                          CERTIFICATE OF OATH

     2

     3       STATE OF FLORIDA

     4

     5       COUNTY OF PINELLAS

     6

     7            I, the undersigned authority, certify that

     8       Thomas J. Trask, B.C.S., personally appeared before

     9       me and was duly sworn.

   10

   11             WITNESS my hand and official seal this 26th day

   12        of January, 2020.

   13                               /s/ KATHERINE A. LYLE

   14                               ___________________________

   15                               Katherine A. Lyle

   16                               Notary Public - State of Florida

   17                               My Commission Expires:     1/20/23

   18                               Commission No.:     GG260915

   19

   20

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     1                       REPORTER'S CERTIFICATE
     2
     3       STATE OF FLORIDA
     4       COUNTY OF PINELLAS
     5
                  I, Katherine A. Lyle, Registered Professional
     6            Reporter, certify that I was authorized to and
                  did stenographically report the Deposition of
     7            Thomas J. Trask, B.C.S.; that a review of the
                  transcript was requested; and that the
     8            transcript is a true and complete record of my
                  stenographic notes.
     9
                  I further certify that I am not a relative,
   10             employee, attorney, or counsel of any of the
                  parties, nor am I a relative or employee of any
   11             of the parties' attorney or counsel connected
                  with the action, nor am I financially
   12             interested in the action.
   13
                  Dated this 26th day of January, 2020.
   14
   15                              /s/ KATHERINE A. LYLE
                                   _______________________________
   16
                                   Katherine A. Lyle
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